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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

 CALIFORNIA COMMUNITIES AGAINST
 TOXICS, DOWNWINDERS AT RISK,
 ENVIRONMENTAL DEFENSE FUND,
 ENVIRONMENTAL INTEGRITY
 PROJECT, HOOSIER
 ENVIRONMENTAL COUNCIL,                   20-1024
                                Case No. ________
 LOUISIANA BUCKET BRIGADE,
 NATURAL RESOURCES DEFENSE
 COUNCIL, OHIO CITIZEN ACTION,
 SIERRA CLUB, and TEXAS
 ENVIRONMENTAL JUSTICE
 ADVOCACY SERVICES,

                        Petitioners,

      v.

 U.S. ENVIRONMENTAL PROTECTION
 AGENCY and ANDREW R. WHEELER,
 in his official capacity as Administrator of
 the United States Environmental
 Protection Agency,

                        Respondents.



                       PETITION FOR REVIEW

   Pursuant section 307(b)(1) of the Clean Air Act, 42 U.S.C. §

7607(b)(1), Rule 15 of the Federal Rules of Appellate Procedure, and

D.C. Circuit Rule 15, California Communities Against Toxics,


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Downwinders at Risk, Environmental Defense Fund, Environmental

Integrity Project, Hoosier Environmental Council, Louisiana Bucket

Brigade, Natural Resources Defense Council, Ohio Citizen Action,

Sierra Club, and Texas Environmental Justice Advocacy Services

hereby petition for review of United States Environmental Protection

Agency’s final action titled “Reclassification of Major Sources as Area

Sources Under Section 112 of the Clean Air Act,” and published at 85

Fed. Reg. 73,854 (Nov. 19, 2020) (attached).


Respectfully submitted,



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 Project, Hoosier Environmental
 Council, Louisiana Bucket
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January 15, 2021


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           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT

 CALIFORNIA COMMUNITIES AGAINST
 TOXICS, DOWNWINDERS AT RISK,
 ENVIRONMENTAL DEFENSE FUND,
 ENVIRONMENTAL INTEGRITY
 PROJECT, HOOSIER
 ENVIRONMENTAL COUNCIL,         Case No. ________
 LOUISIANA BUCKET BRIGADE,
 NATURAL RESOURCES DEFENSE
 COUNCIL, OHIO CITIZEN ACTION,
 SIERRA CLUB, and TEXAS
 ENVIRONMENTAL JUSTICE
 ADVOCACY SERVICES,

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 U.S. ENVIRONMENTAL PROTECTION
 AGENCY and ANDREW R. WHEELER,
 in his official capacity as Administrator of
 the United States Environmental
 Protection Agency,

                        Respondents.



               RULE 26.1 DISCLOSURE STATEMENT

   Pursuant to Federal Rule of Appellate Procedure 26.1 and D.C.

Circuit Rule 26.1, Petitioners California Communities Against Toxics,

Downwinders at Risk, Environmental Defense Fund, Environmental


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Integrity Project, Hoosier Environmental Council, Louisiana Bucket

Brigade, Natural Resources Defense Council, Ohio Citizen Action,

Sierra Club, and Texas Environmental Justice Advocacy Services make

the following disclosures:


              California Communities Against Toxics

  California Communities Against Toxics is a non-profit organization

that is a project of a non-profit corporation (Del Amo Action Committee)

that is organized and existing under the laws of the State of California.

It is an environmental justice network that aims to reduce exposure to

pollution, to expand knowledge about the effects of toxic chemicals on

human health and the environment, and to protect the most vulnerable

people from harm. California Communities Against Toxics does not

have any parent corporations, and no publicly held corporation has a

ten percent or greater ownership interest in it.


                        Downwinders at Risk

  Downwinders at Risk, a non-profit corporation organized and

existing under the laws of the State of Texas, is a diverse grassroots

citizens group dedicated to protecting public health and the


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environment from air pollution in North Texas. Downwinders at Risk

does not have any parent corporations, and no publicly held corporation

has a ten percent or greater ownership interest in it.


                     Environmental Defense Fund

   Environmental Defense Fund is a national non-profit organization,

organized under the laws of the State of New York, that links science,

economics, and law to create innovative, equitable, and cost-effective

solutions to urgent environmental problems.

   Environmental Defense Fund does not have any parent corporations,

and no publicly held corporation has a ten percent or greater ownership

interest in it.


                  Environmental Integrity Project

   Environmental Integrity Project, a corporation organized and

existing under the laws of the District of Columbia, is a national non-

profit organization that advocates for more effective enforcement of

environmental laws.




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  Environmental Integrity Project does not have any parent

corporations, and no publicly held corporation has a ten percent or

greater ownership interest in it.


                     Hoosier Environmental Council

  HEC is a non-profit corporation organized and existing under the

laws of the state of Indiana. HEC is Indiana’s largest environmental

public policy organization, working to improve our health, economy, and

environment for thirty-five years, through education, technical

assistance, and advocacy.

  HEC does not have any parent corporations, and no publicly held

corporation has a ten percent or greater ownership interest in it.


                       Louisiana Bucket Brigade

  The Louisiana Bucket Brigade is a non-profit environmental health

and justice organization organized and existing under the laws of the

state of Louisiana. LABB works with communities that neighbor

Louisiana’s oil refineries and chemical plants and uses grassroots action

to create an informed, healthy society with a culture that holds the

petrochemical industry and government accountable for the true costs

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of pollution to create a healthy, prosperous, pollution-free, and just

state where people and the environment are valued over profit.


  LABB does not have any parent corporations, and no publicly held

corporation has a ten percent or greater ownership interest in it.


                 Natural Resources Defense Council

  Natural Resources Defense Council, a corporation organized and

existing under the laws of the State of New York, is a national nonprofit

organization dedicated to improving the quality of the human

environment and protecting the nation’s endangered natural resources.

  Natural Resources Defense Council does not have any parent

corporations and no publicly held corporation has a ten percent or

greater ownership in it.


                           Ohio Citizen Action

  Ohio Citizen Action is a nonprofit organization existing under the

laws of the State of Ohio dedicated to preventing and reducing exposure

to pollution and strengthening public health and environmental

protections.



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  Ohio Citizen Action does not have any parent corporations and no

publicly held corporation has a ten percent or greater ownership in it.


                              Sierra Club

  Sierra Club is a non-profit corporation organized under the laws of

the State of California. Sierra Club’s mission is to explore, enjoy, and

protect the wild places of the Earth; to practice and promote the

responsible use of the Earth’s resources and ecosystems; to educate and

enlist humanity to protect and restore the quality of the natural and

human environment; and to use all lawful means to carry out these

objectives.

  Sierra Club does not have any parent corporations, and no publicly

held corporation has a ten percent or greater ownership interest in

Sierra Club.


              Texas Environmental Justice Advocacy Services

  TEJAS is a non-profit corporation organized and existing under the

laws of the state of Texas. TEJAS promotes environmental protection

through education, policy development, community awareness, and




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legal action to ensure that everyone, regardless of race or income, is

entitled to live in a clean environment.

   TEJAS does not have any parent corporations and no publicly held

corporation has a ten percent or greater ownership in it.



Respectfully submitted,


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January 15, 2021
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                     CERTIFICATE OF SERVICE

      I hereby certify that on this 15th day of January, 2021, the

foregoing Petition for Review and Rule 26.1 Disclosure Statement were

served on Respondents by sending a copy via First Class Mail to each of

the following addresses:


           Andrew Wheeler, Administrator
           U.S. Environmental Protection Agency
           Office of the Administrator (1101A)
           William Jefferson Clinton Building
           1200 Pennsylvania Avenue, N.W.
           Washington, D.C. 20460

           Jeffrey A. Rosen, Acting Attorney General
           U.S. Department of Justice
           950 Pennsylvania Avenue, N.W.
           Washington, D.C. 20530

           Correspondence Control Unit
           U.S. Environmental Protection Agency
           Office of General Counsel (2310A)
           William Jefferson Clinton Building
           1200 Pennsylvania Avenue, N.W.
           Washington, D.C. 20460



                                         /s/Sanjay Narayan
                                         Sanjay Narayan
                                         SIERRA CLUB
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                      ATTACHMENT
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     ENVIRONMENTAL PROTECTION                                 Center services and the current status,               source can be reclassified to area source
     AGENCY                                                   please visit us online at https://                    status at any time upon limiting its
                                                              www.epa.gov/dockets.                                  potential to emit HAP to below the MST
     40 CFR Part 63                                           FOR FURTHER INFORMATION CONTACT: For                  of 10 tpy of any single HAP and 25 tpy
     [EPA–HQ–OAR–2019–0282; FRL–10014–50–                     questions about this final rule, contact              of any combination of HAP (also
     OAR]                                                     Ms. Elineth Torres, Sector Policies and               referred to herein as Major Maximum
                                                              Programs Division (D205–02), Office of                Achievable Control Technology (MACT)
     RIN 2060–AM75                                                                                                  to Area or ‘‘MM2A proposal’’) (see 84
                                                              Air Quality Planning and Standards,
                                                              U.S. Environmental Protection Agency,                 FR 36304). In this rule, we are taking
     Reclassification of Major Sources as                                                                           final action on some of the amendments
     Area Sources Under Section 112 of the                    Research Triangle Park, North Carolina
                                                              27711; telephone number: (919) 541–                   as proposed, and we are taking final
     Clean Air Act                                                                                                  action on other amendments as
                                                              4347; fax number: (919) 541–4991; and
     AGENCY: Environmental Protection                         email address: torres.elineth@epa.gov.                modified based on the public comments
     Agency (EPA).                                            Questions concerning specific                         to clarify the requirements that apply to
     ACTION: Final rule.                                      reclassifications should be directed to               sources choosing to reclassify to area
                                                              the appropriate Regional office.                      source status at any time, including
     SUMMARY: This rule finalizes                                                                                   reclassification that occurs after the first
                                                              SUPPLEMENTARY INFORMATION:
     amendments to the General Provisions                                                                           substantive compliance date of
                                                                Preamble acronyms and                               applicable major source NESHAP
     that apply to National Emission
                                                              abbreviations. We use multiple                        requirements and the requirements that
     Standards for Hazardous Air Pollutants
                                                              acronyms and terms in this preamble.                  apply to sources that reclassify from
     (NESHAP). These amendments
                                                              While this list may not be exhaustive, to             major to area source status and then
     implement the plain language reading of
                                                              ease the reading of this preamble and for             revert back to their previous major
     the ‘‘major source’’ and ‘‘area source’’
                                                              reference purposes, the EPA defines the               source status. Regarding the proposed
     definitions of section 112 of the Clean
                                                              following terms and acronyms here:                    amendments to the PTE definition, we
     Air Act (CAA) and provide that a major
     source can be reclassified to area source                CAA Clean Air Act                                     are not finalizing the definition of
     status at any time upon reducing its                     CEDRI Compliance and Emissions Data                   ‘‘legally and practicably enforceable’’
     potential to emit (PTE) hazardous air                      Reporting Interface                                 PTE limits or the effectiveness criteria
                                                              CFR Code of Federal Regulations                       for those limits in this action. We are,
     pollutants (HAP) to below the major                      D.C. Cir. the United States Court of Appeals
     source thresholds (MST) of 10 tons per                     for the District of Columbia Circuit
                                                                                                                    however, promulgating a ministerial
     year (tpy) of any single HAP and 25 tpy                  EAV equivalent annualized value                       amendment to the regulatory definition
     of any combination of HAP. This rule                     EIA economic impact analysis                          of ‘‘potential to emit’’ in the interim. We
     also finalizes amendments to clarify the                 EPA Environmental Protection Agency                   are also finalizing revisions to the
     compliance dates, notification, and                      FIP Federal Implementation Plan                       General Provisions tables and initial
     recordkeeping requirements that apply                    HAP hazardous air pollutant(s)                        notification requirements within most
     to sources choosing to reclassify to area                MACT maximum achievable control                       NESHAP subparts to account for the
     source status and to sources that revert                   technology                                          regulatory provisions we are finalizing
                                                              MM2A Major MACT to Area                               in this rule. We summarize some of the
     back to major source status, including a                 MRR monitoring, recordkeeping, and
     requirement for electronic notification.                   reporting
                                                                                                                    more significant public comments we
     DATES: This final rule is effective on                   MST major source thresholds                           received regarding the proposed rule
     January 19, 2021.                                        NESHAP national emission standards for                and provide our responses to those
     ADDRESSES: The Environmental                               hazardous air pollutants                            comments in this preamble. A summary
     Protection Agency (EPA) has established                  NMA National Mining Association                       of all other public comments on the
                                                              NSPS new source performance standards                 proposal and the EPA’s responses to
     a docket for this action under Docket ID                 NSR New Source Review
     No. EPA–HQ–OAR–2019–0282. All                                                                                  those comments is available in the
                                                              NTTAA National Technology Transfer and                Response to Comments document
     documents in the docket are listed on                      Advancement Act
     the https://www.regulations.gov/                                                                               available in the docket No. EPA–HQ–
                                                              OIAI Once In, Always In
     website. Although listed, some                           OMB Office of Management and Budget
                                                                                                                    OAR–2019–0282. A ‘‘track changes’’
     information is not publicly available,                   PRA Paperwork Reduction Act                           version of the regulatory language that
     e.g., Confidential Business Information                  PSD prevention of significant deterioration           incorporates the changes finalized in
     or other information whose disclosure is                 PTE potential to emit                                 this rule is also available in the docket.
                                                              PV present value                                         Organization of this document. The
     restricted by statute. Certain other
                                                              RTO regenerative thermal oxidizers                    information in this preamble is
     material, such as copyrighted material,                  RFA Regulatory Flexibility Act                        organized as follows:
     is not placed on the internet and will be                RIA Regulatory Impact Analysis
     publicly available only in hard copy                     RTR residual risk and technology review               I. Executive Summary
     form. Publicly available docket                                                                                   A. Purpose of the Regulatory Action
                                                              SIP State Implementation Plan
                                                                                                                       B. Summary of the Major Provisions of the
     materials are available electronically                   TIP Tribal Implementation Plan
                                                                                                                          Regulatory Action
     through https://www.regulations.gov/.                    TSM technical support memorandum
                                                                                                                       C. Impacts of the Final Regulatory Action
     Out of an abundance of caution for                       tpy tons per year
                                                                                                                    II. General Information
     members of the public and our staff, the                 UMRA Unfunded Mandates Reform Act                        A. Does this rule apply to me?
     EPA Docket Center and Reading Room                       VOC volatile organic compound(s)                         B. Where can I get a copy of this document
     was closed to the public, with limited                     Background information. On July 26,                       and other related information?
     exceptions, to reduce the risk of                        2019, the EPA proposed revisions to the                  C. Judicial Review and Administrative
     transmitting COVID–19. Our Docket                        General Provisions that apply to the                        Reconsideration
                                                                                                                    III. Background
     Center staff will continue to provide                    NESHAP to implement the plain                         IV. Statutory Authority
     remote customer service via email,                       language reading of the ‘‘major source’’              V. Summary of Final Amendments
     phone, and webform. For further                          and ‘‘area source’’ definitions of CAA                   A. Final Amendments to 40 CFR Part 63,
     information and updates on EPA Docket                    section 112 and provide that a major                        Subpart A: General Provisions



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       B. Amendments to Individual NESHAP                     CAA section 112 provisions and public                 violations that occurred before
          General Provisions Applicability Tables             comments received on the MM2A                         reclassification. Specifically, we are
       C. Amendments to Individual NESHAP                     proposal, the EPA is finalizing its                   finalizing that the reclassification of a
     VI. Other Considerations
                                                              conclusion that the statutory definitions             source does not affect the source’s
       A. PTE Determination
       B. Reclassification Process and Permitting             of major source and area source contain               liability or any enforcement
     VII. Interim Ministerial Revision of 40 CFR              no language fixing a source’s status at               investigations or enforcement actions
          Part 63 PTE Definition                              any particular point in time and contain              for a source’s past conduct that occurred
     VIII. Summary of Cost, Environmental, and                no language suggesting a cutoff date                  prior to the source’s reclassification.
          Economic Impacts                                    after which the source’s status cannot                   To ensure that all sources that
       A. Analytical Scenarios                                change. Accordingly, the Agency is                    reclassify notify the EPA, the EPA is
       B. Cost Analysis                                       finalizing its reading that a major source            finalizing amendments clarifying the
       C. Environmental Analysis                              may be reclassified as an area source at              existing notification requirements in 40
       D. Economic Analysis                                                                                         CFR 63.9(b) and (j). With these
     IX. Statutory and Executive Order Reviews
                                                              any time upon reducing its HAP
       A. Executive Order 12866: Regulatory                   emissions and PTE below the applicable                amendments, the notification
          Planning and Review and Executive                   CAA section 112 MST. Thus, major                      requirements of 40 CFR 63.9 will cover
          Order 13563: Improving Regulations and              sources that reclassify to area source                not only cases where a source switches
          Regulatory Review                                   status at any time, including after the               from major to area source status, but
       B. Executive Order 13771: Reducing                     first substantive compliance date of an               also cases where an area source reverts
          Regulation and Controlling Regulatory               applicable major NESHAP, will no                      to major source status. A source that
          Costs                                               longer be subject to CAA section 112                  reclassifies in either direction must
       C. Paperwork Reduction Act (PRA)                       major source NESHAP requirements and                  notify the EPA of any changes in the
       D. Regulatory Flexibility Act (RFA)
                                                              will be subject to any applicable area                applicability of the standards that the
       E. Unfunded Mandates Reform Act
          (UMRA)                                              source NESHAP requirements. A full                    source was subject to per the
       F. Executive Order 13132: Federalism                   discussion of the statutory authority for             notification requirements of 40 CFR
       G. Executive Order 13175: Consultation                 this final MM2A rule can be found in                  63.9(j). The EPA is also finalizing
          and Coordination With Indian Tribal                 section IV of this preamble.                          amendments to the notification
          Governments                                                                                               requirements in 40 CFR 63.9(b) and (j)
       H. Executive Order 13045: Protection of                B. Summary of the Major Provisions of                 to require in certain circumstances that
          Children From Environmental Health                  the Regulatory Action                                 the notification be submitted
          Risks and Safety Risks                                 The EPA is finalizing amendments to                electronically through the Compliance
       I. Executive Order 13211: Actions                      the General Provisions of the NESHAP                  and Emissions Data Reporting Interface
          Concerning Regulations That
                                                              regulations in 40 CFR part 63, subpart                (CEDRI). The final rule amends the
          Significantly Affect Energy Supply,
          Distribution, or Use                                A to clarify the requirements that apply              General Provisions to add 40 CFR
       J. National Technology Transfer and                    to sources choosing to reclassify to area             63.9(k) to include the CEDRI submission
          Advancement Act (NTTAA)                             source status at any time, including after            procedures. The EPA is finalizing
       K. Executive Order 12898: Federal Actions              being subject to major source                         amendments to remove the time limit
          To Address Environmental Justice in                 requirements under section 112 of the                 for record retention in 40 CFR
          Minority Populations and Low-Income                 CAA. The EPA is finalizing                            63.10(b)(3) so sources that obtain
          Populations                                         amendments to the applicability section               enforceable PTE limits after the effective
       L. Determination Under CAA Section                     found in 40 CFR 63.1 by adding a new                  date of this final rule are required to
          307(d)
                                                              paragraph (c)(6). This paragraph                      keep the applicability determination
       M. Congress Review Act (CRA)
                                                              specifies that a major source may                     records as long as they rely on the PTE
     I. Executive Summary                                     become an area source at any time upon                limits to be area sources. The EPA is
                                                              reducing its emissions of and PTE HAP,                also finalizing amendments to 40 CFR
     A. Purpose of the Regulatory Action
                                                              as defined in this subpart, to below the              63.12(c) to clarify that a source may not
        In this final rule (also referred to                  major source thresholds established in                be exempted from electronic reporting
     herein as ‘‘final MM2A rule’’ or final                   40 CFR 63.2.                                          requirements. Further, the EPA is
     rule), the EPA is finalizing amendments                     The EPA is finalizing in 40 CFR                    finalizing amendments to 40 CFR 63.13
     to the General Provisions of the                         63.1(c)(6) that a major source                        to clarify that when required by this
     NESHAP regulations in 40 CFR part 63,                    reclassifying to area source status                   part, or at the request of the EPA
     subpart A to implement the plain                         remains subject to any applicable major               Regional office, submitting a report or
     language reading of the ‘‘major source’’                 source NESHAP requirements until the                  notification to CEDRI fulfills the
     and ‘‘area source’’ statutory definitions                reclassification becomes effective. After             obligation to report to the EPA Regional
     of section 112 of the CAA and provide                    the reclassification becomes effective,               office.
     that a major source can be reclassified                  the source is subject to any applicable                  This final action includes
     to area source status at any time upon                   area source NESHAP requirements in 40                 amendments to the General Provisions
     reducing its emissions and PTE, as                       CFR part 63. For sources that reclassify              applicability tables contained within
     defined in 40 CFR 63.2, to below the                     from major to area source status and                  most subparts of 40 CFR part 63 to add
     MST of 10 tpy of any single HAP and                      then revert back to their previous major              a reference to the new provision in
     25 tpy of any combination of HAP. Prior                  source status, the EPA is also finalizing             63.1(c)(6) discussed above. We are also
     to proposing these amendments, the                       in 40 CFR 63.1(c)(6) that the source                  finalizing revisions to several NESHAP
     EPA reviewed the statutory provisions                    becomes subject to the applicable major               subparts by removing the date limitation
     that govern when a major source can                      source NESHAP requirements of 40 CFR                  after which a major source cannot
     reclassify to area source status,                        part 63 immediately upon becoming a                   become an area source. The provisions
     including after being subject to major                   major source again. The EPA is                        amended are: 40 CFR part 63, subpart
     source requirements under section 112                    finalizing in 40 CFR 63.1(c)(6)                       HH at 63.760(a)(1); 40 CFR 63, subpart
     of the CAA (also referred to herein as                   regulatory text to address the interaction            HHH at 63.1270(a); 40 CFR part 63,
     ‘‘CAA section 112 requirements’’ or                      of the reclassification of sources with               subpart QQQ at 63.1441; 40 CFR part
     ‘‘requirements’’). After further review of               enforcement actions arising from                      63, subpart QQQQQ at 63.9485; 40 CFR


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     part 63, subpart RRRRR at 63.9581; and                             C. Impacts of the Final Regulatory                             present an analysis of two alternative
     Table 2 of 40 CFR part 63, subpart                                 Action                                                         scenarios to provide a range of
     WWWW. The final rule also includes                                    The final rule does not require any                         estimated potential cost impacts.3
     amendments to the initial notification                             source to reclassify to area source status.                       The EPA estimates that this final
     requirements of most NESHAP subparts                               An evaluation of the potential to                              action may result in substantial annual
     because the date that was specified in                             reclassify from major source to area                           cost savings of $90.6 million (2017$)
     the regulations has passed.                                        source status involves many source-                            based on illustrative estimates of its
        The EPA is still considering the                                specific considerations. Each source                           potential reduction in administrative
     proposed effectiveness criteria for HAP                            will assess its own circumstances to                           burden if sources reclassify to area
     PTE limits and the proposed changes to                             determine whether it is feasible and                           source status.4 The voluntary actions
                                                                        advantageous to undergo the                                    taken by sources to reclassify will be
     the definition of ‘‘potential to emit’’ in
                                                                        reclassification process. The unique                           carried out over a period of time, but
     40 CFR 63.2 and is not taking any final
                                                                        nature of each source’s decision process                       once a source reclassifies, the cost
     action on those aspects of the proposed
                                                                        makes it difficult for the EPA to                              savings will accrue for as long as the
     rule at this time. Thus, this final rule
                                                                        determine the number and type of                               source continues to operate as an area
     does not include responses to comments
                                                                        sources that may choose to reclassify                          source. While cost savings will accrue
     on proposed effectiveness criteria for                                                                                            for the life of the facility, we present a
     PTE limits or comments related to the                              under this rule. Because of this, the EPA
                                                                        is limited to presenting illustrative                          5-year outlook of potential cost savings
     proposed changes to the PTE definition.                                                                                           from this action to provide insight into
                                                                        analyses concerning the impacts of this
     The EPA is still reviewing comments                                                                                               the cost distribution over time. Results
                                                                        final rule. The illustrative assessment of
     received and will respond to them in a                                                                                            are also presented as the present value
                                                                        impacts includes the potential net cost
     subsequent action. In the meantime,                                savings and potential emissions changes                        (PV) and equivalent annualized value
     while we continue to consider what                                 that may result from this final action.                        (EAV) of the cost savings of the final
     final action to take on the proposed                               The illustrative impacts are estimated                         MM2A rule in 2017 dollars. The PV is
     amendments, the EPA is making an                                   for the three analytical scenarios                             the one-time value of a stream of
     interim ministerial revision to the PTE                            established for the rule and are                               impacts over time, discounted to the
     definition to address the court decision                           estimated in relation to a baseline in                         current (or nearly current) day. The EAV
     in National Mining Association (NMA)                               which sources remain subject to major                          is a measure of the annual cost that is
     v. EPA, 59 F.3d 1351, 1363–1365 (D.C.                              source NESHAP requirements after the                           calculated consistent with the PV. The
     Cir. 1995). Specifically, this revision                            first substantive compliance date of                           illustrative cost savings of the final
     removes the word ‘‘federally’’ from the                            such standards. The potential impacts                          MM2A rule in 2017 dollars are
     phrase ‘‘federally enforceable’’ in the                            presented in the preamble reflect the                          presented in detail later in section VIII
     PTE definition. This interim ministerial                           results of the illustrative analysis of the                    of this preamble and in the RIA.
     revision is also consistent with the                               primary scenario, which, for analytical                           Table 1 presents a summary of key
     EPA’s long-standing policy 1 that allows                           purposes, is defined as including those                        results from the RIA for the final MM2A
     for any physical or operational                                    facilities whose actual emissions are                          rule. This table presents the PV and
     limitation on the capacity of the                                  below 75 percent of the MST (i.e., 7.5                         EAV, estimated in 2017 dollars using
     stationary source to emit a pollutant to                           tpy for a single HAP and 18.75 tpy for                         discount rates of 7 and 3 percent and
     be treated as part of the source’s design                          all HAP). This scenario is further                             discounted to 2020, of the illustrative
     if the limitation or the effect it would                           described in section VIII of this                              net cost savings of the final MM2A rule.
     have on emissions is, first, either                                preamble, in the technical support                             The EAV estimates are consistent with
     federally enforceable or legally                                   memorandums (TSM),2 and the                                    the PV and reflect the illustrative total
     enforceable by a state or local permitting                         Regulatory Impact Analysis (RIA) that is                       net cost savings of the rule from 2021,
     authority and, second, practicably                                 available in the docket for this action.                       the first year after rule promulgation,
     enforceable.                                                       The memorandums and RIA also                                   and subsequent years.

                                          TABLE 1—ILLUSTRATIVE NET COST SAVINGS INCREMENTAL TO THE BASELINE
                                                                          [(Including following years) (Billions 2017$) *]

                                                                                                                               7 Percent                              3 Percent

                                                                                                                                      Equivalent                              Equivalent
                                                                                                                 Present value        annualized           Present value      annualized
                                                                                                                                        value                                   value

     Potential Net Cost Savings ..............................................................................         $0.86               0.07               $1.50               0.08
       * The overall analytic timeline begins in 2021 and continues thereafter for an indefinite period. The cost savings in 2016 dollars and discounted
     to 2016, as defined as a present value, are $0.654 billion at 7 percent and $1.13 billion at 3 percent. As equivalent annualized values, the cost
     savings are $52 million at 7 percent and $58 million at 3 percent.

        1 See January 25, 1995, memorandum titled                       Impacted by the Final Rule titled Reclassification of          below 125 percent of the MST (12.5 tpy for a single
     ‘‘Options for Limiting the Potential to Emit (PTE) of              Major Sources as Area Sources Under Section 112                HAP and 31.25 tpy for all HAP). Discussions of
     a Stationary Source Under Section 112 and Title V                  of the Clean Air Act,’’ and ‘‘Analysis of Illustrative         these scenarios and results can be found in the RIA
     of the Clean Air Act (Act)’’ and December 20, 1999,                125% Scenario for MM2A Final—Potential Cost                    for this final action.
     memorandum titled ‘‘Third Extension of January                     Impacts from HAP Major Sources Reducing                          4 Annual cost savings reflect impacts in Year 2 of
     25, 1995 Potential to Emit Transition Policy.’’                    Emissions as part of Reclassifying to HAP Area                 the reclassification process for all sources that
     Available at https://www.epa.gov/guidance/                         Sources.’’                                                     choose to reclassify under the primary scenario. All
     guidance-documents-managed-office-air-and-                           3 Alternative scenario 1 analyzes those facilities           cost savings are net of any additional permitting
     radiation and in the docket of this rule.                          whose actual emissions are below 50 percent of the             and recordkeeping costs to state regulatory agencies
        2 See ‘‘Documentation of the Data for Analytical                MST (5 tpy for a single HAP and 12.5 tpy for all               and sources. These annual cost savings are those for
     Evaluations and Summary of Industries Potentially                  HAP). Alternative scenario 2 analyzes that sources             2025 and subsequent years.



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        Impacts in Table 1 reflect the                        MST to below the MST to reclassify.                     issue new permits or make changes to
     potential impacts of the final MM2A                      The facilities that we were able to assess              existing permits for sources in their
     rule for the year in which all                           for emission increases and decreases are                jurisdiction to address reclassification-
     reclassifications are expected to have                   located across the United States (i.e., in              related activities (e.g., title V, synthetic
     taken place (2025) and beyond.                           more than 10 states and in every region                 minor permits, establishing limits on a
        To assess the potential changes in                    of the United States) and are not                       source’s PTE).
     emissions that may result from the                       clustered in close proximity to each
     reclassification of major sources to area                other. Further discussion of the impacts                B. Where can I get a copy of this
     sources under this rule, we reviewed the                 of the final rule are presented in section              document and other related
     permits and other information from 69                    VIII of this preamble and presented in                  information?
     sources that have reclassified since                     detail in the technical support                           In addition to being available in the
     January 2018, consistent with the EPA’s                  memorandums, titled Documentation of                    docket, an electronic copy of the final
     plain language reading of the CAA                        the Emissions Analysis for the Final                    MM2A rule is available on the internet.
     section 112 definitions of ‘‘major’’ and                 Rule ‘‘Reclassification of Major Sources                Following signature by the EPA
     ‘‘area’’ source, and also performed an                   as Area Sources Under Section 112 of                    Administrator, the EPA will post a copy
     illustrative analysis of 72 source                       the Clean Air Act’’ and the Analysis of                 of this final action at https://
     categories in detail. Because we do not                  the Illustrative 125% Scenario for                      www.epa.gov/stationary-sources-air-
     have information on the major sources                    MM2A Rule—Potential Cost Impacts                        pollution/reclassification-major-
     that may choose to reclassify to area                    from HAP Major Sources Reducing                         sources-area-sources-under-section-112-
     source status in the future and the                      Emissions as part of Reclassifying to                   clean. Following publication in the
     enforceable conditions they will take in                 HAP Area Sources, and the RIA for the                   Federal Register, the EPA will post the
     order to reclassify, we are not able to                  final rule, all of which are available in               Federal Register version and key
     provide an assessment of the emissions                   the docket for this action.                             technical documents at this same
     impacts for actual reclassifications                                                                             website.
     beyond the 69 sources that have already                  II. General Information                                   A redline version of the regulatory
     reclassified.5 Therefore, we conducted a                 A. Does this rule apply to me?                          language that incorporates the
     detailed illustrative analysis of 72                                                                             amendments finalized in this rule is
                                                                Categories and entities potentially
     source categories to provide a broad                                                                             available in the docket for this action
                                                              impacted by this rule include sources
     characterization of the potential changes                                                                        (Docket ID No. EPA–HQ–OAR–2019–
                                                              subject to NESHAP requirements under
     in emissions for all NESHAP source                                                                               0282).
                                                              section 112 of the CAA.
     categories that could be impacted by                       The final amendments are applicable
     this action. The assessment of the 69                                                                            C. Judicial Review and Administrative
                                                              to sources that reclassify from major                   Reconsideration
     reclassifications shows that 68 facilities               source to area source status under
     have requirements in their operating                                                                               Under CAA section 307(b)(1), judicial
                                                              section 112 of the CAA and sources that
     permits that would continue to                                                                                   review of this final rule is available only
                                                              revert from their reclassified area source
     implement the compliance methods                                                                                 by filing a petition for review in the
                                                              status to their previous major source
     used to comply with the major source                                                                             United States Court of Appeals for the
                                                              status.
     NESHAP requirements and prevent                                                                                  District of Columbia Circuit (DCCir.) by
                                                                Federal, state, local, and tribal
     emissions increases. However, the EPA                                                                            January 19, 2021. Under CAA section
                                                              governments may be affected by this
     found that one of the 69 reclassified                                                                            307(b)(2), the requirements established
                                                              rule if they own or operate sources that
     sources will not continue to employ the                                                                          by this final rule may not be challenged
                                                              choose to request reclassification from
     same compliance methods that it used                                                                             separately in any civil or criminal
                                                              major source status to area source status
     to meet the major source NESHAP and                                                                              proceedings brought by the EPA to
                                                              or if reclassified sources choose to revert
     thus it may increase its emissions. For                                                                          enforce the requirements.
                                                              to their previous major source status at
     the illustrative analysis of emissions                                                                             Section 307(d)(7)(B) of the CAA
                                                              some time in the future. The EPA is the
     impacts conducted, we find that 65                                                                               further provides that only an objection
                                                              permitting authority for issuing,
     source categories in the major source                                                                            to a rule or procedure that was raised
                                                              rescinding, and amending permits for
     NESHAP program will either not be                                                                                with reasonable specificity during the
                                                              sources that request reclassification in
     impacted or will not increase emissions                                                                          period for public comment (including
                                                              Indian country, with four exceptions.6
     as a result of the rule. Based on the                                                                            any public hearing) may be raised
                                                              State, local, or tribal regulatory                      during judicial review. This section also
     broad assumptions applied in the                         authorities 7 may receive requests to
     analysis, we found a potential for                                                                               provides a mechanism for the EPA to
     emissions increases for some facilities                     6 Two tribes have approved title V programs or
                                                                                                                      reconsider the rule if the person raising
     in seven source categories. While a                      delegation of 40 CFR part 71. The tribes may have       an objection can demonstrate to the
     majority of facilities are not anticipated               sources that request to no longer be covered by title   Administrator that it was impracticable
                                                              V. Neither of these two tribes have approved minor      to raise such objection within the period
     to change emissions, approximately 3.1                   source permitting programs but may in the future.
     percent of the facilities in the MM2A                    In the meantime, the tribes will need to coordinate
                                                                                                                      for public comment or if the grounds for
     database that we were able to analyze                    with the EPA, who is the permitting authority in        such objection arose after the period for
     could increase emissions if sources: (1)                 Indian country for these requests. In addition, two     public comment (but within the time
                                                              other tribes have approved Tribal Implementation        specified for judicial review) and if such
     Voluntarily opt to reclassify and (2)                    Plans (TIPs) authorizing the issuance of minor
     were allowed to reduce operation of                      source permits. Only one of these tribes has a major
                                                                                                                      objection is of central relevance to the
     adjustable add-on controls. We also                      source that would be eligible to request                outcome of the rule. Any person seeking
     found a potential for emissions                          reclassification. If that source requests a new         to make such a demonstration should
                                                              permit, the tribe may issue the minor source permit,    submit a Petition for Reconsideration to
     decreases in cases where sources choose                  but the EPA would need to be made aware of the
     to reduce emissions from above the                       request, as the EPA is the permitting authority for
                                                                                                                      the Office of the Administrator, U.S.
                                                              title V.                                                EPA, Room 3000, WJC South Building,
       5 Of the 69 sources, 68 have already reclassified         7 The term regulatory authority is intended to be

     and one was undergoing the process of                    inclusive of the federal, state, tribal, or local air   reclassification requests and issuance of enforceable
     reclassification.                                        pollution control agency with authority to process      PTE limits.



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     1200 Pennsylvania Ave. NW,                               applicable major source NESHAP were                   The EPA did not take final action on
     Washington, DC 20460, with a copy to                     required to comply permanently with                   this 2007 proposal.
     both the person(s) listed in the                         that major source standard even if the                   In 2017, the EPA received public
     preceding FOR FURTHER INFORMATION                        source was subsequently to become an                  comments pursuant to Executive Order
     CONTACT section, and the Associate                       area source by limiting its PTE. This                 13777, Enforcing the Regulatory Reform
     General Counsel for the Air and                          position was commonly referred to as                  Agenda (February 24, 2017), and the
     Radiation Law Office, Office of General                  the ‘‘Once In, Always In’’ (OIAI) policy.             Presidential Memorandum on
     Counsel (Mail Code 2344A), U.S. EPA,                     The May 1995 Seitz Memorandum                         Streamlining Permitting and Reducing
     1200 Pennsylvania Ave. NW,                               provided that a source that is major for              Regulatory Burdens for Domestic
     Washington, DC 20460.                                    one NESHAP would not be considered                    Manufacturing (January 24, 2017)
                                                              major for a subsequent NESHAP if the                  supporting the withdrawal of the OIAI
     III. Background                                                                                                policy.10 Per these comments, the OIAI
                                                              source’s potential to emit HAP
        Shortly after the EPA began                           emissions was reduced to below major                  policy imposed an artificial time limit
     implementing individual NESHAP                           source levels by complying with the                   on major sources obtaining area source
     resulting from the 1990 CAA                              first major source NESHAP. In the May                 status not found in the definitions of
     Amendments, the Agency received                          1995 Seitz Memorandum, the EPA set                    ‘‘major source’’ and ‘‘area source’’ in
     multiple requests to clarify when a                      forth transitional policy guidance that               CAA sections 112(a)(1) and (2).
     major source of HAP could avoid CAA                                                                            Commenters further stated that the
                                                              was intended to remain in effect only
     section 112 requirements applicable to                                                                         temporal limitation imposed by the
                                                              until the Agency proposed and
     major sources by taking enforceable                                                                            OIAI policy was inconsistent with the
                                                              promulgated amendments to the 40 CFR
     limits on its PTE below the major source                                                                       CAA and created an arbitrary date by
                                                              part 63 General Provisions.
     thresholds. In response, the EPA issued,                                                                       which sources must determine whether
     on May 16, 1995, a memorandum from                          After issuing the May 1995 Seitz                   their HAP PTE will exceed either of the
     John Seitz, Director of the Office of Air                Memorandum, the EPA twice proposed                    major source thresholds.
     Quality Planning and Standards, to the                   regulatory amendments that would have                    On January 25, 2018, the EPA issued
     EPA Regional Air Division Directors                      altered the OIAI policy. In 2003, the                 a guidance memorandum from William
     (the May 1995 Seitz Memorandum).8                        EPA proposed amendments that focused                  L. Wehrum, Assistant Administrator of
     The May 1995 Seitz Memorandum                            on HAP emissions reductions resulting                 the Office of Air and Radiation, to the
     provided guidance on three timing                        from pollution prevention (P2)                        EPA Regional Air Division Directors
     issues related to avoidance of CAA                       activities. Apart from certain provisions             titled ‘‘Reclassification of Major Sources
     section 112 requirements for major                       associated with the EPA’s National                    as Area Sources Under Section 112 of
     sources:                                                 Environmental Performance Track                       the Clean Air Act’’ (MM2A
        • ‘‘By what date must a facility limit                Program—a national voluntary program                  Memorandum).11 The MM2A
     its PTE if it wishes to avoid major                      designed to recognize and encourage top               Memorandum discussed the statutory
     source requirements of a MACT                            environmental performers whose                        provisions that govern when a source
     standard?’’                                              program participants go beyond                        subject to major source NESHAP
        • ‘‘Is a facility that is required to                 compliance with regulatory                            requirements under section 112 of the
     comply with a MACT standard                              requirements to attain levels of                      CAA may be reclassified as an area
     permanently subject to that standard?’’                  environmental performance that benefit                source and thereby avoid being subject
        •‘‘In the case of facilities with two or              people, communities, and the                          thereafter to major source NESHAP
     more sources in different source                         environment—that proposal was never                   requirements and other requirements
     categories: If such a facility is a major                finalized. See 68 FR 26249 (May 15,                   applicable to major sources under CAA
     source for purposes of one MACT                          2003); 69 FR 21737 (April 22, 2004). In               section 112. In the MM2A
     standard, is the facility necessarily a                  2007, the EPA issued a proposed rule to               Memorandum, the EPA discussed the
     major source for purposes of                             replace the OIAI policy set forth in the              plain language of CAA section 112(a)
     subsequently promulgated MACT                            May 1995 Seitz Memorandum. See 72                     stating Congress’s definitions of ‘‘major
     standards?’’                                             FR 69 (January 3, 2007). In that                      source’’ and ‘‘area source’’ and
        In the May 1995 Seitz Memorandum,                     proposal, the EPA reviewed the                        determined that the OIAI policy
     the EPA stated its interpretation of the                 provisions in CAA section 112 relevant                articulated in the 1995 Seitz
     relevant statutory language that facilities              to the OIAI policy interpretation,                    Memorandum was contrary to the plain
     that are major sources of HAP may                        applicable regulatory language,                       language of the CAA and, therefore,
     switch to area source status at any time                 stakeholder concerns, and potential                   must be withdrawn. In the MM2A
     until the ‘‘first compliance date’’ of the               implications. Id. at 71–74. Based on that             Memorandum, the EPA announced the
     standard.9 Under this interpretation,                    review, the EPA proposed an                           future publication of a proposed rule to
     facilities that are major sources on the                 interpretation of the relevant statutory              receive input from the public on adding
     first substantive compliance date of an                  language that a major source that is                  regulatory text consistent with the plain
                                                              subject to a major source NESHAP                      reading of the statute as described in the
       8 See ‘‘Potential to Emit for MACT Standards-
                                                              would no longer be subject to that major              MM2A Memorandum.
     Guidance on Timing Issues.’’ From John Seitz,                                                                     On July 26, 2019, the EPA proposed
     Director, Office of Air Quality Planning and             source standard if the source were to
     Standards, to the EPA Regional Air Division              become an area source through                         regulatory text to implement the plain
     Directors. May 16, 1995, https://www.epa.gov/sites/      enforceable limitations on its PTE HAP
     production/files/2018-02/documents/pteguid.pdf.                                                                  10 See Executive Order 13777 at 82 FR 12285

     Also available in the docket of this rule.
                                                              emissions. Id. at 72–73. Under the 2007               (February 24, 2017) and request for comment at 82
       9 The ‘‘first substantive compliance date’’ is         proposal, major sources could take such               FR 17793 (April 13, 2017), Docket ID No. EPA–HQ–
     defined as the first date a source must comply with      limits on their PTE and obtain ‘‘area                 OAR–2017–0190. See Presidential Memorandum at
     an emissions limitation or other substantive             source’’ status at any time and would                 82 FR 8667 (January 24, 2017) and request for
     regulatory requirement (i.e., leak detection and                                                               information at 82 FR 12786 (March 7, 2017), Docket
     repair programs, work practice measures, etc . . . ,
                                                              not be limited to doing so only before                ID No. DOC–2017–0001.
     but not a notice requirement) in the applicable          the ‘‘first substantive compliance date,’’              11 See notice of issuance of this guidance

     standard.                                                as the OIAI policy provided. Id. at 70.               memorandum at 83 FR 5543 (February 8, 2018).



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     language reading of the statute as                       either of the statutory thresholds of 10              evidence that Congress did not intend to
     discussed in the MM2A Memorandum.                        tpy of any one HAP or 25 tpy of total                 place a temporal limitation on a source’s
     See 84 FR 36304. The 2019 MM2A                           HAP. CAA section 112(a)(1). An ‘‘area                 ability to be classified as an area source
     proposal superseded and replaced the                     source’’ is defined as any source of HAP              (including a source’s ability to be
     2007 proposal. See 72 FR 69 (January 3,                  that is not a major source. CAA section               classified as an area source through the
     2007). The EPA solicited comment on                      112(a)(2). If a source does not emit or               permitting authority’s ‘‘considering
     all aspects of the MM2A proposal,                        does not have the potential to emit at or             controls’’ that may have been imposed
     including the EPA’s position that the                    above either of the major source                      after the source was initially classified
     withdrawal of the OIAI policy and the                    thresholds, then it is an ‘‘area source.’’            as major).
     proposed approach gives proper effect                    The statutory definitions of ‘‘major                     Notwithstanding the independence of
     to the statutory definitions of ‘‘major                  source’’ and ‘‘area source’’ do not                   the two distinctions that the statute
     source’’ and ‘‘area source’’ in CAA                      contain any language that fixes a                     created based on amount of emissions
     section 112(a) and is consistent with the                source’s status as a major source or area             and timing (and without addressing that
     plain language and structure of the CAA                  source at any particular point in time,               independence or otherwise addressing
     as well as the impacts of the proposal                   nor do they otherwise contain any                     the plain language of the statutory
     on costs, benefits, and emissions                        language suggesting that there is a cutoff            definitions of ‘‘major source’’ and ‘‘area
     impacts. Publication of the MM2A                         date after which a source’s status cannot             source’’), the EPA issued the May 1995
     proposal in the Federal Register opened                  change.                                               Seitz Memorandum, which set forth the
     comment on the proposal for an initial                      Congress did, however, create a                    OIAI policy. Under the OIAI policy, a
     60-day public comment period. The                        distinction based on timing in CAA                    source’s status as a major source for the
     EPA held a public hearing on August                      section 112 in defining and creating                  purpose of applying a specific major
     15, 2019, in Washington, DC. In                          provisions related to ‘‘new sources’’ and             source MACT standard issued under the
     response to requests for an extension of                 ‘‘existing sources.’’ Specifically,                   requirements of CAA section 112 was
     the comment period, the EPA reopened                     Congress defined ‘‘new source’’ to mean               deemed to be unalterably fixed on the
     the public comment period for an                         a source that is constructed or                       first substantive compliance date of the
     additional 30 days through November 1,                   reconstructed after the EPA first                     specific applicable major source
     2019. The EPA received more than                         proposes regulations covering the                     requirements. Thus, a source that was a
     16,000 comments on the MM2A                              source. CAA section 112(a)(4). An                     major source on that first compliance
     proposal. After review and                               ‘‘existing source’’ is defined as any                 date would continue to be subject to the
     consideration of public comments, the                    source other than a new source. CAA                   major source requirements for that
     EPA is finalizing the implementation of                  section 112(a)(10). A source will be                  specific NESHAP even if the source
     the plain language reading of the                        subject to different requirements                     reduced its emissions of and PTE HAP
     definitions of major source and area                     depending on whether it is a new source               to below the statutory thresholds in the
     source under CAA section 112. Per CAA                    or an existing source. See, e.g., CAA                 definition of ‘‘major source,’’ and, thus,
     section 307(d)(6)(B), the EPA is                         section 112(d)(3) (identifying different              fell within the definition of ‘‘area
     providing a response to the to the most                  minimum levels of stringency (known                   source.’’
     significant comments received on the                     as ‘‘MACT floors’’) for new and existing                 On January 25, 2018, the EPA issued
     MM2A proposal in this preamble, and                      sources).                                             the MM2A Memorandum. The MM2A
     responses to the other comments in the                      The emissions-based distinction                    Memorandum discussed the statutory
     Response to Comments document                            (arising from the definitions of major                definitions of ‘‘major source’’ and ‘‘area
     available in the docket.                                 source and area source) and the timing-               source’’ and explained that the OIAI
                                                              based distinction (arising from the                   policy articulated in the May 1995 Seitz
     IV. Statutory Authority                                  definitions of new source and existing                Memorandum was contrary to the plain
       As discussed in the preamble of the                    source) are independent, and neither is               language of the CAA, and, therefore,
     MM2A proposal at 84 FR 36304, 36309–                     tied to the other. For example, the                   must be withdrawn.
     36313 (July 26, 2019), CAA section 112                   statutory definition of ‘‘major source’’                 As discussed above, Congress
     distinguishes between major and area                     does not provide that major source                    expressly defined the terms ‘‘major
     sources of HAP emissions. Indeed, the                    status is determined based on a source’s              source’’ and ‘‘area source’’ in CAA
     very first provisions in CAA section 112                 emissions or PTE as of the date that the              section 112(a) in unambiguous
     are the major source definition in CAA                   EPA first proposes regulations                        language. Nonetheless, under the OIAI
     section 112(a)(1) and area source                        applicable to that source or any other                policy, a source that reduced its
     definition in CAA section 112(a)(2)) that                point in time. As noted above, the plain              emissions of and PTE HAP to below the
     create the major/area distinction. Major                 language of the ‘‘major source’’ and                  statutory thresholds for major source
     sources emit more HAP than area                          ‘‘area source’’ definitions create a                  status after the relevant compliance date
     sources and, generally, different                        distinction that is based solely on                   would continue to be subject to the
     requirements apply to major sources                      amount of emissions and PTE, and not                  requirements applicable to major
     and area sources. For some section 112                   timing. Similarly, with respect to the                sources. This policy was applied
     source categories, the EPA has                           timing-based distinction, a source is a               notwithstanding that the statutory
     promulgated requirements for only                        ‘‘new source’’ or an ‘‘existing source’’              definitions of ‘‘major source’’ and ‘‘area
     major sources, and HAP emissions from                    based entirely on the timing of its                   source’’ lack any reference to the
     area sources are not regulated under the                 construction or reconstruction and                    compliance date of major source
     NESHAP program.                                          without consideration of its actual                   requirements or any other text that
       Whether a source is a ‘‘major source’’                 emissions or PTE. The contrast between                indicates a time limit for changing
     or an ‘‘area source’’ depends on the                     the temporal distinction in the                       between major source status and area
     amount of HAP emitted by the source                      contrasting definitions of existing and               source status. In short, Congress placed
     based on its actual and potential                        new sources on the one hand, and the                  no temporal limitations on the
     emissions. Congress defined ‘‘major                      absence of any temporal dimension to                  determination of whether a source emits
     source’’ to mean a source that emits or                  the contrasting definitions of major and              or has the potential to emit HAP in
     has the potential to emit at or above                    area sources on the other, is further                 sufficient quantity to be a major source


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     under CAA section 112. Because the                       Congress’s creation of the timing                     Such a result would be contrary to the
     OIAI policy imposed such a temporal                      distinction in the new source and                     EPA regulations, which provide that an
     limitation (before the ‘‘first compliance                existing source definitions shows that                area source that increases its emissions
     date’’), the EPA had no authority for the                Congress was explicit when it wanted to               or PTE above the MST becomes subject
     OIAI policy under the plain language of                  classify sources based on timing, and it              to the applicable major source
     the CAA. Under the plain language of                     did not do so in creating the major/area              requirements. 40 CFR 63.6(a)(2),
     the statute, a major source that takes                   source distinction.                                   63.6(b)(7), 63.6(c)(5).
     enforceable limits on its PTE to bring its                  Some commenters have argued that                      Further, reliance on CAA 112(i)(3)(A)
     HAP emissions below the CAA section                      the EPA’s plain language reading cannot               to argue against the EPA’s plain
     112 major source thresholds, no matter                   be correct in light of various provisions             language reading and for a return to the
     when it may choose to do so, becomes                     in CAA section 112. The EPA has                       OIAI policy ignores that the ‘‘effective
     an area source under Congress’s                          considered these comments and                         date’’ of a CAA section 112 standard is
     definition in CAA section 112(a)(2). In                  concluded that the EPA’s plain language               not the same as the ‘‘compliance date.’’
     this final action, we are implementing                   reading is the correct reading, for the               CAA section 112(i)(3)(A) expressly
     the plain language of CAA section 112                    reasons discussed below, in the                       provides that the EPA may set the
     and making clear that such a source can                  Response to Comments document and                     ‘‘compliance date’’ for existing sources
     reclassify to area source status at any                  elsewhere in the record.                              up to 3 years after the ‘‘effective date.’’
     time, and after reclassification, will no                   CAA section 112(i)(3)(A)—Some                      Similarly, CAA section 112(i)(5) (which
     longer be subject to the CAA section 112                 commenters assert that the EPA’s plain                is applicable in certain circumstances
     requirements applicable to the source as                 language reading of the definitions of                for sources that make early reductions
     a major source under CAA section 112—                    ‘‘major source’’ and ‘‘area source’’ is               in HAP emissions) provides for a
     so long as the source’s actual and PTE                   contradicted by CAA section                           delayed compliance date that will be
     HAP emissions remain below the CAA                       112(i)(3)(A). Specifically, they contend              after the effective date. This is
     section 112 thresholds—and will                          that the first phrase in CAA section                  significant because the cutoff deadline
     instead be subject to any applicable area                112(i)(3)(A) precludes a major source                 for reclassification that the commenters
     source requirements.                                     from reclassifying to area source status              say is required under CAA section
                                                              after the source has become subject to a              112(i)(3)(A) is not the effective date.
        A discussion of the statutory                         major source standard and that this                   Under the OIAI policy, the cutoff date
     definitions of ‘‘new source’’ and                        statutory text compels the OIAI policy.               for reclassification was the first
     ‘‘existing source’’ in CAA section                       The EPA disagrees with this contention.               substantive compliance date, which (as
     112(a)(4) and (10) further demonstrates                  The first phrase in CAA section                       just discussed) is clearly distinguished
     that the OIAI policy was inconsistent                    112(i)(3)(A) states: ‘‘After the effective            from the effective date in CAA section
     with the language of the statute. As                     date of any emissions standard,                       112(i)(3)(A) in the statute. Thus,
     discussed above, the major source/area                   limitation or regulation promulgated                  commenters’ reading of CAA section
     source distinction and the new source/                   under this section and applicable to a                112(i)(3)(A) would not only be contrary
     existing source distinction are two                      source, no person may operate such                    to the EPA’s plain language reading but
     separate and independent features of the                 source in violation of such standard,                 would also be contrary to the OIAI
     statute. Significantly, the statutory                    limitation or regulation . . . .’’ As                 policy under which sources could
     definitions of ‘‘new source’’ and                        discussed in the proposal (84 FR 36311),              reclassify after the effective date as long
     ‘‘existing source’’ dictate that the new                 the EPA reads this phrase to have the                 as they did so before the first
     source/existing source distinction is                    same meaning as similar ‘‘effective                   substantive compliance date.
     determined by when a source                              date’’ provisions in the CAA, such as                    In sum, the EPA has concluded that
     commences construction or                                CAA section 111(e), notwithstanding                   the CAA section 112 definitions of
     reconstruction and says nothing about                    that CAA section 112(i)(3)(A) has                     ‘‘major source’’ and ‘‘area source’’ and
     the source’s volume of emissions. No                     somewhat different phrasing. In short,                the ‘‘effective date’’ provision in CAA
     one can reasonably suggest that this                     this text simply provides that, after the             section 112(i)(3)(A) are properly read
     silence concerning volume of emissions                   effective date of a CAA section 112 rule,             together to say that sources must
     indicates that Congress intended to give                 sources to which a standard is                        comply with the applicable
     the EPA the discretion to conclude that                  applicable must comply with that                      requirements corresponding to their
     sources should be classified as new or                   standard. This text is not reasonably                 major source or area source status, and
     existing based, in part, on how much                     read to say that, once a standard is                  that if this status changes, then the
     they emit. For example, if the EPA were                  applicable to a source, that standard                 source becomes subject to the
     to say that a source is only a new source                continues to be applicable to the source              requirements corresponding to its status
     if it both (1) commences construction                    for all time, even if the source’s                    after the change.
     after regulations are first proposed (as                 potential to emit changes such that it no                CAA sections 112(c)(3) and (6)—Some
     stated in CAA section 112(a)(4)), and (2)                longer meets the applicability criteria               commenters argue that CAA sections
     emits more than 20 tpy of any single                     for the standard. Such a reading would                112(c)(3) and (6) reflect a Congressional
     HAP (which is not stated anywhere in                     produce some results that are clearly                 intent that sources be subject to
     the statute), that second element would                  incorrect. For example, if the first                  continuous, permanent compliance with
     be contrary to the plain language of the                 phrase in CAA section 112(i)(3)(A) were               major source standards and that these
     statute. Similarly, the OIAI policy of                   read to say that a source’s applicable                provisions are, therefore, inconsistent
     considering timing as part of the major                  requirements are determined at the                    with the EPA’s plain language reading.
     source/area source distinction is                        point in time that a source first becomes             But there is no inconsistency here.
     contrary to the plain language of the                    subject to CAA section 112                            Those provisions required the EPA to
     statute, because it interjects timing into               requirements, then an area source                     ensure that sources accounting for 90
     the major/area distinction when                          would continue to be subject to area                  percent of the emissions of specific
     Congress provided that such distinction                  source requirements even if that source               pollutants were listed and regulated by
     would be based only on the source’s                      increased its potential to emit above                 November 2000. The premise of the
     actual and potential emissions. In short,                either of the major source thresholds.                commenters’ argument based on CAA


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     sections 112(c)(3) and (6) is that these                 that the EPA provided in the proposed                 regulated, as provided in CAA section
     provisions do not simply require the                     rule preamble (at 84 FR 36311–36312).                 112(d)(1), which provides that the EPA
     EPA to list and regulate sufficient                      First, as a general matter, Congress in               will regulate those categories listed
     source categories to meet the 90-percent                 CAA section 112 plainly distinguished                 under CAA section 112(c).
     requirement at a given point in time;                    between major sources emitting above                     (2) Major sources are subject to MACT
     rather, they require that the EPA’s                      the MST and area sources emitting                     standards under CAA section 112(d)(2)
     regulations ensure that 90 percent of                    below the MST and subjected them to                   and (3), but area sources may be subject
     emissions are subject to regulation on an                different requirements. Second, with                  to generally available control technology
     ongoing basis. This is not a reasonable                  regard to CAA section 112(f), CAA                     (GACT) standards under CAA section
     reading of CAA sections 112(c)(3) and                    section 112(f)(5) contains an express                 112(d)(5).
     (6) because, as explained in greater                     exemption from the CAA section (f)(2)                    (3) Area source categories and
     detail in the proposed rule preamble at                  review for area sources, and there is no              subcategories listed under CAA section
     84 FR 36311, the requirements of the                     statutory basis or logical reason for                 112(c)(3) and for which standards are
     statute and subsequent standards will                    treating an area source differently just              set under CAA section 112(d)(5) are not
     result in the emissions from the listed                  because it is a former major source. For              subject to residual risk review under
     source categories falling below the 90-                  these reasons, CAA section 112(f) is not              CAA section 112(f)(2), pursuant to CAA
     percent threshold once those source                      inconsistent with the EPA’s plain                     section 112(f)(5).
     categories are regulated. If commenters’                 language reading.                                        In short, to the extent that major
     interpretation were correct, CAA                            CAA section 112(d)—Some                            sources become area sources by
     sections 112(c)(3) and (6) would create                  commenters have pointed to the                        reducing their emissions of and PTE
     a never-ending cycle of listing and                      requirements of CAA section 112(d) as                 HAP below the MST, and, thus, are no
     regulation in order to achieve an                        requiring sources that are at any point               longer subject to major source
     unattainable goal of ensuring that 90                    subjected to major source standards                   requirements, that is not a ‘‘loophole’’ or
     percent of emissions are regulated. See                  must continue to be subject to major                  an ‘‘end-run’’ around the major source
     84 FR 36311.                                             source standards permanently. These                   requirements. That is simply the result
        In response to the EPA’s discussion in                commenters have argued that the EPA’s                 of the provisions and structure of CAA
     the proposed rule preamble,                              plain language reading undermines the                 section 112 that Congress enacted and
     commenters have stated that the                          emissions reductions required by these                reflects the fundamental distinction
     statutory text in CAA sections 112(c)(3)                 CAA section 112 standards. Section                    between how CAA section 112
     and (6) is properly read not to focus on                 112(d)—and in particular, sections                    addresses major sources and area
     the source categories that those                         112(d)(2) and (3) of the CAA—addresses                sources.
     provisions require to be listed but on the               how the EPA sets MACT standards for                      Further, allowing a major source to
     individual sources that are within those                 major sources (based on the maximum                   take a PTE limit below the major source
     categories—specifically, that these                      degree of emissions reduction the EPA                 threshold and thereby avoid having to
     provisions require the EPA to regulate                   determines is achievable, which may be                comply with major source requirements
     the sources that produced those                          a complete prohibition on emissions).                 is not a new concept under MM2A.
     emissions. But if the listing and                        But the question of what standard is                  Indeed, that is precisely what happened
     regulation required pursuant to CAA                      applicable to major sources in a source               under the OIAI policy. The only change
     sections (c)(3) and (6) were read to                     category—whether MACT floor                           under MM2A is one of timing. Under
     apply to the sources that produced the                   standards or otherwise—logically                      the OIAI policy, major sources could
     emissions as of the time of the listing of               cannot determine which sources are                    reclassify if they took the PTE limit
     the categories, then that would mean                     major sources . Instead, the text and                 before the first substantive compliance
     that new sources within the listed                       structure of CAA section 112                          date. Under MM2A, sources can
     source categories would not be                           demonstrate that whether a source is                  reclassify at any time. Nothing in the
     regulated. The EPA does not think this                   classified as a major source or an area               statute says, and there is no logical
     is a reasonable reading of those                         source is the threshold question under                reason why, a major source that could
     provisions. Instead, the proper reading                  CAA section 112, and what                             reclassify to area source status on the
     of these provisions is that the EPA is to                requirements apply to the source flows                day before its first substantive
     list and regulate source categories, and                 from how the source is classified, with               compliance date (as allowed under the
     then a source is regulated pursuant to                   major sources and area sources facing                 OIAI policy) is foreclosed from doing so
     the standard applicable to a given                       significantly different regulation.                   on the day after its first substantive
     source category to the extent that, and                     As noted above, the very first                     compliance date.
     as long as, the source remains within                    provisions in CAA section 112 are the                    Similarly, having a source reclassify
     the source category. Thus, under a                       major source definition in CAA section                after the first substantive compliance
     proper reading of CAA sections                           112(a)(1) and area source definition in               date is not a new concept under MM2A.
     112(c)(3) and (6), those provisions do                   CAA section 112(a)(2) that create the                 During the time that the OIAI policy
     not prevent reclassification, so there is                major/area distinction. Following from                was in effect, area sources were
     no conflict between the EPA’s plain                      this threshold distinction, CAA section               reclassified to major source status at any
     language reading of CAA sections                         112 treats major sources and area                     time that they increased emissions or
     112(a)(1)–(2) and the requirements of                    sources differently in fundamental                    their PTE above the major source
     CAA sections 112(c)(3) and (6).                          ways. To state a few examples that                    threshold, even if the increase occurred
        CAA section 112(f)(2)—Commenters                      illustrate this:                                      after the first substantive compliance
     also point to CAA section 112(f)(2)                         (1) The EPA must list all categories of            date under the applicable area source
     (commonly referred to as the residual                    major sources of HAP pursuant to CAA                  rule.
     risk provision) and contend that the                     section 112(c)(1), but only has to list                  For these reasons, the EPA concludes
     EPA’s plain language reading allows                      categories of area sources representing               that the standard-setting provisions in
     reclassified sources to avoid the review                 90 percent of HAP under CAA section                   CAA sections 112(d)(2) and (3) do not
     required under that provision. But this                  112(c)(3). This distinction is then                   contradict the plain language of the
     argument fails to refute the discussion                  carried over to what sources are                      major source and area source definitions


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     on the issue of whether a source can                     changes that can further reduce their                 Group v. EPA, 573 U.S. 302, 325–326
     reclassify at any time.                                  HAP emissions to below the MST if the                 (2014) (where Congress created precise
        Parties opposed to the EPA’s plain                    source views those changes as an                      numerical thresholds in the statute, the
     language reading also suggest that the                   opportunity to reduce costs of                        EPA’s rewriting of the statutory
     EPA’s reading is inconsistent with the                   production, increase productivity, or                 thresholds is impermissible).
     purpose and provisions of CAA section                    reduce the costs of complying with                       Further, even if there were some
     112 because it will lead major sources                   major source NESHAP requirements.                     ambiguity in the text and structure of
     that reclassify to area source status to                 For example, sources using surface                    CAA section 112 that gave the EPA the
     increase their emissions above what                      coatings may see the opportunity to                   discretion to impose such a
     they could emit if they continued to be                  become an area source as an extra                     requirement, the EPA’s conclusion in
     major sources. The EPA disagrees with                    incentive to invest in the development                light of both the statute and policy
     the suggestion that a source’s                           of new low- or no-HAP content coatings,               considerations is that such a
     reclassification from major source to                    inks, and binders. Similarly, sources                 requirement should not be imposed. As
     area source will necessarily lead to an                  with boilers and engines may benefit                  discussed above, whether a source is
     increase in emissions from the source                    from replacing old boilers and engines                classified as a major source or an area
     above what would have been allowed to                    with new, more efficient, and clean                   source is the threshold question under
     emit under the major source standard.                    technologies. Such a replacement not                  CAA section 112, and what
     As discussed in section VIII of the                      only could help a source reduce HAP to                requirements apply to the source flows
     preamble, there are a number of reasons                  below the MST but could also reduce                   from how the source is classified, with
     why reclassified sources are generally                   fuel use and associated costs. To assess              major sources and area sources facing
     not expected to increase their emissions.                the opportunity for such emission                     significantly different statutory
     The EPA’s analysis of the sources that                   decreases, we looked at an alternative                requirements. If the EPA were to
     have reclassified to date and sources                    scenario and determined that some                     mandate that a reclassified area source
     that might reclassify from various                       sources operating between 75 and 125                  maintain its emissions below the level
     source categories shows that in 68 out                   percent of the MST could decrease                     that the source was subject to as a major
     of 69 operating permits for sources that                 emissions if those sources were to                    source, that would be contrary to the
     have already reclassified to area source                 reclassify. Further details of this                   fundamental structure that Congress
     status since January 2018, sources                       illustrative analysis and the results are             created in CAA section 112. Further, as
     achieved and maintain area source                        provided below in section VIII.                       discussed below in section VIII, even in
     status by operating the emission                                                                               the absence of any provisions
     controls or continuing to implement the                     In the MM2A proposal, the EPA took                 preventing emissions above what a
     practices they used to comply with the                   comment on whether it can and should                  reclassified source was allowed to emit
     major source NESHAP requirements.                        promulgate regulatory provisions that                 as a major source, most sources are not
     However, the EPA found that one of the                   would prevent a source that has                       expected to increase emissions and
     69 reclassified sources will not continue                reclassified from major to area source                those that do would have only modest
     to employ the same compliance method                     status from increasing emissions above                increases. Thus, as a matter of policy
     that it used to meet the major source                    what the source was allowed to emit                   judgment, the EPA would not interpret
     standard, and thus may increase its                      when it was a major source. See 84 FR                 any ambiguity in the statute to allow the
     emissions. In addition to this review of                 36312–36313. Upon further                             imposition of a new limit on reclassified
     actual reclassification actions since                    consideration of this issue and the                   area sources more stringent than the
     January 2018, the EPA also prepared an                   comments received, the EPA has                        limit applied to other area sources.
     illustrative analysis for 72 source                      concluded that the plain language of                     For these reasons, the EPA is not
     categories in the major source NESHAP                    CAA section 112 precludes the                         promulgating provisions that would
     program (114 total) to evaluate the                      promulgation of such provisions. As                   prevent a source that has reclassified
     potential emissions impacts. After                       discussed above, the plain language of                from major to area source status from
     considering the information and data                     CAA section 112 provides that a source                increasing emissions above what the
     available for the illustrative emissions                 is an area source if its emissions and                source was allowed to emit when it was
     analysis, we found that 65 source                        PTE are below the thresholds of 10 tpy                a major source.
     categories will not change emissions as                  of any one HAP and 25 tpy of any
                                                              combination of HAP. Just as there is                  V. Summary of Final Amendments
     a result of the rule. For the other seven,
     there was a potential for (but not a                     nothing in the statutory definitions in                  To implement the plain language
     certainty of) emissions increases based                  CAA sections 112(a)(1) and (2) or                     reading of the statute as discussed in
     on conservative assumptions that are                     elsewhere in CAA section 112 that sets,               section IV above, the EPA is finalizing
     likely to overstate the change in                        or gives the EPA the authority to set, a              amendments to the General Provisions
     emissions at some facilities. Sources in                 cut-off date after which a major source               of 40 CFR part 63, subpart A. The EPA
     these in seven source categories                         cannot classify to area source status,                is also finalizing amendments to the
     assessed in the primary scenario could                   there is nothing in CAA section 112 that              General Provisions tables contained
     increase emissions if those facilities (1)               imposes, or gives the EPA the authority               within most subparts of 40 CFR part 63
     opted to reclassify and (2) were                         to impose, a requirement that a source                to account for the regulatory provisions
     permitted to change the operation of                     can only be an area source if it limits its           we are finalizing in the General
     adjustable add-on controls. Further                      emissions to some level below the MST.                Provisions of 40 CFR part 63, subpart A.
     details of this illustrative analysis and                Congress clearly identified the                       Finally, the EPA is finalizing changes to
     the results are provided below in                        thresholds of 10 tpy of any one HAP and               several individual NESHAP intended to
     section VIII.                                            25 tpy of all combined HAP as the                     remove rule-specific OIAI provisions.
        Further, allowing major sources to                    dividing line between major source                    For all comments not discussed in this
     reclassify to area source status after the               status and area source status. The EPA                preamble, comment summaries and the
     first substantive compliance date may                    cannot impose a different dividing line               EPA’s responses can be found in the
     create an incentive for sources to                       from what Congress wrote into CAA                     Response to Comments document
     evaluate their operations and consider                   section 112. See Utility Air Regulatory               available in the docket.


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     A. Final Amendments to 40 CFR Part                       regulatory language in this provision                  operational design (even if the source
     63, Subpart A: General Provisions                        implements the EPA’s plain language                    owner and regulatory agency disregard
                                                              reading of the definition of major and                 any enforceable limitations), are not
     1. Applicability
                                                              area sources in section 112 of the CAA,                within the definition of ‘‘major source.’’
        The EPA is finalizing amendments to                   as discussed in length in section IV of                These ‘‘true’’ area sources do not need
     the applicability section of the General                 this preamble, allowing sources to                     to obtain enforceable PTE limits to be
     Provisions of 40 CFR part 63.1 by                        reclassify at any time. This provision                 reclassified to area source status.
     adding a new provision 40 CFR                            allows for reclassification to area source             Accordingly, sources that have
     63.1(c)(6) to implement the plain                        status regardless of whether the                       permanently removed equipment,
     language reading of the ‘‘major source’’                 reclassification occurs before or after the            changed their processes, or by other
     and ‘‘area source’’ statutory definitions                first substantive compliance date of a                 means currently do not have a
     of section 112 of the CAA and provide                    major source NESHAP.                                   maximum capacity to emit HAP at
     that a major source can be reclassified                     Other commenters stated that the                    major source levels are ‘‘true’’ area
     to area source status at any time upon                   proposed provision in 40 CFR 63.1(c)(6)                sources (i.e., enforceable limits are not
     reducing its actual emissions of and                     could be read to require all types of                  needed on the source’s physical or
     potential to emit HAP to below the MST                   sources to obtain PTE limits in order to               operational design to restrict the
     of 10 tpy of any single HAP and 25 tpy                   be reclassified to area source status.                 source’s PTE HAP below MST) and do
     of any combination of HAP. At                            These commenters stated that this could                not need to adopt PTE limits to be
     proposal, this new applicability                         be problematic for sources that were                   reclassified. Any source that adopts a
     provision also included regulatory                       major at the first substantive compliance              physical or operational limit on its
     language addressing the compliance                       date of a particular NESHAP but are no                 maximum capacity to emit (including
     date with applicable NESHAP                              longer within the definition of ‘‘major                requirements for the use of air pollution
     requirements for reclassification and                    source’’ at the time of reclassification               control equipment or restrictions on the
     interactions with enforcement actions.                   because the source’s emissions of and                  hours of operations or on the type or
     We received comments on all aspects of                   PTE HAP are below the MST even in the                  amount of material combusted, stored,
     the new applicability provision. Below                   absence of a governmental restriction on               or processed) to limit its PTE HAP
     we discuss each aspect of the proposed                   emissions in a PTE limit. The EPA                      below the MST is not a true area source.
     MM2A applicability provision and what                    agrees with the commenters that the                    These are often referred to as
     we are finalizing after considering                      language in the proposed provision can                 ‘‘synthetic’’ area sources.13
     public comments.                                         be clarified and has amended the                          Relatedly, commenters claimed that
     a. Reclassification Provision                            language of 40 CFR 63.1(c)(6) in the                   the MM2A proposal did not appear to
                                                              final rule to read: ‘‘A major source may               explain that the definition of ‘‘potential
        The EPA proposed to amend 40 CFR                      become an area source at any time upon                 to emit’’ does not require enforceable
     63.1 by adding a new paragraph (c)(6).                   reducing its emissions of and potential                limitations for restrictions on HAP
     As proposed, this paragraph specifies                    to emit (PTE) hazardous air pollutants,                emissions that are inherent in the
     that a major source can become an area                   as defined in this subpart, to below the               physical or operational design of the
     source at any time by limiting its PTE                   major source thresholds established in                 production process. Note that the EPA
     HAP to below the major source                            40 CFR 63.2, subject to the provisions in              recognizes that, on a case-by-case basis,
     thresholds established in 40 CFR 63.2,                   paragraphs (c)(6)(i) and (ii) of this                  a situation may warrant an assessment
     provided certain conditions are met. We                  section.’’ The provisions in 40 CFR                    of whether a given device or strategy
     received comments in support of and                      63.1(c)(6)(i) and (ii) as finalized in this            should be considered as air pollution
     against the proposed text in 40 CFR                      action are discussed later in this                     control equipment or as an inherent part
     63.1(c)(6) and comments requesting                       preamble.                                              of the process.14 That said, the final rule
     changes to or clarification on the                          In the final regulatory language of 40              is not revising the EPA’s view on how
     proposed provision. Comments against                     CFR 63.1(c)(6), the EPA replaced the                   to determine ‘‘the maximum capacity of
     the proposed reclassification provision                  phrase ‘‘limiting its potential to emit                a stationary source to emit a pollutant
     based on the statutory text or other legal               (PTE) hazardous air pollutants . . .’’                 under its physical and operational
     issues (such as legal comments                           with the phrase ‘‘reducing its emissions               design.’’ Sources with questions about
     opposing the EPA’s plain language                        of and potential to emit (PTE) hazardous               the proper way to determine PTE HAP
     reading of CAA section 112 definitions                   air pollutants . . .’’. This updated                   or whether they should obtain PTE
     of major and area sources allowing                       language removes the ambiguity in the                  limits for reclassification to area source
     sources to reclassify at any time) are                   proposed language and makes it clear
     addressed in section IV of this preamble                 that PTE limits would be needed for                       13 We note that in the Oil and Natural Gas Federal

     and in the Response to Comments                          area source reclassification for sources               Implementation Plan (O&NG FIP) in Indian County,
     document available in the docket. The                                                                           ‘‘true area sources’’ include the reductions due to
                                                              with PTE HAP at or above the MST. In                   compliance with various NESHAP and new source
     comments requesting changes to or                        contrast, consistent with the statutory                performance standards (NSPS) standards, which are
     clarification on the new provision are                   definitions of ‘‘major source’’ and ‘‘area             applicable requirements of the O&NG FIP. True
     summarized below.                                        source’’ and the regulatory definition of              minor sources in the oil and natural gas production
                                                                                                                     and natural gas processing segments of the oil and
        Some commenters recommended that                      PTE in 40 CFR 63.2, so called ‘‘true’’                 natural gas sector are required to comply with the
     the EPA add language to the new                          area sources,12 which in this preamble                 O&NG FIP instead of obtaining a source-specific
     provision in 40 CFR 63.1(c)(6) to specify                means sources that do not have the                     minor source permit, unless a source chooses to opt
     that the provision applies to sources                    capacity to emit HAP at major source                   out of the FIP and to obtain a source-specific minor
                                                                                                                     New Source Review (NSR) permit instead under the
     that reclassify to area source status after              levels under their physical and                        ‘‘Federal Minor New Source Review (NSR) Program
     being subject to major source NESHAP                                                                            in Indian Country.’’ See FIP for True Minor Sources
     requirements. The EPA disagrees that                       12 This preamble follows the convention about the    in Indian Country in the Oil and Natural Gas
     the language only applies to                             meaning of these terms adopted in an EPA               Production and Natural Gas Processing Segments of
                                                              memorandum titled ‘‘Potential to Emit (PTE)            the Oil and Natural Gas Sector. 81 FR 35944 (June
     reclassification by a major source after                 Guidance for Specific Source Categories’’ (April 14,   3, 2016).
     the source has been subject to major                     1998), available at https://www.epa.gov/sites/            14 See https://www.epa.gov/sites/production/files/

     source NESHAP requirements. The                          production/files/2015-07/documents/lowmarch.pdf.       2015-07/documents/readymix2.pdf.



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     status are encouraged to consult                         PTE HAP below the MST may need to                        safe harbor for the source if the limits
     applicable permitting program                            show the regulatory authority                            taken do not effectively limit the HAP
     regulations and work with their                          processing the reclassification the effect               emissions and the source emits HAP in
     corresponding regulatory authorities on                  of such limitation on the source’s PTE                   excess of the MST.
     a determination that considers their                     HAP to confirm that such source has a
                                                                                                                       b. Compliance Dates for Applicable
     situation. See also, 40 CFR 63.10(b)(3),                 PTE HAP that allows it to reclassify to
                                                                                                                       Standards
     which explains in detail the analysis                    area source status.16 As explained
     and contents of the records to be kept                   before, the determination of a source’s                     In the proposed language of 40 CFR
     for applicability determinations made                    PTE HAP under the PTE definition in 40                   63.1(c)(6), the EPA included regulatory
     by a source for purposes of 40 CFR part                  CFR 63.2 requires consideration of any                   text addressing applicability of
     63.                                                      enforceable controls, including ‘‘nested’’               standards and other requirements under
        Multiple commenters objected to the                   HAP usage limits in permits intended as                  40 CFR part 63 for sources that
     EPA’s proposed viewpoint that a major                    enforceable VOC limits, and other                        reclassify to area source status,
     source that had been complying with a                    enforceable non-HAP limitations within                   including dates for compliance with
     NESHAP as of the first substantive                       a permit that have the effect of reducing                standards and notifications
     compliance date of the standard, but                     HAP emissions. To the extent that a                      requirements. Because sources must
     reduced its PTE HAP below the MST by                     source’s PTE considering controls                        comply with requirements
     complying with non-section 112 CAA                       exceeds the MST, a source would need                     corresponding to their status, the
     requirements, would be required to                       to obtain enforceable limitations                        proposed provision in 40 CFR 63.1(c)(6)
     obtain HAP PTE limits to ensure that                     constraining its PTE HAP below the                       specified, ‘‘Until the PTE limitations
     HAP emissions remain below the MST.                      MST in order to be reclassified to area                  become effective, the source remains
     These commenters argued the EPA                          source status. Finally, the revised                      subject to major source requirements.
     should make clear in the final rule that                 language in 40 CFR 63.1(c)(6) that now                   After the PTE limitations become
     a limitation on another pollutant or                     states ‘‘reducing emissions and its                      effective, the source is subject to any
     parameter can be recognized as a                         potential to emit (PTE) hazardous air                    applicable requirements for area
     limitation on the source’s potential to                  pollutants . . .’’ (as opposed to the                    sources.’’ In response to comments and
     emit HAP if the limitation on the other                  proposed language stating ‘‘limiting its                 to clarify the requirements associated
     pollutant emissions or parameter                         potential to emit (PTE) hazardous air                    with applicability of NESHAP
     results, as a practical matter, in a                     pollutants . . .’’) supports the EPA’s                   requirements and the compliance dates
     restriction on the source’s HAP                          conclusion that the PTE regulatory                       for sources reclassifying to area source
     emissions. The commenters noted that                     definition means that enforceable limits                 status, both before and after compliance
     limits that qualify to reduce a source’s                 on other pollutants can have the effect                  with applicable major source NESHAP
     PTE HAP emissions do not need to be                      of reducing PTE HAP and can be the                       requirements, and for reclassified area
     ‘‘HAP PTE limits,’’ i.e., a requirement                  basis for reclassification. See also 40                  sources that subsequently become major
     need not place limits directly on a HAP                  CFR 63.10(b)(3) about the analysis and                   sources again, the EPA is consolidating
     to have the effect of limiting a HAP. The                                                                         these requirements in the final
                                                              record contents.
     commenters cited as example that                            Finally, some commenters asked the                    regulatory text at 40 CFR 63.1(c)(6)(i).
     volatile organic compound (VOC) limits                   EPA to clarify what requirements apply                   The final provision also addresses the
     could reduce HAP emissions and                           to sources that reclassified before the                  notification requirements for these
     further stated that the EPA provided no                  effective date of this rule. These                       sources. We discuss notification
     explanation why requiring the source to                  commenters asked the EPA to state in                     requirements below in section V.A.2 of
     obtain HAP PTE limits is essential to                    the final rule that sources that                         the preamble.
     ensure that the area source’s HAP                                                                                    The final regulatory text in 40 CFR
                                                              reclassified to area source status prior to
     emissions are effectively limited. The                                                                            63.1(c)(6)(i)(A) addresses the
                                                              the MM2A final rule would not be
     EPA recognizes that the proposal may                                                                              applicability of standards and
                                                              required to undertake any additional
     have caused confusion about whether                                                                               compliance dates for sources
                                                              actions. To the extent that sources have                 reclassifying to area source status either
     the EPA recognizes HAP reductions due                    reclassified before the effective date of
     to surrogate criteria pollutant controls                                                                          before or after being subject to major
                                                              this final rule, their ability to reclassify             source requirements under 40 CFR part
     for purposes of reclassifying to area                    is governed by the plain language
     source status.15 That said, the EPA has                                                                           63. The final regulatory text in 40 CFR
                                                              reading of the statute. We discuss the                   63.1(c)(6)(i)(B) addresses the
     concluded that it does not need to revise                notification and recordkeeping
     the regulatory text to make this specific                                                                         applicability of standards and
                                                              requirements for sources that                            compliance dates for reclassified area
     point because the definition of PTE (as                  reclassified before the effective date of
     revised in this final rule) allows for the                                                                        sources that subsequently become major
                                                              this final rule later in this preamble. In               sources again. These final provisions are
     effect of such limitations to count                      contrast, sources that reclassify after the
     toward limiting the PTE HAP. A source                                                                             discussed below.
                                                              effective date of this final rule are                       In this final rule, the EPA is updating
     relying on the effect of non-HAP                         governed by the plain language reading
     enforceable limitation to constrain its                                                                           the regulatory language in 40 CFR
                                                              of the statute and by the provisions                     63.1(c)(6)(i)(A) to include the
        15 See, e.g., January 25, 1995, memorandum titled
                                                              being finalized in this final rule. In                   applicability of standards and
     ‘‘Options for Limiting the Potential to Emit (PTE) of    either case, a reclassification is not a                 compliance dates for sources
     a Stationary Source Under Section 112 and Title V                                                                 reclassifying to area source status. The
     of the Clean Air Act (Act),’’ also, memorandum,            16 The EPA expects that state and local and tribal

     ‘‘Crediting of Maximum Achievable Control                agencies will exercise care when drafting
                                                                                                                       final amended text in 40 CFR
     Technology (MACT) Emission Reductions for New            enforceable permit conditions in the situation           63.1(c)(6)(i)(A) reads as follows: ‘‘A
     Source Review (NSR) Netting and Offsets,’’               where the ‘‘effect’’ of criteria pollutant limits will   major source reclassifying to area source
     available at https://www.epa.gov/sites/production/       not be straight forward. See January 25, 1995,           status under this part remains subject to
     files/2015-07/documents/netnoff.pdf. See, also, 81       memorandum titled ‘‘Options for Limiting the
     FR 35944, explaining that HAP compliance                 Potential to Emit (PTE) of a Stationary Source
                                                                                                                       any applicable major source
     reductions of volatile organic HAP to meet MACT          Under Section 112 and Title V of the Clean Air Act       requirements established under this part
     may also result in emissions reductions of VOC.          (Act).’’                                                 until the reclassification becomes


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     effective. After the reclassification                    HAP will rely on existing programs (e.g.,             NESHAP requirements in 40 CFR part
     becomes effective, the source must                       minor source programs, title V                        63 immediately upon reclassification to
     comply with any applicable area source                   permitting procedures, and/or approved                area source status, provided the
     requirements established under this part                 programs for issuing PTE limits under                 compliance date for the area source
     immediately, provided the compliance                     CAA section 112(l)). Consistent with                  requirements has passed. In the MM2A
     date for the area source requirements                    how regulation of area sources is                     proposal, the EPA proposed to allow for
     has passed. The owner or operator of a                   currently implemented under CAA                       additional time for compliance with
     major source that becomes an area                        programs, the EPA expects that                        applicable area source NESHAP
     source subject to newly applicable area                  determinations of area source status or               requirements for particular situations.
     source requirements under this part                      major source status, as requested by a                For reclassifications from major source
     must comply with the initial                             source for reclassification, will occur in            to area source status, the EPA proposed
     notification pursuant to § 63.9(b). The                  a single action or concurrently with                  that additional time (not to exceed 3
     owner or operator of a reclassified                      permitting actions needed to reconcile                years) may be granted by the EPA (or a
     source must also provide to the                          the revised requirements for the source               delegated authority) in a compliance
     Administrator notification of the change                 under the newly acquired status or as                 schedule where an area source standard
     in the information already provided                      appropriate for permit closure or                     would apply to an existing source upon
     under § 63.9(b) per § 63.9(j).’’                         revocation. (A permitting authority                   reclassification and different emission
        As stated in this provision, sources                  program may have simpler, less                        points would need controls or different
     remain subject to any applicable major                   burdensome processes for specific                     emission controls would be necessary to
     source requirements under 40 CFR part                    groups of sources.) The language                      comply with the area source standard or
     63 ‘‘until the reclassification becomes                  finalized about the effective date of                 other physical changes would be needed
     effective’’ instead of the proposed                      reclassification equitably considers the              to comply with the standard.
     language ‘‘until the PTE limitations                     current implementation mechanisms                        The EPA received many comments on
     become effective.’’ In the MM2A                          and sources situation.                                the proposed immediate compliance
     proposal, the EPA explained that                            As proposed, the regulatory language
                                                                                                                    rule, compliance extension provisions,
     reclassification to area source status is a              in 40 CFR 63.1(c)(6)(i) stated that ‘‘[a]
                                                                                                                    and the process for obtaining a
     voluntary action on the part of a source,                major source that becomes an area
                                                                                                                    compliance extension. Some
     and sources are required to apply with                   source must meet all applicable area
                                                                                                                    commenters agreed with the proposed
     their corresponding regulatory authority                 source requirements promulgated under
     and follow the corresponding                             this part immediately upon becoming an                immediate compliance rule for sources
     authority’s procedures to be reclassified                area source, provided the first                       that reclassify to area source status,
     to area source status. This includes                     substantive compliance date for the area              while others opposed the immediate
     sources that, at the time of                             source standard has passed, . . .’’ Some              compliance rule if the EPA did not
     reclassification, are no longer within the               commenters requested that the EPA                     include provisions to obtain a
     definition of ‘‘major source’’ because                   include language in the final rule                    compliance extension. Commenters
     they are true area sources (as described                 providing that sources reclassifying to               supporting the immediate compliance
     above in the preamble), because they                     area source status may meet the major                 rule without compliance extension
     had already obtained PTE limits below                    source NESHAP requirements as a                       provisions argued that sources should
     the MST, or due to other enforceable                     means of complying with newly                         be aware of applicable requirements and
     compliance obligations under a permit,                   applicable area source NESHAP                         plan for timely compliance at the time
     permit by rule, or State Implementation                  requirements. The EPA is not including                they request reclassification. These
     Plan (SIP). As explained elsewhere in                    such language in the final rule. Any                  commenters opposed the proposed
     this preamble, such sources are area                     source that reclassifies to area source               compliance extension provision, noting
     sources under the CAA section 112                        status is no longer subject to major                  that any provision to allow compliance
     definition, but as a result of our                       source NESHAP requirements and is                     at periods later than 3 years from a
     previous policy they may continue to                     subject to area source NESHAP                         standard’s effective date was unlawful
     have enforceable permit conditions,                      requirements instead. That said, the area             and unnecessary. The commenters
     including major source NESHAP                            source is not precluded from                          argued that CAA section 112(i)(3)(A)
     requirements, for example, until their                   streamlining the applicable area source               requires that compliance must be within
     title V permit is revised or revoked in                  NESHAP requirements with permit                       3 years of the effective date of the
     agreement with their permitting                          terms from a previously applicable                    standard; furthermore, CAA section
     authority procedures.                                    major source NESHAP standard if                       112(i)(3)(A) requires compliance ‘‘as
        Because reclassification to area source               compliance with applicable area source                expeditiously as practicable.’’ The
     status currently occurs under a                          NESHAP requirements is assured.                       commenters argued that just because
     regulatory authority’s area or minor                     Because the reclassification to area                  physical changes may be required for a
     source program, the reclassification of a                source status is a voluntary action on                source to comply with newly applicable
     source to area source status is effective                the part of the source, the source must               area source NESHAP requirements, it
     when the corresponding regulatory                        evaluate the area source NESHAP                       does not mean that compliance cannot
     authority grants a source’s request to be                requirements that will become                         be achieved immediately upon
     considered an area source via a permit                   applicable to the source at the time of               reclassification. The commenters
     registration, permit by rule,                            the reclassification to area source status            emphasized that CAA section 112(i)(3)
     applicability determination, etc. (As                    and be in a position to meet such                     is clear on the compliance schedule for
     explained in this preamble, 40 CFR part                  requirements at the time it reclassifies.             existing sources; that the schedule is
     63 separately requires notification of the                  In the regulatory language of 40 CFR               determined by the effective date of any
     applicability of a standard and                          63.1(c)(6)(i)(A), the EPA is finalizing the           emission standard, limitation, or
     recordkeeping of information on the                      proposed immediate compliance rule                    regulation promulgated under CAA
     applicability determination decision.)                   for major sources that reclassify to area             section 112; and that compliance has to
     We expect that the process for sources                   source status. These sources will be                  be as expeditious as practicable, but in
     to reclassify to area source status for                  subject to applicable area source                     no event later than 3 years after the


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     effective date of such standard. On the                  again by increasing its emissions to at or            increase its emissions to exceed the
     other hand, some commenters stated                       above the major source thresholds, must               MST should be required to plan
     that there may be a short period of time                 comply with the previous applicable                   sufficiently to comply with the
     when a stationary source needs to                        major source requirements of this part                applicable major source NESHAP
     discontinue compliance with a major                      immediately upon becoming a major                     requirements before it increases its
     source NESHAP requirement before                         source again . . .’’ The EPA also                     emissions. These commenters stressed
     complying with the area source                           proposed a compliance extension                       that it would be inappropriate to allow
     NESHAP requirements to conduct                           provision for these sources: If the                   stationary sources to prolong
     testing and verify monitoring protocols                  previously applicable standard has been               compliance with applicable standards,
     or to physically install emission                        revised since the source was last subject             and that allowing sources additional
     controls. These commenters argued that                   to the standard and, in order to comply,              time for compliance could incentivize
     the rule should recognize the need for                   the source must undergo a physical                    sources to continually shift stationary
     such exceptions to the requirement to                    change, install additional emission                   source applicability status to avoid
     comply immediately with the area                         controls, and/or implement new control                complying with applicable NESHAP
     source NESHAP requirements and that                      measures, the source will have up to the              requirements. These commenters
     the regulatory authority must be able to                 same amount of time to comply as the                  objected to any compliance extension,
     consider all the relevant factors in                     amount of time allowed for existing                   stating that any extension or
     allowing for a compliance extension.                     sources subject to the revised standard.              consideration of special conditions
     While the commenters stated that a                       The EPA received multiple comments                    would remove the protections in
     stationary source would want an                          on the proposed compliance schedule
     exception to discontinue compliance                                                                            existing rules, allowing the public and
                                                              and compliance extension provision for                environment to be exposed to increased
     with major source NESHAP                                 reclassified area sources reverting to
     requirements for a short period of time                                                                        HAP emissions.
                                                              major source status.
     in order to come into compliance with                                                                            Other commenters argued that the
                                                                 Some commenters argued that there
     the new area source NESHAP                                                                                     proposed immediate compliance
                                                              was no need for the EPA to address
     requirements to which they will be                       compliance timelines in the context of                provisions for sources that revert back to
     subject immediately after                                                                                      their previous major source status are
                                                              the MM2A rulemaking for sources that
     reclassification, the commenters did not                                                                       onerous and seem to be designed to
                                                              reclassify to area source status and then
     provide supporting evidence or concrete                                                                        discourage sources from opting to
                                                              revert back to major source status. These
     examples showing that there are real                                                                           become area sources. These commenters
                                                              commenters noted that the existing
     situations where such compliance                                                                               supported the proposed compliance
                                                              General Provisions in 40 CFR 63.6(c)(5)
     exception is needed.                                                                                           extension provisions but noted that
        The EPA agrees with the commenters                    already include compliance dates for
                                                              area sources that become major sources,               there is no justification to conditioning
     that the statutory language in CAA                                                                             any extension to the immediate
     section 112(i)(3)(A) precludes the                       and that by including compliance dates
                                                              within the provision in 40 CFR                        compliance requirement for these
     compliance extension as proposed. For                                                                          sources on an intervening change to the
     this reason, the EPA is not finalizing the               63.1(c)(6), the EPA was creating
                                                              disparate compliance schedule                         major source standard. They argued that
     proposed compliance extension for                                                                              this appeared to be a backdoor attempt
     sources reclassifying to area source                     requirements. Several other commenters
                                                              agreed with the proposed immediate                    to force sources opting to become area
     status. If a source reclassifies to area                                                                       sources to continue using major
     source status in a source category for                   compliance rule for area sources
                                                              reverting to major source status, stating             NESHAP add-on controls in case they
     which there are applicable area source                                                                         might need to become a major source
     NESHAP requirements, and the effective                   that sources should be aware of
                                                              applicable requirements and plan for                  again, and that this is something for
     date of such requirements has passed,                                                                          which the EPA lacks authority. Some
     the source must comply immediately                       timely compliance at the time they
                                                              request reclassification. These                       commenters supported the immediate
     upon reclassification. If the compliance
                                                              commenters opposed the proposed                       compliance rule if appropriate
     date of the applicable area source
                                                              compliance extension provision, noting                exceptions are made in the final rule
     NESHAP requirements is in the future,
                                                              that any provision to allow compliance                and it includes a reasonable process for
     the source must comply by the future
     compliance date specified in the                         at periods later than 3 years from a                  requesting an extension. The
     individual subpart. Because                              standard’s effective date is unlawful and             commenters recommended that the
     reclassification is a voluntary action on                unnecessary. The commenters argued                    compliance extensions be left to the air
     the part of the source, the immediate                    that CAA section 112(i)(3)(A) requires                pollution control agencies and that the
     compliance requirement does not                          that compliance must be within 3 years                EPA should not try to define what
     represent a compliance issue because a                   of the effective date of the standard. In             changes would be eligible for a longer
     source could delay their reclassification                addition, the commenters pointed out                  compliance period, thus, eliminating
     until such time as they are able and                     that CAA section 112(i)(3)(A) does not                unnecessary EPA oversight of the
     equipped to meet the applicable area                     allow additional time for a source that               process for area sources and simplifying
     source NESHAP requirements.                              reverts to major source status when the               the procedures for acquiring additional
        In the MM2A proposal, the EPA                         applicable major source NESHAP has                    compliance time. Finally, the
     included in the proposed provision at                    increased in stringency; thus, there is no            commenters stated that a source that
     40 CFR 63.1(c)(6)(ii) regulatory language                reason for the proposed extension. The                once was a major source may, for
     addressing the compliance schedule for                   commenters noted that CAA section                     example, maintain its area source status
     sources that reclassify between major                    112(g)(2) requires that any entity that               for 20 years before seeking to become a
     and area source status more than once.                   modifies or constructs a major source                 major source again; for this source,
     The EPA proposed that ‘‘A major source                   first secure a determination that                     many things may have changed while it
     subject to standards under part 63 that                  applicable maximum-achievable                         was an area source, including process
     subsequently becomes an area source,                     standards will be met. The commenters                 changes that render the previous
     and then later becomes a major source                    argued that any source that proposes to               compliance approach inapplicable or


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     require the source to comply in different                that reclassify back to major source                  of proposal of the standard and say
     ways.                                                    status: (1) Major sources that reclassify             nothing about the source’s volume of
        The EPA agrees with the commenters                    to area source status prior to being                  emissions. For this reason, the EPA
     that stated that the statutory language in               subject to major NESHAP requirements                  disagrees that a source reclassifying to
     CAA section 112(i)(3)(A) is properly                     (including sources that reclassified                  major source status after having
     read to preclude the proposed                            under the OIAI policy) and then return                previously been subject to the major
     compliance extension for sources that                    to major source status and (2) major                  source standards would necessarily be
     revert back to their previous major                      sources that reclassify to area source                classified as an existing source. The
     source status and are subject to major                   status after being subject to major                   EPA also disagrees with commenters
     source requirements for which the                        NESHAP requirements and then return                   that a reclassifying source would
     compliance date of such requirements                     to major source status. On the other                  necessarily be a new source for
     has passed. These sources must comply                    hand, the compliance dates for area                   purposes of determining which standard
     with the major source requirements                       sources that never operated as major                  applies. Whether an affected source is
     immediately, even if faced with the                      sources previously (including sources                 new or existing for purposes of
     circumstances listed in the proposal                     constructed with enforceable controls or              compliance with an applicable NESHAP
     (needing to ‘‘undergo a physical change,                 other type of enforceable PTE limits) but             is dictated by when the source
     install additional emissions controls                    that increase emissions or PTE and                    commenced construction or
     and/or implement new control                             become major sources for the first time               reconstruction in relation to when the
     measures’’ in order to meet the                          are governed by the provisions in the                 applicable NESHAP was proposed and
     applicable NESHAP requirements). In                      individual NESHAP (which are not                      not whether the status of the source is
     the circumstance where a source is                       being amended in this rule) and not the               major or area.
     reverting back to major source status for                provisions applicable to reclassified                    Moreover, the regulatory text at 40
     which there are applicable major source                  area sources that return to major source              CFR 63.6(c)—Compliance dates for
     NESHAP requirements and the                              status that are being finalized in this               existing sources—applies only to
     compliance date of such requirements at                  action. The EPA is also finalizing                    ‘‘existing sources.’’ Therefore, the
     the time of reclassification is still in the             amendments to 40 CFR 63.6(c)(1) to                    regulatory language at 40 CFR 63.6(c)(5)
     future, the source needs to comply with                  account for the immediate compliance                  states that ‘‘the owner or operator of an
     such requirements by the future                          rule as included in the final revisions to            [existing] area source that increases its
     compliance date specified in the                         40 CFR 63.1(c)(6)(i)(A) and (B) as                    emissions . . . shall be subject to
     individual subpart. In sum, a source                     discussed above.                                      relevant standards for existing sources.’’
     should not reclassify (in either                                                                               The intent of 40 CFR 63.6(b)(7) and
     direction) until it is ready to meet the                    Finally, while some commenters                     (c)(5) was further explained in the
     requirements that are imposed by the                     requested assurance that if sources                   preamble for the March 23, 2001, rule
     new classification.                                      revert back to their previous major                   that proposed revisions to 40 CFR
        For the reasons explained above, the                  source status, sources will not be                    63.6(b)(7) and (c)(5) (66 FR 16328),17
     final regulatory text included in 40 CFR                 considered new sources, others argued                 ‘‘[w]e are proposing to revise 63.6(b)(7)
     63.1(c)(6)(i)(B) addresses the                           the EPA should expressly provide that                 and (c)(5) to require new source MACT
     applicability of standards and                           relaxation or elimination of a PTE limit              only on affected sources that
     compliance dates for reclassified area                   that results in the source becoming a                 commenced construction or
     sources that subsequently become major                   major source requires that the source                 reconstruction after the proposal date of
     sources again. In this provision, the EPA                comply with CAA section 112 NESHAP                    the NESHAP . . . Affected sources at
     is finalizing the proposed immediate                     requirements for a new source. These                  former area sources that become major
     compliance rule for area sources that                    commenters asserted that as a result of               that have not constructed or
     become major sources again, if they                      a loophole in the existing 40 CFR part                reconstructed after the proposal date of
     were previously major sources under 40                   63 regulations, some sources and states               the NESHAP (emphasis added) would
     CFR part 63. The EPA has amended the                     are currently under the impression that               be subject only to existing source MACT
     language to read as follows: ‘‘An area                   a source can have its original PTE limit              . . . .’’ Again, each NESHAP provides
     source that previously was a major                       taken at the time of construction relaxed             the dates that determine whether a
     source under this part and that becomes                  or eliminated without triggering the                  source is a new source or an existing
     a major source again must comply with                    requirement to comply with major                      source. A source’s status of new or
     the applicable major source                              source NESHAP requirements that                       existing is determined by dates given in
     requirements established under this part                 would have otherwise applied to the                   each individual NESHAP, and that does
     immediately upon becoming a major                        source when it was built. This                        not change when a source reclassifies. If
     source again, provided the compliance                    confusion could have arisen from the                  a major source reclassifies to area source
     date for the major source requirements                   text in 40 CFR 63.6(c)(5) stating that                status after being subject to new major
     has passed, notwithstanding any other                    ‘‘the owner or operator of an area source             source NESHAP requirements and then
     provision within the applicable                          that increases its emissions of (or its               returns back to major source status, the
     subparts. The owner or operator of a                     potential to emit) hazardous air                      sources that were originally subject to
     source that becomes a major source                       pollutants such that the source becomes               new source requirements would once
     again must comply with the initial                       a major source shall be subject to                    again be subject to new source
     notification pursuant to § 63.9(b). The                  relevant standards for existing sources.’’            requirements. In light of these
     owner or operator must also provide to                   As explained in section IV of this                    comments, the EPA is including in the
     the Administrator any change in the                      preamble, the CAA section 112                         final rule amendments to 40 CFR
     information already provided under                       definitions of ‘‘new source’’ and                     63.6(b)(7) and (c)(5) to reflect the new or
     § 63.9(b) per § 63.9(j).’’ This updated                  ‘‘existing source’’ dictate that the new              existing status of sources that become
     final provision in 40 CFR 63.1(c)(6)(i)(B)               source/existing source distinction is                 major sources as being determined by
     for reclassified area sources that                       determined by when the affected source
     subsequently become major sources                        commences construction or                               17 These provisions were finalized on April 5,

     again covers both situations of sources                  reconstruction with respect to the date               2002 (See 67 FR 16582).



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     the dates provided in the applicable                     major source does not absolve a source                in the formulation of enforcement
     subparts and to also reflect the                         subject to an enforcement action or                   orders and negotiation of settlement
     immediate compliance rule as finalized                   investigation for area source violations              agreements and consent decrees was
     in 40 CFR 63.1(c)(6)(i)(B) for reclassified              from the consequences of any actions                  ever lawful or appropriate; and (2)
     area sources that revert back to major                   occurring when the source was an area                 orders, agreements, and decrees that
     source status. The amendments to 40                      source.                                               were imposed or negotiated based
     CFR 63.6(b)(7) read as follows: ‘‘When                      Multiple commenters agreed with the                materially on the OIAI policy ought to
     an area source increases its emissions of                premise that a major source that                      be subject to retroactive review, on a
     (or its potential to emit) hazardous air                 reclassifies should not be absolved from              case-by-case basis and subject to the
     pollutants such that the source becomes                  potential enforcement actions that                    needs of the particular case, upon
     a major source, the portion of the                       occurred prior to the reclassification.               application by the respondent for a
     facility that meets the definition of a                  However, some commenters argued that                  modification of the instrument. Finally,
     new affected source must comply with                     if a major source is rightfully an area               a commenter argued that the EPA
     all requirements of that standard                        source at the time of an alleged                      should explicitly state in its regulations
     applicable to new sources. The source                    violation, then the source should not be              that the consequence of violating PTE
     owner or operator must comply with the                   subject to enforcement as a major                     limitations is the requirement to comply
     relevant standard upon startup.’’ The                    source. Other commenters argued that it               with the applicable major source
     amendments to 40 CFR 63.6(c)(5) read                     is also appropriate for the EPA to                    NESHAP requirements—in addition to
     as follows: ‘‘Except as provided in                      consider the misclassification of a major             an appropriate penalty for violating the
     paragraph (b)(7) of this section, the                    source instead of the appropriate area                PTE limitations.
     owner or operator of an area source that                 source classification, and the
                                                                                                                       In the MM2A proposal, the EPA
     increases its emissions of (or its                       requirements for major sources versus
                                                                                                                    included regulatory language in the
     potential to emit) hazardous air                         area sources, and to examine a past
                                                                                                                    proposed MM2A applicability provision
     pollutants such that the source becomes                  violation to determine if the source
                                                                                                                    in 40 CFR 63.1(c)(6) stating that
     a major source and meets the definition                  actually violated the requirements of the
                                                                                                                    reclassification from major source to
     of an existing source in the applicable                  classification under which the firm
                                                                                                                    area source does not affect a source’s
     major source standard shall be subject to                should have been registered.
                                                                 One commenter recommended that                     liability or any enforcement
     relevant standards for existing sources.
                                                              the EPA add language to 40 CFR                        investigations or enforcement actions
     Except as provided in § 63.1(c)(6)(i)(B),
                                                              63.1(c)(6) that would allow for                       for a source’s past conduct or violations
     such sources must comply by the date
                                                              modification of an enforcement order                  of major source requirements that
     specified in the standards for existing
                                                              affecting a reclassified source if the                occurred prior to the effective date of
     area sources that become major sources.
                                                              enforcement order was based on the                    the source’s enforceable limitations (i.e.,
     If no such compliance date is specified
                                                              enforcement authority’s finding that the              the reclassification). This rule revision
     in the standards, the source shall have
                                                              source was a major source or based on                 underscores the importance of a
     a period of time to comply with the
                                                              the application of the OIAI policy. The               source’s PTE in determining NESHAP,
     relevant emission standard that is
     equivalent to the compliance period                      commenter argued that the EPA’s                       40 CFR part 63, applicability. The plain
     specified in the relevant standard for                   proposed new language in 40 CFR                       language reading of the definitions of
     existing sources in existence at the time                63.1(c)(6) would leave unclear whether                ‘‘major’’ and ‘‘area’’ source in section
     the standard becomes effective.’’                        it is the EPA’s intent that: (1) Such a               112 of the CAA as explained in the 2018
                                                              source can never apply to the                         MM2A Memorandum and implemented
     c. Reclassifications and Enforcement                     enforcement authority for relief from                 through this rulemaking does not
     Actions                                                  such obligations (which often include                 change the Agency’s position that a
        In the MM2A proposal, the EPA                         obligations imposed pursuant to a                     source may take enforceable production
     included regulatory language in the                      court’s equity jurisdiction or that                   and/or operational limits to effectively
     MM2A applicability provision in 40                       otherwise fall outside the universe of                constrain its PTE and, thereby, avoid
     CFR 63.1(c) to address the interaction of                obligations specified in the NESHAP) in               applicability. Rather, it eliminates the
     the reclassification of sources and                      exchange for accepting restrictions on                timing constraint imposed by the OIAI
     potential enforcement actions.                           its PTE in order to become a synthetic                policy as to when a source may take
     Specifically, we noted reclassification of               HAP area source; or (2) the enforcement               such limits to avoid applicability. If,
     a source from major to area source status                authority can never enter into a                      before taking such limits to avoid
     would not absolve a source of prior                      modification of the order, settlement, or             applicability, a source emitted a single
     liability for noncompliance. Although                    decree that grants such relief. The                   HAP in an amount of 10 tpy or greater,
     sources that are the subject of an                       commenter argued that this lack of                    or emitted any collection of HAP in an
     investigation or enforcement action may                  clarity could result in foreclosure of                amount of 25 tpy or greater, or it is
     still seek area source status for purposes               such relief in future proceedings that are            determined that the source has (or had)
     of future applicability, such sources                    informed by the final rules, depending                a PTE that meets or exceeds these
     remain liable for any previous or                        on the EPA’s posture at the time and the              amounts, the source would be
     pending violations of the CAA that                       deference that is sometimes given to                  considered a major source and subject to
     occurred prior to the reclassification.                  agencies’ interpretations of their own                the requirements of 40 CFR part 63 (as
     Enforcement of major source                              regulations.                                          applicable) up and until the
     requirements could include penalties,                       The commenter argued that because                  effectiveness of the limits. The same
     mitigation for illegal emissions, and/or                 the EPA has withdrawn the OIAI policy                 holds true after taking such limits to
     other remedies to address                                on the grounds that it was inconsistent               avoid applicability. That is, even after
     noncompliance. Accordingly, a source                     with ‘‘the plain language reading of the              taking such limits, if a source emits a
     cannot use its new area source status as                 ‘major source’ and ‘area source’                      single HAP in an amount of 10 tpy or
     a defense for major source NESHAP                        definitions of section 112’’ of the CAA,              greater, or emits any collection of HAP
     violations that occurred prior to its                    then it stands to reason that: (1) No                 in an amount of 25 tpy or greater, or it
     reclassification. Similarly, becoming a                  historical application of the OIAI policy             is determined that the source has (or


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     had) a PTE that meets or exceeds these                   involved after taking into account the                   Some commenters argued that there is
     amounts, the source would be                             legal and factual circumstances at the                no reason to believe that facility owners
     considered a major source and subject to                 time of the settlement. Accordingly, the              or operators would cease to properly
     the requirements of 40 CFR part 63 (as                   EPA is finalizing the regulatory                      operate their add-on control devices
     applicable). Now, as before, any time a                  language in 40 CFR 63.1(c)(6)(ii)                     where the operation of the control is
     source operates as a major source, it                    addressing the interaction of the                     needed to restrict the PTE and
     must meet the applicable major source                    reclassification of sources with                      appropriate MRR are established as
     requirements in 40 CFR part 63. Neither                  enforcement actions as proposed.                      enforceable conditions. Similarly, some
     this rule, nor the 2018 MM2A                                                                                   commenters asserted that sources that
                                                              d. Reclassifications and Operation of                 achieve area source status through
     Memorandum, intends to allow a source
                                                              Add-On Pollution Control Equipment                    compliance with MACT have significant
     that emits (or has the PTE) greater than
     the MST to avoid compliance with                           After the issuance of the MM2A                      disincentives to alter their control
     applicable requirements for major                        Memorandum, some stakeholders were                    measures to increase emissions
     sources. Any source that operates                        concerned that if sources were to                     thereafter. They argued that HAP
     without complying with the applicable                    reclassify to area source status, they                emissions control devices are not
     requirements is subject to enforcement.                  could stop using the add-on emission                  designed to achieve partial emissions
     The revision proposed at 40 CFR                          control equipment or emission                         reductions; rather, they are designed to
     63.1(c)(6) underscores the EPA’s                         reduction practices implemented for                   reduce emissions by a specified
     position that unless, and until, a source                major source NESHAP compliance or no                  efficiency rate and a source that already
     has enforceable production and/or                        longer maintain the same level of                     has invested in controls for the purpose
     operational limits that effectively limit a              control efficiency as before. At proposal,            of major source MACT compliance is
     source’s PTE (and are not just chimeras                  the EPA requested comments on                         unlikely to cease using them or remove
     that do not really restrain an operator                  whether facility owners or operators of               them in favor of less-effective measures
     from emitting pollution in amounts                       sources that reclassify will cease to                 to limit its HAP emissions—especially if
     equal to or exceeding the major source                   properly operate their add-on control                 the source’s reclassification to area
     thresholds), the source is a major source                devices where the operation of the add-               source status is contingent upon
     and must comply with the major source                    on control device is needed to restrict               compliance with an enforceable PTE
     requirements (as applicable). The D.C.                   the PTE and appropriate monitoring,                   limit.
     Cir. said as much in its review of the                   recordkeeping, and reporting (MRR) are                   On the other hand, other commenters
     2018 MM2A Memorandum, California                         established as enforceable conditions.                expressed concern with the EPA
     Communities Against Toxics, et al. v.                                                                          statement in the proposal saying that ‘‘it
                                                                In the proposal, the EPA explained                  has no reason to believe, and does not
     EPA, 934 F.3d. 627, 638–639 (D.C. Cir.                   that a source seeking reclassification
     2019), (‘‘Major sources must obtain a                                                                          anticipate’’ that sources will cease
                                                              because it has reduced its HAP                        operating their control devices and
     permit in order to operate, and unless                   emissions to below the MST through
     and until that permit is amended or set                                                                        hence increase emissions as a result of
                                                              use of add-on control devices or                      the MM2A action. One commenter
     aside, the stringent requirements set                    emission reduction practices
     forth therein must be complied with                                                                            argued that the EPA has collected
                                                              implemented for compliance with major                 insufficient data and included no
     while that equipment is operational.                     source NESHAP requirements will need                  explanation to support what the
     The [MM2A Memorandum]itself does                         to demonstrate to the regulatory                      commenter called an ‘‘economically
     not revoke or amend a single permit.’’)                  authority issuing the PTE limits the                  irrational conclusion.’’ The commenter
        Any order, settlement, or decree                      degree to which the add-on control                    argued that the EPA has not
     (collectively, agreements) issued or                     devices and emission reduction                        acknowledged the financial incentives
     entered into addressing a source’s                       practices are needed to restrict the                  to reduce usage of expensive control
     compliance with the requirements of                      source’s PTE. In the absence of the                   devices.
     NESHAP, 40 CFR part 63, is not affected                  applicability of the major source                        Commenters arguing that sources will
     by this rule or the 2018 MM2A                            NESHAP requirements, if the source                    reduce control device operation and
     Memorandum. Those agreements were                        relies on its existing NESHAP add-on                  emission monitoring if the major source
     entered into based on the specifics of                   control devices and/or emission                       NESHAP requirements no longer apply
     each case. Reopening or modification of                  reduction practices to limit its HAP PTE              stated the EPA must include in the final
     settlements approved by, or orders                       below the MST, the use of these control               rule conditions requiring the continued
     issued by, federal courts is governed by                 devices and/or emission reduction                     use of add-on controls and conditions
     the Federal Rules of Civil Procedure (F.                 practices must be made enforceable                    ensuring that monitoring and parametric
     R. Civ. P. Rule 60). Nothing in this final               under a permitting authority’s legal                  limits are adequate to meet the required
     rule is intended to suggest that any of                  mechanism. Alternatively, if a source                 destruction efficiencies needed for
     the prerequisites for reopening any                      intends to stop using the add-on control              sources to constrain their PTE and
     judicial or administrative settlement or                 device equipment or emission reduction                emissions at area source levels. These
     modifying a prior order of a court                       practices used to comply with a                       commenters argued that without such
     (including orders approving                              previously applicable major source                    requirements, sources that reclassify are
     settlements) have been met. There is no                  NESHAP requirement, the source must                   likely to operate the control device only
     additional clarification needed                          demonstrate that other physical controls              part of the year. They claim sources will
     regarding these authorities. While the                   or operational limits that the source                 make cost-saving business decisions to
     OIAI policy may have informed the                        adopts will restrict the source’s actual              turn off controls for several months a
     contours of those agreements, it did not                 emissions and maximum capacity to                     year or use less-effective controls to
     (and, in fact, could not) change the                     emit HAP below the MST and that these                 remain just below the MST. Some
     statutory basis for those enforcement                    limits are or can be made enforceable to              commenters summarized, as an
     actions. These agreements reflect a                      ensure that the source will not emit or               example, the information collected by
     mutual understanding of the parties that                 have the potential to emit HAP at or                  the EPA to justify the monitoring
     settlement is in the interest of all                     above the MST.                                        requirements for flares in the NESHAP


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     for Petroleum Refineries and described                   was subject per the notification                      must provide in the notification of a
     how, without rigorous monitoring, flare                  requirements of 40 CFR 63.9(j).                       ‘‘change in information already
     efficiency could be highly variable and                     Most of the commenters supported                   provided’’ required under 40 CFR
     substantially lower than 98 percent. The                 the proposed amendments to the                        63.9(j). Finally, the EPA is clarifying
     commenters also argued that the EPA                      notification provisions in 40 CFR                     that the notification requirement of 40
     cannot assume that other control                         63.9(b) and (j), but a few disagreed that             CFR 63.9(j) is an existing requirement.
     devices, such as fabric filter baghouses                 the established General Provisions                    Thus, the EPA requires any source that
     and electrostatic precipitators, would be                require notification when going from                  reclassified after January 2018 (issuance
     as effective once the major source                       being subject to not being subject. Other             of the 2018 MM2A Memorandum) and
     NESHAP operating limits or monitoring                    commenters requested that the EPA                     before the effective date of this final rule
     requirements no longer apply. The                        reduce the number of duplicative                      that has not yet provided the
     commenters argued that the EPA must                      notifications and simplify the regulatory             notification of a change in information
     require the facility to periodically                     authorities that must review 40 CFR                   per 40 CFR 63.9(j) to provide such
     perform source tests to verify that the                  63.9(j). Other commenters requested                   notification within 15 calendar days
     restriction actually correlates with                     clarification between notification                    after the effective date of this final rule.
     emissions that are below the MST. The                    provisions within individual NESHAP                      For the notification requirements in
     commenters further argued that without                   that allow for 120 days for notification              40 CFR 63.9(b) and (j), the EPA also
     requirements ensuring proper operation,                  versus the 15-day notification in the                 proposed to require sources that
     maintenance, and monitoring of add-on                    General Provisions in 40 CFR 63.9(b)                  reclassify to submit the notification
     controls, sources will stop consistently                 and (j). These commenters asked the                   electronically through CEDRI. The EPA
     operating the control devices that limit                 EPA to clarify the differences between                proposed amending the General
     the release of HAP and allow the                         these requirements, harmonize the                     Provisions to add 40 CFR 63.9(k) to
     sources to reclassify to area source                     reporting requirements, and minimize                  include the CEDRI submission
     status.                                                  duplicative requirements. The EPA                     procedures. Several commenters
                                                              disagrees that the General Provisions do              support using CEDRI for notification of
        The EPA sees these comments as
                                                              not require a notification when a source              status changes. Some commenters
     pertaining to the proposed effectiveness
                                                              is no longer subject to a standard. The               requested the EPA to clarify that the
     criteria of PTE limits. In particular, the
                                                              provisions of 40 CFR 63.9(j) are                      new requirements in 40 CFR 63.9(k)
     EPA may consider provisions
                                                              applicable to a change in information                 only apply when a facility is
     concerning the operation and
                                                              already provided. The change in a                     reclassifying from a major source to an
     monitoring of add-on controls in the
                                                              source’s status from major to area (or                area source or from an area source to a
     context of the criteria for ensuring that
                                                              vice versa) is a change in the                        major source, so regulatory authorities
     a PTE limit used to reclassify from
                                                              information provided that determined                  could not conclude that all notifications
     major source to area source status is                    the initial status of the source as subject           or reports should be done using CEDRI.
     practicably enforceable. As discussed                    to the major or area source standards.                Some commenters strongly supported
     later in section VII of the preamble, the                This is different from the initial                    the Agency providing this information
     EPA is not taking action on the                          notification required by 40 CFR 63.9(b),              to the public. While the EPA agrees that
     proposed amendments to 40 CFR 63.2 at                    as that provides the relevant                         the provisions of 40 CFR 63.9(k) only
     this time and is continuing to consider                  information to the Administrator of the               apply when specifically directed there
     the comments received on this aspect of                  newly governed provisions and is                      from another provision, as stated in 40
     the MM2A proposal. The EPA intends                       required to be submitted, per 40 CFR                  CFR 63.9(k), ‘‘[i]f you are required to
     to take final action on this aspect of the               63.9(b)(2), no later than 120 days after              submit notifications or reports following
     MM2A proposal in a separate final                        the source becomes subject. The                       the procedures specified in this
     action at a later date.                                  notification of a change in information               paragraph (k),’’ (emphasis added), we
     2. 40 CFR 63.9        Notification                       already required within 15 days is a                  do not believe that further clarification
     Requirements                                             result of the previously applicable                   within the regulatory language is
                                                              standard. There are cases for which                   necessary. We are finalizing this
        In the MM2A proposal, the EPA                         there is no applicable area source                    provision as proposed requiring sources
     included language in the reclassification                standard; the notification required by 40             that reclassify to submit the notification
     provision in 40 CFR 63.1(c)(6)                           CFR 63.9(j) is the only notification that             electronically through CEDRI.
     specifying that sources reclassifying                    would be submitted in those cases.                    Additionally, the EPA has clarified that
     must comply with the notification                        These requirements in two provisions                  sources that reclassify between January
     requirements of 40 CFR 63.9(b) and (j).                  do not require harmonizing, as they are               25, 2018, and the effective date of this
     The EPA also proposed to clarify the                     due to different NESHAP subparts being                final rule also must submit the
     notification requirements for sources                    applicable and are not duplicative.                   notification through CEDRI. The EPA
     reclassifying by amending 40 CFR                            The EPA is finalizing the                          acknowledges the support for the public
     63.9(b) so that an owner or operator of                  reclassification provision in 40 CFR                  availability of the notifications and
     a facility must notify the Administrator                 63.1(c)(6) notification requirements as               notes that the submitted notifications,
     of any standards to which it becomes                     proposed for both major sources that                  along with any other notifications and
     subject. The proposed amendment                          reclassify to area source status and area             reports submitted through CEDRI,
     covers situations where a source                         sources that revert back to major source              become available to the public through
     reclassifies from major to area source                   status. The EPA is also finalizing the                the WebFIRE database (https://
     status and where a source reclassifies                   proposed amendments to 40 CFR 63.9(b)                 www.epa.gov/electronic-reporting-air-
     from major to area and subsequently                      so that an owner or operator of a facility            emissions/webfire) after time for review
     reverts back to major source status. The                 must notify the Administrator of any                  and approval by the regulatory agencies.
     EPA also proposed to clarify that a                      standards to which it becomes subject.                   Multiple commenters recommended
     source that reclassifies must notify the                 Further, for clarity, the EPA has                     that the EPA should clarify CEDRI
     EPA of any changes in the applicability                  finalized at 40 CFR 63.9(j)(i)–(iv) the               reporting. One commenter indicated
     of the standards to which the source                     data elements that a reclassifying source             that notification is not delegable and


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     needs to adjust the language in 40 CFR                   should occur as soon as possible. The                 Administrator, which is defined in 40
     63.13 that requires submittal of                         EPA provided these potential extensions               CFR 63.2 to be ‘‘the Administrator of the
     information to Regional offices at                       to protect owners or operators from                   United States Environmental Protection
     specific addresses. The commenter                        noncompliance in cases where they                     Agency or his or her authorized
     pointed out that the proposed CEDRI                      cannot successfully submit a                          representative (e.g., a State that has been
     reporting makes this requirement                         notification by the submittal deadline                delegated authority to implement the
     excessive and the regulatory text should                 for reasons outside of their control. The             provisions of this part).’’ The extension
     be fixed to remedy the requirement of                    situation where an extension may be                   provision does not remove the authority
     reporting in triplicate (Regional offices,               warranted due to outages of the EPA’s                 of an air pollution control agency to
     CEDRI, Administrator/state). The                         Central Data Exchange or CEDRI that                   grant an extension for those subparts for
     commenter noted that the last sentence                   preclude an owner or operator from                    which they have been delegated
     of 40 CFR 63.12(c) does not address this                 accessing the system and submitting a                 authority. Further, the EPA disagrees
     issue and should be deleted/altered to                   required notification is addressed in 40              with the commenters that other
     avoid reporting in triplicate. Another                   CFR 63.9(k)(1). The situation where an                situations that are not included in these
     commenter indicated that a separate                      extension may be warranted due to a                   provisions are excluded from obtaining
     notification to state agencies should be                 force majeure event, which is defined as              an extension to their reporting deadline.
     sent directly to the permitting agency.                  an event that will be or has been caused              The extension provisions as proposed
     The commenter requested that the                         by circumstances beyond the control of                and finalized are limited to those
     following paragraph be added to 40 CFR                   the affected facility, its contractors, or            circumstances out of control of the
     63.9(k):                                                 any entity controlled by the affected                 facility and provide clear direction on
       ‘‘If a state or local permitting agency has            facility that prevents an owner or                    the process for requesting an extension.
     received delegation for a Part 63 standard               operator from complying with the                      Facilities may still engage with the
     that requires you to submit notifications or             requirement to submit electronically as               Administrator on any delays in
     reports and that permitting agency requires,             required by this rule, is addressed in 40             submittal not specifically covered under
     by way of statute, rule, policy, guidance,               CFR 63.9(k)(2). Examples of such events               the CEDRI outage or force majeure
     permit, or other mechanism, that such                    are acts of nature, acts of war or                    provisions. After consideration of public
     notifications or reports must be submitted               terrorism, or equipment failure or safety             comments, the EPA is finalizing the
     also to the permitting agency, then such
                                                              hazards beyond the control of the                     extension provisions as proposed.
     notifications and reports must be submitted
     to the permitting agency as well as to                   facility. Finally, the EPA also proposed                 The electronic submittal of the
     CEDRI.’’                                                 to amend 40 CFR 63.12(c) to specify that              notifications addressed in this
                                                              a delegated authority may not exempt                  rulemaking will increase the usefulness
        The EPA agrees with the commenters                    sources from reporting electronically to              of the notification; is in keeping with
     that the language at 40 CFR 63.13 and                    the EPA when stipulated by this part.                 current trends in data availability and
     63.12(c) was not clear that submission                      One commenter recommended that                     transparency; will further assist in the
     to CEDRI, when required by regulation,                   the CEDRI late-notification language in               protection of public health and the
     fulfills the obligation of submittal to the              proposed 40 CFR 63.9(k)(1) and (2)                    environment; will improve compliance
     EPA Regional office. Therefore, the EPA                  should be stricken because air pollution              by facilitating the ability of delegated
     is finalizing at 40 CFR 63.13 a clarifying               control agencies already have                         state, local, tribal, and territorial air
     statement that when required by 40 CFR                   experience in using enforcement                       agencies and the EPA to assess and
     part 63, the submission of a report or                   discretion for addressing late                        determine compliance and the
     notification to CEDRI fulfills the                       notifications and that discretion should              applicability of major and area source
     obligation of reporting to the EPA                       not be codified or limited by regulation.             standards to a facility; and will
     Regional office. The EPA does not agree                  The commenter also argued that the full               ultimately reduce burden on regulated
     that additional language to reflect that                 range of circumstances that could                     facilities, delegated air agencies, and the
     reporting to a delegated agency is                       legitimately cause a late notification                EPA. Electronic submittal also
     required in addition to reporting to                     cannot be covered by the regulation, and              eliminates paper-based, manual
     CEDRI, as that is implicit in 40 CFR                     the discretion to grant an extension                  processes, thereby saving time and
     63.12(c), which requires that all                        should not be solely within the                       resources and providing data quickly
     information required to be submitted to                  discretion of the Administrator. Another              and accurately to the affected facilities,
     the EPA be submitted to the delegated                    commenter did not support the                         air agencies, the EPA, and the public.
     authority. The manner of submission is                   proposed additional requirements                      Moreover, electronic reporting is
     at the discretion of the delegated                       detailing when late notifications are                 consistent with the EPA’s plan 18 to
     authority, but the reports and                           forgiven for a force majeure event or                 implement Executive Order 13563 and
     notifications that are required to be                    federal EPA computer glitch but not in                is in keeping with the EPA’s Agency-
     submitted to the EPA electronically                      other meritorious situations. Another                 wide policy 19 developed in response to
     through CEDRI must be delivered to the                   commenter suggested that time                         the White House’s Digital Government
     EPA through CEDRI. However,                              extensions for electronic reporting                   Strategy.20 For more information on the
     delegated authorities have the discretion                should be allowed for circumstances
     to consider the submission to CEDRI as                   other than CEDRI outage and force                       18 The EPA’s ‘‘Final Plan for Periodic

     meeting the requirement to submit the                    majeure events, which allow for other                 Retrospective Reviews,’’ August 2011. Available at:
     report to them.                                          situation-specific reasons that may                   https://www.regulations.gov/document?D=EPA-HQ-
                                                                                                                    OA-2011-0156-0154.
        In the MM2A proposal, the EPA                         impact the reasonable ability of a                      19 ‘‘E-Reporting Policy Statement for EPA
     identified two broad circumstances in                    facility to achieve timely electronic                 Regulations,’’ September 2013. Available at: https://
     which extensions of the timeframe for                    reporting.                                            www.epa.gov/sites/production/files/2016-03/
     electronic submittal may be provided. In                    The EPA disagrees with the                         documents/epa-ereporting-policy-statement-2013-
     both circumstances, the decision to                      commenter that the reporting extension                09-30.pdf.
                                                                                                                      20 ‘‘Digital Government: Building a 21st Century
     accept the claim of needing additional                   allowance for force majeure and CEDRI                 Platform to Better Serve the American People,’’ May
     time to submit is within the discretion                  outage should be stricken. Granting an                2012. Available at: https://
     of the Administrator, and submittal                      extension is at the discretion of the                                                             Continued




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     benefits of electronic reporting, see the                determinations used to support                        under their analogs, have the authority
     memorandum, ‘‘Electronic Reporting                       identification of applicable                          to request the necessary information;
     Requirements for New Source                              requirements and application of the title             however, the retention of the
     Performance Standards (NSPS) and                         V permit shield, and this is consistent               applicability determination while the
     National Emission Standards for                          with the statute of limitations that                  source continues to be an area source
     Hazardous Air Pollutants (NESHAP)                        generally allows only a 5-year period to              based upon that PTE limit and
     Rules,’’ available in Docket ID No. EPA–                 enforce against alleged violations. The               applicability determination provides a
     HQ–OAR–2019–0282.                                        commenter argued that the EPA has not                 lesser burden to facilities compared to
                                                              explained why area sources should be                  potentially re-creating the applicability
     3. 40 CFR 63.10 Recordkeeping and
                                                              subject to more stringent recordkeeping               determination. For the reasons
     Reporting Requirements
                                                              requirements. These commenters stated                 presented above, the EPA is finalizing
        In the MM2A proposal, the EPA                         that the change in the requirement                    removing the time limit for record
     proposed to amend the recordkeeping                      would impose a burden on the facility                 retention in 40 CFR 63.10(b)(3) and
     requirements for applicability                           without additional environmental                      requiring that the records be maintained
     determinations in 40 CFR 63.10(b)(3) by                  protection, because 5 years is sufficient             for as long as the source continues to be
     adding text to clarify that this                         time considering that sources still need              an area source based on PTE limitations.
     requirement applies to an owner or                       to report annually that they are in                      Other commenters requested
     operator with an existing or new                         compliance. Some commenters also                      clarification as to whether the amended
     stationary source that is in a source                    noted that if the EPA or an air pollution             recordkeeping requirement applies to
     category regulated by a standard                         control agency has reason to doubt any                sources that became area sources prior
     established pursuant to CAA section                      source’s exempt status, they can take                 to the first substantive compliance date
     112 but that is not subject to the                       action under CAA sections 113 and 114                 of a NESHAP standard or that
     relevant standard because of enforceable                 or state/local/tribal ‘‘Open Records’’                reclassified after the 2018 MM2A
     limitations on the source’s PTE.                         analogs to obtain the necessary                       Memorandum. In the preamble of the
     Specifically, the EPA proposed                           information.                                          MM2A proposal, the EPA stated that
     removing the time limit for record                                                                             this amendment was directed to sources
                                                                The EPA disagrees that the extended
     retention in 40 CFR 63.10(b)(3) and                                                                            that obtain new enforceable PTE limits.
                                                              recordkeeping requirement as proposed
     requiring that the records be maintained                                                                       The EPA agrees that the proposed
                                                              applies disproportionately to                         language was unclear as to the
     until the source becomes an affected
                                                              reclassifying area sources or has any                 applicability of the recordkeeping
     major source subject to major source
                                                              temporal consideration. The                           provisions on sources with applicability
     requirements under 40 CFR part 63.
                                                              requirement to retain the applicability               determinations preceding the date of
        Many commenters supported the
                                                              determination applies to all area sources             proposal. We have amended the
     proposed amendment to remove the
                                                              that require an enforceable limitation on             regulatory text in 40 CFR 63.10(b)(3)
     time limit for record retention such that
                                                              the source’s potential to emit to not be              clarifying that the owner or operator
     sources that obtain new enforceable PTE
                                                              subject to a relevant standard or other               must keep a record of the applicability
     limits are required to keep the required
                                                              requirement established pursuant to                   determination on site at the source for
     record of the applicability
                                                              CAA section 112. The requirement for                  a period of 5 years or until the source
     determinations for as long as the source
                                                              an applicability determination is only                changes its operation to become an
     continues to be an area source based on
                                                              relevant to these sources; the                        affected source subject to the relevant
     PTE limitations. While many
                                                              applicability determination itself, rather            standard or other requirement
     commenters agreed with the removal of
                                                              than the recordkeeping requirement, is                established under this part, whichever
     time limit in 40 CFR 63.10(b)(3), some
                                                              the determining factor. The extension of              comes first if the determination is made
     commenters argued that major sources
                                                              the recordkeeping requirement is in the               prior to January 19, 2021. For a
     that reclassify to area sources should not
                                                              best interest of the source relying on an             determination made on or after January
     be subject to additional recordkeeping
                                                              applicability determination to avoid                  19, 2021, the owner or operator must
     requirements that do not apply to other
                                                              CAA section 112 major source                          keep a record of the applicability
     area sources. These commenters argued
                                                              requirements, as many sources will rely               determination until the source changes
     that the EPA should not revise the 5-
                                                              on such determination for an extended                 its operations to become an affected
     year record requirement for the
                                                              period of time that can last beyond the               source subject to the relevant standard
     applicability determinations because the
                                                              5 years. The EPA disagrees with the                   or other requirement established under
     EPA has not provided a proper
                                                              commenters that the revised record                    this part. The EPA does, however,
     justification for adding this requirement
                                                              retention requirements are unnecessary                strongly recommend that all facilities
     for ‘‘reclassified’’ area sources. The
                                                              due to annual reporting requirements.                 retain their applicability determination
     commenter noted that the EPA has not
                                                              While many sources may have annual or                 for the time that the source continues to
     described any issue with respect to
                                                              semiannual reporting requirements after               be an area source based upon that PTE
     compliance of PTE limits and emission-
                                                              reclassifying into an area source rule,               limit and such applicability
     standard applicability that arose from
                                                              there are some major source NESHAP                    determination.
     the existing 5-year recordkeeping
                                                              that do not have a corresponding area                    In addition to the removal of the time
     requirement, nor has the EPA explained
                                                              source standard. For these sources, the               limit for record retention, the proposal
     why area source recordkeeping
                                                              retention of the applicability                        amended the text that describes the
     requirements should differ based on
                                                              determination enables the source to                   record of the applicability
     temporal considerations. The
                                                              easily demonstrate that the major source              determination. In particular, the
     commenters noted that title V major
                                                              standard does not apply without the                   proposal clarified that the record must
     sources are subject to a 5-year records
                                                              potential additional burden of re-                    include an ‘‘emissions’’ analysis (or
     requirement for all applicability
                                                              creating the applicability determination.             other information) that demonstrates the
     obamawhitehouse.archives.gov/sites/default/files/
                                                              The EPA agrees with the commenter                     owner or operator’s conclusion that the
     omb/egov/digital-government/digital-                     that the EPA under CAA sections 113 or                source is not subject to major source
     government.html.                                         114, and air pollution control agencies               requirements. The analysis (or other


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     information) must be sufficiently                        parties with questions about the EPA’s                at 63.100(b)(4); subpart I at 63.190(b)(7);
     detailed to allow the Administrator to                   views on these issues.                                subpart HH at 63.760(a)(1); and subpart
     make an ‘‘applicability’’ finding for the                   The EPA also proposed to amend the                 HHH at 63.1270. The EPA reviewed the
     source with regard to the relevant                       recordkeeping requirements for records                provisions raised by commenters in
     standard or other requirements.                          submitted through CEDRI by adding 40                  these subparts and is including in this
        With regard to the analysis for                       CFR 63.10(g) to clarify that the records              final rule revisions to the provisions in
     applicability determinations, some                       submitted through CEDRI may be                        subpart HH at 63.760(a)(1) and subpart
     commenters expressed concern with the                    maintained in electronic format. As                   HHH at 63.1270(a). The EPA is not
     language that the applicability                          proposed, this provision does not                     making changes with respect to the
     determinations ‘‘should be performed in                  remove the requirement for facilities to              identified provisions in subparts F and
     accordance with EPA guidance                             make records, data, and reports                       I at 63.100(b)(4) and 63.190(b)(7). The
     materials.’’ The commenters stated that                  available upon request by a delegated                 EPA sees these provisions as expired
     the language is vague and could create                   air agency or the EPA. We are not                     exclusion provisions, not OIAI
     binding requirements that are not                        finalizing the proposed addition of 40                provisions, that do not prevent a source
     legislative rules and have not gone                      CFR 63.10(g) because the provision is                 from reclassifying to area source status.
     through required notice-and-comment                      redundant with 40 CFR 63.10(b)(1),                       At proposal, we also identified several
     rulemaking. The commenter suggested                      which allows for storage of records on                area source NESHAP containing
     that the EPA should indicate that this is                computer.                                             notification provisions (i.e., initial
     a recommendation rather than a                                                                                 notification) applicable to existing
                                                              B. Amendments to Individual NESHAP
     requirement by stating: ‘‘EPA
                                                              General Provisions Applicability Tables               sources for which the dates have passed.
     recommends that the analysis be
                                                                The EPA proposed to amend the                       We proposed to amend the following
     performed in accordance with EPA
                                                              General Provisions applicability tables               area source NESHAP that contain
     guidance materials . . . .’’ The EPA
                                                              contained within most subparts of 40                  notification requirements for existing
     disagrees that further clarification is
                                                              CFR part 63 to add a reference to a new               sources with specific deadlines that are
     necessary regarding the use of guidance
                                                              reclassification provision contained in               in the past: 40 CFR part 63, subpart
     documents in this context, as the use of
                                                              40 CFR 63.1(c)(6) discussed in the                    HHHHHH at 63.11175; 40 CFR part 63,
     EPA guidance materials was an element
                                                              section V.A of this preamble and add a                subpart XXXXXX at 63.11519; 40 CFR
     of the existing provisions of 40 CFR
                                                              reference to reflect the proposed CEDRI               part 63, subpart YYYYYY at 63.11529;
     63.10(b)(3). However, to avoid creating
     the impression of additional                             submission procedures of 40 CFR                       40 CFR part 63, subpart AAAAAAA at
     requirements being imposed due to the                    63.9(k) discussed above in section V.A                63.11564; 40 CFR part 63, subpart
     proposed edits to the language, the EPA                  of this preamble. We are finalizing the               BBBBBBB at 63.11585; 40 CFR part 63,
     is retaining the sentence of 40 CFR                      amendments to the General Provisions                  subpart CCCCCCC at 63.11603.
     63.10(b)(3), which states: ‘‘If relevant,                applicability tables as proposed.                     Consistent with other area source
     the analysis should be performed in                      Additionally, the EPA identified four                 NESHAP notification requirements, we
     accordance with EPA guidance                             subparts containing the General                       proposed that, for an existing source
     materials published to assist sources in                 Provision applicability requirements                  that reclassifies from major to area
     making applicability determinations                      which did not properly reference the                  source status, the notification shall be
     under CAA section 112, if any,’’ as                      notification provisions. These subparts               submitted no later than 120 calendar
     currently exists in the existing provision               are 40 CFR part 63 subparts G, H, II, and             days after the source becomes subject to
     without finalizing the changes proposed                  YY. Accordingly, we are also finalizing               the relevant area source NESHAP
     to it.                                                   revisions to these applicability                      requirements. Regarding whether there
        The commenters also suggested that                    requirements of 40 CFR part 63 subparts               are any other individual subparts that
     the EPA clarify the applicability                        G, H, II, and YY to account for the final             would warrant modification because
     determination analysis for specific                      amendments to the General Provisions                  initial notification requirements are in
     situations, and others advised that                      as described above in section V.A.                    the past, commenters pointed at the
     additional guidance could be                                                                                   initial notification requirements in
                                                              C. Amendments to Individual NESHAP                    many of the major source NESHAP
     incorporated into the regulation or the
     preamble to the final rule to recognize                     At proposal, the EPA identified one                subparts. They stated that if an area
     that sources often need to use best                      general category of regulatory provisions             source were to revert back to major
     engineering judgment to estimate                         in several NESHAP subparts that reflect               source status, these initial notification
     emissions from minor sources when                        the 1995 OIAI policy that requires                    requirements would have been in the
     assessing the PTE of a whole facility.                   revision pursuant to this action. This                past. The EPA reviewed the initial
     The commenters then recommended                          category of provisions addresses the                  notification provisions of all NESHAP
     that the EPA indicate that the level of                  date by which a major source can                      subparts and is including in this final
     detail and precision for potential to emit               become an area source. We proposed to                 rule amendments to the initial
     calculations can be lower for operations                 revise the following provisions: 40 CFR               notification requirements within most
     that contribute a relatively small                       part 63, subpart QQQ at 63.1441; 40                   NESHAP subparts to include additional
     amount to total facility HAP emissions.                  CFR part 63, subpart QQQQQ at                         language so that the notification shall be
     The wording in the proposed                              63.9485; 40 CFR part 63, subpart RRRRR                submitted no later than 120 calendar
     amendments are intended to clarify and                   at 63.9581; and Table 2 of 40 CFR part                days after the source becomes subject to
     to promote better understanding of the                   63, subpart WWWW. We solicited                        the relevant NESHAP requirements. The
     current recordkeeping requirements.                      comment on whether there are any other                EPA is amending the initial notification
     The EPA did not propose a new view on                    regulatory provisions in any of the                   requirements in the following subparts:
     how to estimate PTE and, relatedly, on                   individual subparts that include OIAI                 40 CFR part 63, subpart G at
     how to do major source applicability                     provisions that should be revised                     63.151(b)(2) (i), (ii) and (ii); subpart H at
     determinations. In section VII of this                   pursuant to this action. The EPA                      63.182(b)(2)(i), (ii), and (iii); subpart L at
     preamble, we include references to our                   received comments regarding multiple                  63.311(a); subpart M at 63.324(g);
     PTE guidance that may be of help to                      provisions in 40 CFR part 63, subpart F               subpart N at 63.347(c)(1); subpart Q at


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     63.405(a)(1) and (2); subpart S at                       Federal Minor New Source Review                       the EPA will apply the policy that the
     63.455(a); subpart T at 63.468(a), (b), (c),             Program in Indian Country, which                      Agency has been following since 1995,
     and (d); subpart Y at 63.567(b)(2) and                   included application content                          which allows for any physical or
     (3); subpart DD at 63.697(a)(1); subpart                 requirements in those rules as well as                operational limitation on the capacity of
     EE Table 1; subpart HH at 63.77(c)(1);                   the proposed hierarchy of acceptable                  the stationary source to emit a pollutant
     subpart JJ Table 1; subpart KK at                        data and methods a source seeking                     (such as air pollution control equipment
     63.830(b)(1)(i), subpart CCC at                          reclassification would use to calculate               and restrictions on hours of operation or
     63.1163(a)(3); subpart PPP at 63.1434(d)                 and determine the source PTE. We                      on the type or amount of material
     and (e), and at 63.1439(e)(3)(ii)(B) and                 received many comments regarding PTE                  combusted, stored, or processed), to be
     (C); subpart QQQ at 63.1454(b); subpart                  determinations, including suggestions                 treated as part of its design if the
     UUU at 63.1574(b); subpart VVV at                        for clarification on how to do these                  limitation or the effect it would have on
     63.1591(a)(1) and (2); subpart DDDD at                   calculations, which are already                       emissions is federally enforceable or
     63.2280(b); subpart EEEE at                              addressed in guidance. See section VII                legally enforceable by a state or local
     63.2382(b)(1) and (2); subpart FFFF at                   of this preamble for additional                       permitting authority and practicably
     63.2515(b); subpart GGGG at 63.2860(a);                  information regarding implementation                  enforceable.
     subpart IIII at 63.3110(b); subpart JJJJ at              of PTE limits and the EPA guidance                    B. Reclassification Process and
     63.3400(b)(1); subpart KKKK at                           addressing related topics. Importantly,               Permitting
     63.3510(b); subpart MMMM at                              at this time, the EPA is not taking final
     63.3910(b); subpart NNNN at                              action on whether to include in the                      The proposal addressed questions
     63.4110(a)(1); subpart OOOO at                           General Provisions a hierarchy of data                from sources and permitting authorities
     63.4310(b); subpart PPPP at 63.4510(b);                  and methods for calculating PTE. The                  regarding permit process, mechanisms,
     subpart QQQQ at 63.4710(b); subpart                      EPA will continue to evaluate whether                 and the requirements for reclassifying to
     RRRR at 63.4910(b); subpart SSSS at                      there is a need to issue guidance or                  area source status for 40 CFR part 70
     63.5180(b)(1); subpart TTTT at                           rulemaking for such hierarchy and                     sources. These questions were brought
     63.5415(b); subpart UUUU, Table 7;                       methods in the future.                                to our attention per our request in the
     subpart XXXX at 63.6009(b); subpart                                                                            MM2A Memorandum about specific
                                                                 In the MM2A proposal, the EPA                      situations that may need to be
     YYYY at 63.6145(b); subpart ZZZZ at                      requested comments on whether it
     63.6645(b) and (d), subpart AAAAA at                                                                           considered at proposal. The purpose of
                                                              would be appropriate to include in the                the discussion was to inform
     63.7130(b) and (c); subpart BBBBB at                     General Provisions of 40 CFR part 63 the
     63.7189(b); subpart CCCCC at 63.7340;                                                                          stakeholders about our expectations on
                                                              minimum requirements for the                          how the reclassification process will
     subpart DDDDD at 63.7545(b) and (c),                     information that a major source of HAP
     subpart EEEEE at 63.7750(b); subpart                                                                           work in those specific circumstances.
                                                              must submit to its regulatory authority               The EPA did not propose changes to any
     FFFFF at 63.7840(b); subpart GGGGG at                    when seeking to obtain PTE limitations
     63.7950(b) and (c); subpart HHHHH at                                                                           of the rules for the permitting programs
                                                              to reclassify as area sources under                   or to their interpretation. Below, we
     63.8070(b)(1); subpart IIIII at 63.8252(b);              section 112 of the CAA, similar to the                clarify the related proposal preamble
     subpart JJJJJ, Table 8; subpart KKKKK,                   information included in a synthetic                   discussion, since it may have
     Table 9; subpart LLLLL at 63.8692(b),                    minor source permit application under                 introduced ambiguity about our
     subpart MMMMM at 63.8816(b); subpart                     Tribal Minor New Source Review. Most                  interpretation of the regulations.
     NNNNN at 63.9045(b), subpart PPPPP at                    of the industry and state commenters                     Stakeholders asked the EPA to clarify
     63.9345(b)(1); subpart QQQQQ at                          asserted that regulatory authorities                  whether a reclassified source continues
     63.9535(c); subpart RRRRR at                             should retain authority to determine                  to have an obligation to comply with the
     63.9640(b); subpart SSSSS at 63.9812(b);                 what a major source must submit to                    major source requirements in their title
     subpart TTTTT at 63.9930(b); subpart                     reclassify. They argued that these                    V permit that were included solely to
     BBBBBB at 63.11086(e) and Table 3;                       requirements already exist in federal,                comply with the OIAI policy. These
     subpart CCCCCC at 63.11124(a)(1),                        state, and local rules, and asking state              scenarios consisted of sources that no
     (b)(1), and Table 3; subpart HHHHHH at                   and local governments to add new                      longer have the maximum capacity to
     63.11175(a); subpart PPPPPP at                           regulatory requirements onto programs                 emit HAP in amounts that exceed major
     63.11425(b) and (c); subpart QQQQQQ                      that already provide for the creation and             source thresholds because of physical or
     at 63.11432(b) and (c); subpart RRRRRR                   enforcement of synthetic minor limits                 operational limitations but whose title V
     at 63.11441(a); subpart TTTTTT at                        would be an unnecessarily burdensome                  permit still includes major source
     63.11469(a); subpart WWWWWW at                           administrative resource drain. The EPA                NESHAP requirements. (Often, the
     63.11509(a)(3); subpart XXXXXX at                        agrees with commenters that the                       operational limitations are enforceable
     63.11519(a)(1); subpart YYYYYY at                        addition of minimum requirements for                  limitations the source has taken to avoid
     63.11529 (a); subpart AAAAAAA at                         the information that a major source of                major source requirements in the future,
     63.11564(a)(2); subpart BBBBBBB at                       HAP must submit to its regulatory                     in agreement with the OIAI policy.) The
     63.11585(b)(1); and subpart CCCCCCC at                   authority when seeking to obtain PTE                  proposal’s preamble acknowledged that
     63.11603(a)(1).                                          limitations to reclassify as area sources             in that case the source is an area source
     VI. Other Considerations                                 under section 112 of the CAA ignores                  under the CAA section 112 definition,
                                                              that permitting authorities already have              but it still must comply with its title V
     A. PTE Determination                                     permit application requirements under                 permit terms and conditions until the
       In the MM2A proposal, the EPA                          their programs. Also, the EPA has                     permit is revised or revoked in
     included a background discussion                         reconsidered that permit application                  agreement with the title V permitting
     associated with the HAP PTE                              requirements for PTE programs would                   authority that issued the permit. The
     determination. The discussion was                        be more appropriate under 40 CFR part                 proposal’s preamble advised that
     intended to provide context for                          63, subpart E and is not including such               sources must follow the permitting
     evaluating whether the EPA should                        requirements in the final rule. See                   authority’s procedures for permit
     include in the General Provisions to 40                  section VII of this preamble. This                    modification or closure. We continue to
     CFR part 63 certain elements of the                      position does not, however, alter how                 stand by our view that the permitting


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     authority will be in the best position to                of the no-longer-applicable                           disagrees that this action imposes
     help a source decide on the appropriate                  requirements are not significant.                     substantial compliance costs to state
     procedures under the specific program                    Importantly, the EPA did not propose                  and local governments. As the EPA
     rules to reconcile permitting obligations.               changes to, and this final rule does not              explained in section IV of this preamble,
        The preamble illustrated, with                        make any changes to, the 40 CFR part                  the OIAI policy imposed a time
     examples, how situations may differ and                  70 or 71 rules and is not prejudging any              constraint on the ability of a source to
     that we expect those differences to                      future proposed process for modifying                 change its status for purposes of
     require different procedures. The                        any 40 CFR part 71 permits.                           applicability with CAA section 112
     proposal concluded that in a                                The EPA received multiple comments                 standards that is not found in the
     hypothetical situation when the major                    regarding the public notice and                       statute. This action simply implements
     source NESHAP permit terms are relied                    comment procedures associated with                    the plain language reading of the
     upon to demonstrate compliance with                      reclassification. As discussed below in               statutory definitions of major source and
     some other applicable requirement (e.g.,                 section VII, the EPA is not taking action             area source which contain no language
     in the case of streamlining the permit                   on the proposed effectiveness criteria                fixing a source’s status at any particular
     conditions), concurrently with their                     for PTE limits at this time and is                    point in time and contain no language
     removal, the permitting authority may                    continuing to consider the comments                   suggesting a cutoff date after which the
     need to reevaluate the MRR for                           received on this aspect of the MM2A                   source’s status cannot change. This rule
     applicable requirements remaining in                     proposal. The EPA intends to take final               explains what sources must do if and
                                                              action on this aspect of the MM2A                     when they elect to reclassify and does
     the permit and that the regulations in 40
                                                              proposal in a separate final action at a              not change the standards established
     CFR part 71 would require a significant
                                                              later date. Notwithstanding this, on the              under CAA section 112 nor it changes
     modification to add these requirements
                                                              issue of public notice and comment                    the permitting authority programs that
     to a title V permit. With regard to this
                                                              procedures currently in use for                       are used for processing reclassifications.
     advice, commenters argued that the EPA
                                                              reclassifications, the EPA reiterates that,
     misspoke in the proposal as to the                                                                             VII. Interim Ministerial Revision of 40
                                                              consistent with our long-standing
     appropriate process for 40 CFR part 71                                                                         CFR Part 63 PTE Definition
                                                              policy, regulatory agencies implement
     sources. The commenters argued that
                                                              public notice and comment procedures                    The definition of PTE in 40 CFR 63.2
     revising the 40 CFR part 71 permit to
                                                              for state, local, and tribal programs as              interprets the statutory term ‘‘potential
     reflect a change in applicable                           required under their regulations and                  to emit’’ found in the definition of a
     requirements may not always require a                    statutes. The authority under which the               major source in section 112 of the CAA
     significant modification to a title V                    PTE limits are issued contain issuance                and provides a legal mechanism for
     permit, and the EPA provided no                          procedures, including any procedures                  sources that wish to restrain their
     explanation in the proposal for this                     for public notice and comment.                        emissions to avoid triggering major
     cursory conclusion relative to 40 CFR                    Importantly, regulatory authorities use               source requirements. Under the PTE
     part 71. The EPA first clarifies that the                different issuing mechanisms depending                definition in 40 CFR 63.2 promulgated
     explanation in the proposal about the                    on the complexity of the PTE limits                   in 1994, any physical or operational
     procedures that apply to the changes in                  required for the situation and the                    limitation on the capacity of the
     the scenarios presented reflect the EPA’s                pollutants addressed. Typically, states               stationary source to emit a pollutant,
     current view regarding the 40 CFR part                   issue enforceable PTE limits for                      including air pollution control
     71 permitting authority for a general                    individual sources in a SIP construction              equipment and restrictions on hours of
     case and does not imply that a                           permit or a synthetic minor type of                   operation or on the type or amount of
     particular situation may not merit a                     operating permit (e.g., operating permits             material combusted, stored, or
     different treatment based on the facts                   other than title V permit). States can                processed, shall be treated as part of its
     and the 40 CFR part 71 regulations. The                  also utilize less burdensome                          design if the limitation or the effect it
     basis for the EPA conclusion in the                      mechanisms for limiting PTE, such as                  would have on emissions is federally
     preamble is that removing non-                           general permits for source categories,                enforceable.21 In National Mining
     applicable NESHAP requirements                           permits by rule, or registration                      Association (NMA) v. EPA, 59 F.3d 1351
     would almost always involve significant                  programs, as appropriate. Regardless of               (D.C. Cir. 1995), the D.C. Cir. remanded
     changes to monitoring, recordkeeping,                    the mechanism used to issue an                        the definition of ‘‘potential to emit’’
     and/or reporting, and, thus, the                         enforceable PTE limit, the regulatory                 found in 40 CFR 63.2 to the EPA to
     modification would not qualify as a                      agency must follow the applicable                     justify the requirement that physical or
     minor modification under 40 CFR                          procedures for that mechanism,                        operational limits be ‘‘federally
     71.7(e)(1)(i)(2). This is especially true if             including providing for public notice                 enforceable.’’ The NMA decision
     revised monitoring requirements must                     and comment when required.                            confirmed that the EPA has an
     be added to substitute for removed                          Some commenters on the proposal                    obligation to ensure that limits
     NESHAP monitoring requirements.                          asserted that the EPA had failed to                   considered in determining a source’s
     However, we recognize that the                           analyze federalism implications of the                PTE are effective, but it stated that the
     procedures will generally depend on the                  proposal. According to the commenters,                Agency had not adequately explained
     program regulations and the facts of the                 states also rely on title V permitting fees
                                                                                                                    how ‘‘federal enforceability’’ furthered
     situation. While the commenter does                      to support permitting, monitoring, and
                                                                                                                    effectiveness. 59 F.3d at 1363–1365.
     not provide a compelling argument to                     enforcement of title V sources, and the                  In the MM2A proposal, the EPA
     change our view on the permit                            EPA had not considered how states will                proposed specific criteria that PTE
     modification procedures that would                       do so with the loss of title V funds since            limits must meet for these limits to be
     most likely apply for removing no-                       area sources are frequently exempted                  effective. The EPA also proposed to
     longer-applicable requirements from a                    from title V. The commenters stated that              amend the definition of ‘‘potential to
     40 CFR part 71 permit, a source is free                  the EPA had a duty to consult with state
     to show that in its situation the changes                and local governments for proposed                      21 See 40 CFR 63.2 definition of ‘‘federally
     to existing monitoring, reporting, or                    rules with federalism implications and                enforceable’’ available at https://ecfr.io/Title-40/
     recordkeeping, etc., due to the removal                  substantial compliance costs. The EPA                 se40.11.63_12.



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     emit’’ in 40 CFR 63.2 accordingly by                     this revision does not represent a final                  VIII. Summary of Cost, Environmental,
     removing the requirement for federally                   decision by the EPA or signal any                         and Economic Impacts
     enforceable PTE limits and requiring                     direction that the EPA is intending to                       In this section, the EPA summarizes
     instead that HAP PTE limits meet the                     take in a future final action. It simply                  the findings of several analyses that we
     effectiveness criteria of being both                     makes a ministerial change to the                         conducted to assess the cost,
     legally enforceable and practicably                      regulatory text that appears in the CFR                   environmental, and economic impacts
     enforceable. The EPA also proposed to                    to reflect the NMA decision.                              of the final rule. It is important to restate
     amend 40 CFR 63.2 to include the                            Further, this interim ministerial                      that the final rule does not require any
     definitions of ‘‘legally enforceable’’ and               revision does not alter any rights or                     source to reclassify to area source status.
     ‘‘practicably enforceable’’ described in                 legal consequences and simply                             Each source must assess its own
     the MM2A proposal. The EPA then took                     preserves the status quo that has been in                 circumstances to determine whether it
     comment on the effectiveness criteria                    effect since the late 1990s. This revision                is feasible and advantageous to undergo
     and the proposed amendments to 40                        will not change how the EPA will apply                    the reclassification process. The unique
     CFR 63.2.                                                the transitional policy that the Agency                   nature of each source’s decision process
        The EPA received significant                          has been following since 1995. By                         makes it difficult for the EPA to
     comments from many stakeholders on                       removing the word ‘‘federally,’’ the EPA                  determine the number and type of
     the proposed effectiveness criteria and                  hopes to avoid any ongoing confusion                      sources that may choose to reclassify
     proposed amendments to 40 CFR 63.2.                      about how the transitional policy is                      under this rule. Because of this, the EPA
     One of the main concerns raised by                       applied. This transitional policy allows                  can only present illustrative analyses
     stakeholders in their comments is the                    for any physical or operational                           concerning the impacts of this final rule.
     interactions and effects of the proposed                 limitation on the capacity of the                            For the final rule analyses, based on
     amendments with other CAA programs,                      stationary source to emit a pollutant                     comments received on the data used for
     including prevention of significant                      (such as air pollution control equipment                  the overall analyses for the MM2A
     deterioration (PSD), NSR, SIP, and title                 and restrictions on hours of operation or                 proposal, the EPA updated the MM2A
     V, and the impacts of the proposed                       on the type or amount of material                         database, removed double counting of
     amendments to existing state, local, and                 combusted, stored, or processed) to be                    facilities, and expanded the number of
     tribal agency rules. The EPA is not                      treated as part of its design if the                      source categories evaluated for cost,
     taking action on the proposed                            limitation or the effect it would have on                 environmental, and economic impacts.
     amendments to 40 CFR 63.2 at this time                   emissions is federally enforceable or                     The updated MM2A database contains
     and is continuing to consider the                        legally enforceable by a state or local                   data from the 2017 National Emissions
     comments received on this aspect of the                  permitting authority and practicably                      Inventory (NEI), data collected to
     MM2A proposal. The EPA intends to                        enforceable.                                              conduct residual risk and technology
     take final action on this aspect of the                     For implementing reclassifications in                  reviews (RTR) under sections 112(d)(6)
     MM2A proposal in a separate final                        the interim, state programs may use PTE                   and 112(f) of the CAA (henceforth
     action at a later date.                                  guidance they have developed for their                    referred to as RTR modeling file data),
        In the meantime, the EPA is making                    programs and/or may also continue to                      and data from the EPA’s Enforcement
     an interim ministerial revision to the                   rely on the EPA PTE guidance. As noted                    and Compliance History On-line
     definition of ‘‘potential to emit’’ in 40                in the proposal preamble, there is a                      (ECHO) database. The EPA used the
     CFR 63.2. Specifically, the Agency is                    substantial body of EPA guidance and                      RTR modeling file data and NEI data to
     removing the word ‘‘federally’’ from the                 administrative decisions relating to PTE                  estimate the number of facilities in each
     phrase ‘‘federally enforceable’’ in the                  and PTE limits.23                                         of 74 source categories and the number
     definition of ‘‘potential to emit.’’ A few                                                                         of sources within those facilities that
     points need to be made to explain what                   and presented no additional legal analysis. In
                                                                                                                        could be eligible to reclassify from
     this interim ministerial revision is and                 Chemical Manufacturers Assoc, v. EPA, 70 F.3d 637
                                                              (D.C. Cir. 1995), the D.C. Cir. reviewed a ‘‘federally    major to area source status. We used the
     what it is not. First, this revision is not              enforceable’’ limitation in the PTE definition in the     ECHO data to estimate the number of
     the EPA’s final decision and should not                  PSD and NSR regulations and both vacated and              facilities in 27 additional source
     be read to suggest that the EPA is                       remanded the federal enforceability requirement in        categories for which we did not have
     leaning towards or away from any                         those provisions with a three sentence decision that
                                                              provided no additional analysis and simply                RTR modeling file data, and we then
     particular final action on this aspect of                referenced the NMA decision: ‘‘Petitioners                used an extrapolation methodology to
     the proposal. This revision is simply an                 challenge regulations of the Environmental                approximate the number of facilities
     interim revision to cover the period of                  Protection Agency that define the term ‘‘potential        within these 27 source categories that
     time while the EPA continues to                          to emit’’ to exclude controls and limitations on a
                                                              source’s maximum emissions capacity unless those          could be eligible to reclassify from
     consider the comments on this aspect of                  controls are federally enforceable. We recently           major to area source status.24
     the proposal and until the Agency takes                  decided a similar challenge in National Mining
     final action with respect to the proposed                Association v. EPA, 313 U.S. App. D.C. 363, 59 F.3d       of the Clean Air Act’’ (January 25, 1995); Kathie
     amendments concerning the proposed                       1351 (D.C. Cir. 1995). Accordingly, it is ordered and     Stein, ‘‘Guidance on Enforceability Requirements
                                                              adjudged that the regulations are vacated and the         for Limiting Potential to Emit through SIP and § 112
     effectiveness criteria and proposed                      case is remanded to the Environmental Protection          Rules and General Permits’’ (January 25, 1995);
     amendments to 40 CFR 63.2. Second,                       Agency for reconsideration in light of National           John Seitz and Robert Van Heuvelen, ‘‘Release of
     this revision is ministerial because it                  Mining Association.’’ In Clean Air Implementation         Interim Policy on Federal Enforceability of
     merely reflects the NMA decision,                        Project v. EPA, No 96–1224 1996 WL 393118 (D.C.           Limitations on Potential to Emit’’ (January 22,
                                                              Cir., Jun. 28, 1996) (CAIP), the D.C. Cir. also vacated   1996); ‘‘In the Matter of Orange Recycling and
     which held that the EPA had not                          and remanded the federal enforceability                   Ethanol Production Facility, Pencor-Masada
     explained why a PTE limit had to be                      requirement in the title V (40 CFR part 70)               Oxynol, LLC,’’ Order on Petition No. II–2001–05
     ‘‘federally enforceable’’ to be considered               regulations.                                              (April 8, 2002) at 4–7.
     as the basis for reclassifying a major                      23 There is a substantial body of EPA guidance           24 There are about 114 major source categories

     source to area source status. See NMA                    and administrative decisions relating to PTE and          subject to NESHAP. The EPA determined that 13
                                                              PTE limits. E.g., see generally, Terrell E. Hunt and      source categories are not impacted by this rule and
     v. EPA, 59 F.3d at 1363–1365.22 Again,                   John S. Seitz, ‘‘Limiting Potential to Emit in New        did not include these categories in the costs or
                                                              Source Permitting’’ (June 13, 1989); John S. Seitz,       impacts analyses. For the remaining categories, 74
       22 The EPA notes that in two subsequent                ‘‘Options for Limiting the Potential to Emit (PTE) of     were analyzed using RTR modeling file data while
     decisions, the D.C. Cir. relied on the NMA decision      a Stationary Source Under Section 112 and Title V         27 were analyzed using an extrapolation approach.



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        As a result of updates to the MM2A                    revert to major source status. Some                   facilities in the database operating in the
     database, the number of facilities                       commenters suggested that the EPA                     primary scenario and these alternative
     estimated to be subject to major source                  should conduct its analyses based on                  views suggested by commenters.25
     NESHAP has been reduced from 7,920                       the assumption that all sources will
     at proposal to 7,187. The detailed                       emit up to the MST, or the Agency                     B. Cost Analysis
     methods applied to update the MM2A                       should analyze a scenario with a smaller                 For the illustrative cost analysis
     database and estimate the number of                      compliance margin (i.e., at 90 percent of             conducted for the final rule, the EPA
     facilities subject to major source                       the MST). The appropriate compliance                  analyzed: (1) Facilities with actual
     NESHAP for purposes of the final rule                    margin to apply is specific to each                   emissions below each analytical
     analyses are described in the TSM titled                 facility and its operating experience.                threshold, (2) the costs that we
     ‘‘Documentation of the Data for                          Some reclassified sources may choose to               estimated to be incurred by the facilities
     Analytical Evaluations and Summary of                    operate 10 percent below the MST while                associated with permitting actions
     Industries Potentially Impacted by the                   others may choose to maintain a larger                necessary to obtain area source status,
     Final Rule titled Reclassification of                    compliance margin to ensure they do                   (3) the costs that we estimated to be
     Major Sources as Area Sources Under                      not jeopardize their area source status.              incurred by permitting authorities
     Section 112 of the Clean Air Act,’’                      In addition, some facilities operating                associated with permitting actions
     which is included in the docket for this                 slightly above the MST may opt for                    necessary to process permit applications
     action.                                                  reclassification to area source status by             for facilities requesting reclassification,
     A. Analytical Scenarios                                  taking PTE limitations and reducing                   and (4) cost-savings estimates based
                                                              emissions to a level below the MST.                   solely on estimated reductions in labor
        The potential costs and cost savings                  Therefore, we provide illustrative
     presented in the final cost memorandum                                                                         burden related to MRR requirements
                                                              analyses of potential changes in costs                that would either no longer apply or
     and RIA are the result of an illustrative                and emissions at various compliance
     assessment. It is unknown how many                                                                             would change based on the specific
                                                              margins. The level of actual emissions                requirements in the major source
     major sources would choose to take                       relative to the MST at which facilities
     enforceable PTE limits to levels below                                                                         NESHAP rules and any area source
                                                              may consider participating in the                     NESHAP rules that apply to a particular
     the MST and reclassify to area source                    MM2A reclassification process is
     status. If a source voluntarily chooses to                                                                     source category. As part of the overall
                                                              actually a continuous line from some                  analysis of the 125-percent alternative
     reclassify to area source status, it will no             level below the MST to a reasonable
     longer be subject to previously                                                                                scenario, we examined the potential
                                                              level above the MST, and our                          control costs for major sources in eight
     applicable major source NESHAP,
                                                              illustrative analyses include three                   source categories that may opt to further
     which may result in compliance cost
                                                              points on this continuous line to                     reduce HAP emissions in order to
     savings for the source. However, the
                                                              estimate the potential impacts of                     reclassify to area source status. Details
     source will be required to comply with
                                                              different compliance margins on                       of this potential control cost analysis are
     any applicable area source NESHAP in
                                                              participation under this final rule. In               presented in the TSM titled ‘‘Analysis of
     response to reclassification, which
                                                              this section, we present the primary                  Illustrative 125% Scenario for MM2A
     could result in some compliance costs.
                                                              illustrative scenario and two alternative             Final—Potential Cost Impacts from HAP
     Facilities will also have costs associated
                                                              scenarios, one above and one below the                Major Sources Reducing Emissions as
     with applying to modify the facility’s
     operating permit when they reclassify                    primary scenario.                                     part of Reclassifying to HAP Area
     from major to area source status.                           While different compliance margins                 Sources’’ which is available in the
     Regulatory agencies will also have costs                 could be evaluated, the EPA has greater               docket for this action. The details of the
     to process those applications. Overall,                  confidence in the primary illustrative                cost analysis are presented in the TSM
     the sum of costs and cost savings of all                 scenario where sources at or below 75                 titled ‘‘Documentation of the
     actions taken to reclassify under this                   percent of the MST can maintain                       Compliance Cost Savings Analysis for
     rule is expected to be a net annual cost                 emissions below the MST and thus may                  the Final Rulemaking Reclassification of
     savings.                                                 be more likely to opt for reclassification.           Major Sources as Area Sources Under
        To illustrate the potential emissions                 Sources in the MM2A database                          Section 112 of the Clean Air Act’’ and
     changes, costs, and economic impacts of                  operating between 50 and 75 percent of                also are summarized in the RIA. All of
     the final rule, we analyzed the same                     the MST, and those operating between                  these documents are available in the
     three illustrative analytical scenarios as               75 and 125 percent of the MST, are also               docket for this action.
     at proposal. The primary analytical                      addressed in our analyses, in the first
                                                                                                                       The illustrative cost analysis presents
     scenario analyzes the sources with                       and second alternative scenarios,
                                                                                                                    estimates of the final rule’s net costs (or
     actual emissions below 75 percent of the                 respectively. These alternative scenarios
                                                                                                                    savings) over two time periods. The first
     MST (7.5 tpy of a single HAP or 18.75                    address the impacts of sources at
                                                                                                                    estimate assumes that all potential
     tpy of all combined HAP). Alternative                    alternative compliance margins as
                                                                                                                    reclassifications that might occur as a
     scenario 1 analyzes facilities with actual               suggested by commenters. In addition to
                                                                                                                    result of this rulemaking with take place
     emissions below 50 percent of the MST                    these analytical scenarios, the updates
                                                                                                                    within 1 year of promulgation (i.e., by
     (5 tpy for a single HAP and 12.5 tpy for                 to the MM2A database detailed in the
                                                                                                                    2021). The second estimate assumes that
     all HAP). Alternative scenario 2                         TSM titled ‘‘Documentation of the Data
                                                                                                                    not all the reclassifications will occur
     analyzes sources with actual emissions                   for Analytical Evaluations and
                                                                                                                    within 1 year after the MM2A rule is
     between 75 percent and 125 percent of                    Summary of Industries Potentially
                                                                                                                    finalized, and instead are assumed to
     the MST (12.5 tpy for a single HAP and                   Impacted by the Final Rule titled
                                                                                                                    occur over a more extended period of
     31.25 tpy for all HAP).                                  Reclassification of Major Sources as
                                                                                                                    time.
        The primary analytical scenario                       Area Sources Under Section 112 of the
     considers that sources will normally                     Clean Air Act’’ presents the incremental                25 See the Response to Comments document for
     build a compliance margin into their                     count of facilities at 90 and 100 percent             a detailed rationale for the selection of analytical
     operations to ensure that their emissions                of the MST to illustrate a comparison of              scenarios for the final rule and the EPA’s reasoning
     remain below the MST and they do not                     the difference between the number of                  for not evaluating impacts at 90 percent of the MST.



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        For the first illustrative cost analysis,                              reclassifications under the CAA. The                                 is also time allotted for the EPA to
     Year 1 costs include the cost for each                                    permitting costs to the facilities and the                           review determinations by permitting
     facility to apply for and obtain an area                                  permitting costs to the regulatory                                   authorities and for public participation
     source or synthetic minor permit or a                                     agencies are not included in the second                              in the process. Therefore, it is
     title V permit modification and for the                                   year because it is assumed the                                       reasonable to assume that not all the
     regulatory agencies to review and                                         permitting changes are all completed in                              reclassifications will occur within 1
     approve those applications and issue                                      the year the source submits an                                       year after the MM2A rule is finalized,
     the permits. These permitting costs to                                    application for reclassification and no                              and instead the reclassifications
     the facilities and state agencies are one-                                action is needed in subsequent years in                              assessed in the cost analysis are
     time costs and occur only in Year 1                                       relation to this action.                                             assumed to occur over a more extended
     when a facility reclassifies. Then, in                                      However, based on the number of                                    period of time. To illustrate the spread
     Year 2 and beyond, facilities do not                                      potential reclassifications discussed in                             of costs over time, the EPA also presents
     incur the cost to process a                                               this analysis, we can confidently                                    a 5-year outlook of costs and cost
     reclassification and the net costs (or                                    conclude that not all of the                                         savings.
     savings) are the sum of the projected                                     reclassifications will occur in the first                               A summary of the results of the
     annual cost savings from not having to                                    year after the rule is issued. The timing                            potential costs and cost savings across
     comply with the major source NESHAP                                       of a reclassification is influenced by                               different types of source categories from
     MRR requirements and the estimated                                        several considerations, including time                               the illustrative cost analysis for Year 1
     cost of compliance with applicable area                                   for facilities to determine whether it is                            and Year 2 and beyond is presented in
     source NESHAP requirements. These                                         in their best interest to reclassify, time                           Table 2. Results are presented for the 74
     projected savings are expected to                                         to prepare applications for                                          source categories evaluated using RTR
     continue for each reclassified facility                                   reclassification, and time for permitting                            modeling data and the 27 source
     each year beyond the second year, for                                     authorities to review applications and                               categories that were evaluated using the
     there is no time specified for review of                                  process reclassification requests. There                             extrapolation approach.

              TABLE 2—ILLUSTRATIVE NET COSTS (OR COST SAVINGS) OF FINAL MM2A RULE FOR THE PRIMARY ANALYTICAL
                                                        SCENARIO
                                                                                                                                                                                    Potential net
                                                                                                                                                                                  annual costs (or
                                                                                                                                      Total number of          Facilities with    cost savings) in
                                                                                                                                     facilities subject to   actual emissions
                                               Source category coverage                                                                                                           2017$ for Year
                                                                                                                                        major source         below 75 percent      1 2 4 and Year
                                                                                                                                           NESHAP              of the MST 1           2 3 4 and
                                                                                                                                                                                       beyond

     Source categories with RTR data (74 categories) ....................................................                                          4,068                  1,614       $10,147,526
                                                                                                                                                                                      (56,137,515)
     Extrapolated source categories (24 categories) 5 .....................................................                                        1,294                   266           1,680,049
                                                                                                                                                                                       (9,030,684)
     Industrial, commercial, and institutional boilers and process heaters (3 cat-
       egories) 5 ................................................................................................................                 1,821                   687           4,319,300
                                                                                                                                                                                      (25,456,533)

           Total (101 source categories) ............................................................................                              7,183                  2,567         16,146,875
                                                                                                                                                                                      (90,624,732)
        1 Results are for sources with actual emissions below 75 percent of the MST (i.e., 7.5 tpy for one HAP and 18.75 tpy for combined HAP).
        2 Costs incurred by sources and permitting authority assumed in year 1.
       3 Year 2 impacts are also representative of annual impacts to all reclassified major sources in all subsequent years in the future. Numbers in
     parenthesis are negative and reflect cost savings.
       4 The analytic timeline begins in 2021 and continues thereafter for an indefinite period. Year 1 impacts are those for 1 year after reclassification
     of a major source with reclassifications beginning in 2021, and year 2 impacts are those for the second year after reclassification of a major
     source and annually afterwards.
       5 Extrapolated using the EPA’s ECHO data.




       Table 3 presents the illustrative                                       analytical scenario. We present the                                  reclassify over that timeframe and that
     potential cost (or cost savings) impact of                                impacts over a 5-year outlook that                                   the reclassifications will be evenly
     the final rule over time for the primary                                  assumes all sources in our analysis will                             distributed over that period.

          TABLE 3—ILLUSTRATIVE NET COSTS (OR COST SAVINGS) OF THE FINAL MM2A RULE OVER TIME FOR THE PRIMARY
                                                ANALYTICAL SCENARIO *
                                                                                                Distribution of costs (or cost savings) over a 5-year period ($2017)
               Source category coverage
                                                                                2021                            2022                        2023                   2024               2025+

     Source categories with RTR data (74
       categories) ..........................................                    $2,536,882                 $(11,497,497)                 $(25,531,875)          $(39,566,254)       $(56,137,515)
     Extrapolated Source Categories (24
       categories) ..........................................                        420,012                    (1,837,658)                  (4,095,329)           (6,353,000)         (9,030,684)




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          TABLE 3—ILLUSTRATIVE NET COSTS (OR COST SAVINGS) OF THE FINAL MM2A RULE OVER TIME FOR THE PRIMARY
                                           ANALYTICAL SCENARIO *—Continued
                                                                                  Distribution of costs (or cost savings) over a 5-year period ($2017)
              Source category coverage
                                                                      2021                    2022                    2023                 2024               2025+

     Industrial, Commercial, and Institutional
       Boilers and Process Heaters (3 cat-
       egories) ..............................................          1,079,825             (5,284,308)            (11,648,441)          (18,012,574)       (25,456,533)

           Total (101 Source categories) ........                       4,036,719            (18,619,464)            (41,275,647)          (63,931,830)       (90,624,732)
        * These results reflect the aggregate of costs and cost savings for all facilities by year of impact.
        Estimates for 2025 are also representative of all subsequent years.


        The EPA also calculated the PV of the                         informative in some respects but was                     from commenters in the review of the
     illustrative cost savings for the main                           only illustrative and speculative in                     reclassifications included in the final
     illustrative scenario. The PV is the value                       nature and only presented a range of                     analysis. Finally, we also expanded the
     of a stream of impacts over time,                                possible outcomes dependent on the                       illustrative analysis of impacts on the
     discounted to the current (or nearly                             assumptions that we made in the                          program from the six source categories
     current) year. The PV of the cost savings                        assessment. The EPA received                             reviewed at proposal to 72 source
     for the primary illustrative scenario is                         numerous comments on the emissions                       categories. The 72 source categories
     $0.86 billion (in 2017 dollars) at a                             analyses presented at proposal. Many                     included in the illustrative analysis
     discount rate of 7 percent, which is                             commenters argued that the EPA had                       represent a broad array of the sources
     discounted to 2020. At a discount rate                           failed to adequately assess the effects of               subject to major source NESHAP
     of 3 percent, the PV is $1.50 billion (in                        the rule on HAP emissions and did not                    requirements and the types of sources
     2017 dollars), again discounted to 2020.                         perform any health impact analysis.                      that could seek reclassification to area
     Another measure of the annual cost                               These commenters argued the EPA did                      source status under this final rule. We
     savings to complement the estimates in                           not include enough source categories in                  discuss the reclassification actions
     Table 2 is the EAV. This annual impact                           the emissions analysis at proposal to                    reviewed and the illustrative analyses of
     estimate is calculated consistent with                           draw reasonable conclusions.                             source categories in detail below. Our
     the PV. The EAV is $67 million (2017                             Commenters also opined that the                          analysis indicates that 68 of the 69
     dollars) at a 7-percent discount rate for                        analysis of the actual reclassifications                 sources that have reclassified will not
     the primary scenario. At a 3-percent                             relied on a small sample, and a few                      increase emissions. In addition to this
     discount rate, the EAV is $75 million                            speculated that we had ‘‘cherry picked’’                 review of actual reclassification actions,
     (2017 dollars). The PVs and EAVs for                             permits to review.                                       the EPA also prepared an illustrative
     each alternative scenario and discount                              For the final rule, the EPA expanded                  analysis for 72 source categories in the
     rate in 2017 and 2016 dollars can be                             the emissions impact analysis in several                 major source NESHAP program (114
     found in the RIA for the final rule.                             ways to address these comments. We                       total) to evaluate the potential emissions
                                                                      enhanced the MM2A database to                            impacts. After consideration of the
     C. Environmental Analysis                                        include more source categories with                      information and data available for the
                                                                      detailed data and improved the                           illustrative emissions analysis, we
        At proposal, to assess the potential
                                                                      methodology for analysis based on                        found that 65 source categories will not
     environmental emissions impacts
                                                                      public comments. We also expanded the                    change emissions as a result of the rule.
     associated with the reclassification of
                                                                      review of reclassification actions to                    For the other seven source categories,
     sources, the EPA reviewed permits and
                                                                      include the review of 35 additional                      there was a potential for (but not a
     other information for 34 sources that
                                                                      reclassifications received from March                    certainty of) emissions increases based
     had reclassified to area source status
                                                                      2019 through February 2020.26 This                       on conservative assumptions that are
     consistent with the EPA’s plain
     language reading of the CAA section 112                          allowed us to more than double the                       likely to overstate the change in
     definitions of ‘‘major’’ and ‘‘area’’                            number of reclassifications reviewed for                 emissions at some facilities. As is
     source since January 2018. The review                            the final rule. The details and results of               discussed throughout this preamble and
     of these reclassifications provided a                            the analysis of 69 reclassification                      in the TSMs and RIA, any analysis of
     representation of the potential real-                            actions are summarized below and                         impacts includes uncertainties, and
     world impacts on emissions by looking                            presented in detail in the Review of                     each subsequent level of analysis
     at the facts and circumstances of actual                         Reclassification Actions TSM for the                     compounds the uncertainties to a much
     reclassification actions. In addition to                         final rule, which is available in the                    greater level. Given the compounding of
     the evaluation of the reclassification                           docket for this action.27 The EPA                        uncertainty and illustrative nature of the
     actions, at proposal the EPA also                                received several comments on the                         analysis, further quantification of effects
     performed an illustrative assessment for                         permit reviews completed for the                         of these emissions increases would not
     six source categories: Wood Furniture                            proposal; we have considered the input                   be reliable or informative. Instead, we
     Manufacturing Operations, Surface                                                                                         present a qualitative discussion of
                                                                        26 The EPA obtained information about these
     Coating of Metal Cans, Surface Coating                                                                                    benefits and disbenefits in the benefits/
                                                                      reclassifications through the normal course of
     of Miscellaneous Metal Parts and                                 business with the permitting authorities that notify     disbenefits subsection of impacts below.
     Products, Wet-Formed Fiberglass Mat                              us of permitting actions within their jurisdictions.     Further information of the analyses and
     Production, Hydrochloric Acid                                      27 See TSM titled ‘‘Review of Reclassification         findings are presented below.
                                                                      Actions for the Final Rulemaking ‘‘Reclassification
     Production, and Non-Gasoline Organic                             of Major Sources as Area Sources under Section 112
                                                                                                                                  To assess the potential for emissions
     Liquids Distribution. The analysis of                            of the Clean Air Act’’ available in the docket of this   impacts for the 69 reclassified sources,
     these six source categories was                                  rulemaking.                                              the EPA focused its review on the


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     enforceable conditions associated with                   sources had obtained those enforceable                reclassification to area source status.
     the PTE limitations applicable to the                    PTE limitations before January 2018                   Finally, one source is a former
     emission units previously subject to                     (pre-existing PTE limitations) while 40               hazardous waste combustor and cement
     major source NESHAP requirements.                        obtained the PTE limitations after                    facility that until 2015 fueled its cement
     The EPA review focused on whether                        January 2018 in order to reclassify to                kiln using collected hazardous and non-
     these emission units at these facilities                 area source status (new PTE                           hazardous waste, using various control
     continue to have enforceable conditions                  limitations).                                         technologies to maintain compliance.
     that are either the same as or consistent                  Of the 45 coating sources reviewed,                 This facility permanently removed all
     with the previous applicable major                       39 used compliant materials (low-HAP/                 equipment associated with Portland
     source NESHAP compliance obligations.                    no-HAP) to meet applicable major                      cement manufacturing and took on a
     Summaries of the permit reviews and                      source requirements before                            new primary role as a hazardous waste
     emissions evaluations are presented in                   reclassification, and their continued use             storage/transfer facility, using
     the Review of Reclassification Actions                   of compliant materials is an enforceable              throughput limits and a carbon
     TSM, which is available in the docket                    condition after reclassification. Five                adsorption system to maintain
     for this action.                                         sources relied on the use of regenerative             compliance.
        The EPA’s findings from its review of                 thermal oxidizers (RTOs) to meet                         Of the six combustion/boiler sources
     permits for the reclassifications indicate               applicable major source requirements                  reviewed, four made permanent
     that of the 69 sources that reclassified to              and maintain enforceable conditions                   operational changes (ceased combustion
     area source status, 68 achieved and                      requiring the operation of the RTOs after             of coal and/or ceased operation of
     maintain area source status by operating                 reclassification. As described in detail              boilers) allowing the sources to
     the emission controls or continuing to                   in the TSM, the EPA does not expect                   reclassify to area source status. Another
     implement the practices they used to                     emissions increases from these sources                source had material and operational
     comply with the major source NESHAP                      due to reclassification to area source                limitations prior to reclassification, both
     requirements; we expect no emissions                     status. Finally, one source used                      of which continue to be enforceable
     increases due to reclassification for                    compliant materials to meet applicable                conditions after reclassification, and one
     these sources. While permitting                          major source requirements, but after                  source took additional operational
     authorities could allow for changes in                   reclassification requested a change to                restrictions on the usage of natural gas
     the enforceable conditions or practices                  use a HAP-containing formulation with                 as the mechanism to constrain their
     that the sources used to comply with                     accompanying process limitations to                   emissions and PTE and reclassify to area
     major source NESHAP requirements                         maintain area source status. Had the                  source status. Three of these sources
     that could lead to emissions increases,                  change in formulation happened while                  had emissions above MST before
     this happened for only one source out                    the source was a major source, the                    reclassifying; the reclassification of
     of the 69 actual reclassifications. Below                source would have had to use an add-                  these three sources resulted in a HAP
     is an overview of the EPA’s findings                     on control device to comply with the                  reduction of 56.9 tpy single HAP and
     from the permit reviews for these 69                     applicable NESHAP. For this source, the               78.8 tpy total HAP.
     reclassifications.28                                     change in formulation after                              All five oil and gas production and
        Of the 69 sources that have                           reclassification could lead to emissions              transmission sources reviewed relied on
     reclassified, 45 sources are in a coating                increases of 4.3 tpy of xylene or 18.75               the use of control technologies
     type source category; 11 are chemical                    tpy of combined HAP.                                  (oxidation catalyst [enclosed
     sources; six are fuel combustion/boiler                    Of the 11 chemical sources reviewed,                combustion device] and flares) to meet
     sources; five are oil and gas sources and                four sources are miscellaneous organic                applicable major source requirements
     two are heavy industry sources. (See                     chemical manufacturing facilities; these              before reclassification, and their
     Tables 3 and 4 of Review of                              relied on a variety of control                        continued use is an enforceable
     Reclassification Actions TSM available                   technologies (including RTOs,                         condition to maintain compliance after
     in the docket for this action). Of the 69                scrubbers, and flares) and work                       reclassification. One of these sources
     reclassifications reviewed, 14 sources                   practices to maintain compliance before               took additional restrictions on the
     are classified as true area sources                      reclassifying and continue to have                    amount of gas vented to the atmosphere
     because these sources are no longer                      enforceable conditions requiring the                  to reclassify to area source status. Also,
     physically or operationally able to emit                 control technologies after                            the reclassification of this facility
     HAP above the MST. Of the 55 sources                     reclassification. Three sources are                   prevented additional emissions that
     with enforceable PTE limitations, 15                     gasoline distribution sources that relied             would have occurred if the source had
                                                              on vapor collection and vapor flare/                  remained a major source. As described
       28 The analysis of the actual reclassifications        vapor combustion to meet applicable                   in detail in the TSM, the EPA does not
     includes representation of some of the source            major source requirements before                      expect emissions increases from these
     categories subject to major source NESHAP
     requirements. While the actual reclassifications
                                                              reclassification, and these controls are              sources due to reclassification to area
     demonstrate a cross-section of the types of              enforceable conditions to maintain                    source status.
     industries that have reclassified, we are unable to      compliance after reclassification. Three                 Of the two heavy industry sources
     determine if this cross-section of industries is         sources are off-site waste recovery                   reviewed, one is a lime manufacturing
     representative of all types of sources that may seek
     reclassification in the future. The illustrative         facilities that relied on control                     plant and the other is a flexible
     emissions analysis includes a broader selection of       technologies such as vapor balance/                   polyurethane foam fabrication facility.
     source categories across similar sectors of the          recovery systems, condensers, and                     The lime manufacturing facility, after
     economy as these actual reclassifications (i.e.,         scrubbers to meet applicable major                    reclassification, remains subject to other
     chemical, energy, combustion, coatings, and heavy
     industry/manufacturing). While the illustrative
                                                              source requirements before                            regulatory requirements, including PM
     analysis is representative with respect to a broader     reclassification. All these sources                   emission limitations, the use of a
     selection of industries in the major source program,     continue to rely on the same (or                      baghouse, and monitored opacity as an
     we are unable to definitively determine whether the      additional) requirements as enforceable               operating limit via operation of a
     sources within those categories will seek
     reclassification. Thus, we cannot make a
                                                              conditions to maintain compliance after               continuous opacity monitoring system.
     determination of the representativeness of the           reclassification and the EPA does not                 The flexible polyurethane foam
     actual reclassifications.                                expect emissions increases due to                     fabrication facility relied on compliant


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     materials, control technology (carbon                    HAP emissions to the same extent. As                  percent of all the facilities included in
     adsorption systems), work practices,                     for the technological and economic                    the analysis of the 72 source categories
     and operational limitations to meet                      reasons, the EPA reviewed whether the                 (i.e., 128 facilities out of a total of 4,068
     applicable major source standards                        measures used by the source to reduce                 facilities operating in 72 source
     before reclassification and continues to                 emissions could be reversed or                        categories). Several of the source
     rely on these as enforceable conditions                  discontinued if sources were to                       categories have only one or two
     to maintain compliance after                             reclassify to area source status. This                facilities impacted, while three source
     reclassification. See the Review of                      includes, but is not limited to, changes              categories have several facilities
     Reclassification Actions TSM available                   in coating/adhesive formulations, fuel                impacted. The facilities that we were
     in the docket for the detailed permit                    combustion technologies, and some                     able to assess are located in several
     reviews and emissions evaluations.                       level of backstop for emissions from                  states and are not clustered in close
        In response to comments, for the final                add-on control technologies.                          proximity to each other. The EPA was
     rule’s illustrative emissions impact                     Commenters stated that there are also                 unable to evaluate the source categories
     analysis, we have also updated the                       other factors that will prevent emissions             included in the extrapolated approach
     assessment conducted at proposal for                     increases, including environmental                    used for the cost assessment due to
     six source categories and expanded our                   management systems with which                         insufficient information. Under
     assessment to numerous additional                        sources are engaged that require them to              alternative scenario 2, we determined
     source categories. We identified several                 identify environmental impacts, set                   that some facilities operating between
     source categories that are unlikely to                   performance objectives, implement of                  75 and 125 percent of the MST might
     experience a change in emissions as a                    standards for training and work                       opt to decrease emissions to reclassify to
     result of MM2A. We also conducted an                     practices, audit implementation of such               area source status as a result of the
     in-depth analysis of potential changes in                standards, and take corrective action                 MM2A rule.
     emissions upon reclassification for                      when deviations occur. Other                             The EPA made several conservative
     many source categories where we have                     commenters also mentioned that many                   assumptions when estimating the
     information. We also reviewed the                        sources are also required to meet                     potential effect on emissions resulting
     updated operating permits for a variety                  Leadership in Energy and                              from sources reclassifying from area to
     of industrial processes to interpret likely              Environmental Design standards that                   major source status. By ‘‘conservative,’’
     response to the final MM2A rule. The                     incentivize efficient operations to                   we mean that these assumptions are
     details and results of the emissions                     minimize waste and energy usage,                      likely to result in an overestimate of
     analysis are summarized below and                        Occupational Safety and Health                        emissions changes. We detail these
     presented in detail in the illustrative                  Administration requirements that                      assumptions in the TSM referenced
     emissions impact analysis TSM titled,                    protect workers from exposures to HAP                 above.30 Based on these conservative
     ‘‘Documentation of the Emissions                         and other pollutants, and toxics release              assumptions, the potential change in
     Analysis for the Final Rule                              inventory requirements. The                           emissions in the illustrative analyses for
     Reclassification of Major Sources as                     commenters pointed out that these                     seven source categories could be an
     Area Sources Under Section 112 of the                    regulatory requirements continue to                   increase ranging from 919 tpy to 956 tpy
     Clean Air Act,’’ which is available in the               apply even if the source reclassifies,                of HAP across the NESHAP program
     docket for this action.29                                providing additional incentives for                   under the primary scenario.31 In
        The EPA considered many factors in
                                                              sources to not increase emissions. The
     assessing the potential emissions                                                                                 30 In general, the change in emissions is measured
                                                              EPA agrees with the commenters in that                as the difference between PTE with compliance
     impacts from the various NESHAP
                                                              environmental management systems,                     with the major source NESHAP and 75 percent of
     source categories if facilities in these
     source categories were to reclassify to                  even though they are voluntary and not                the MST (the maximum emissions assumed with a
                                                              regulatory in nature, will also provide               compliance margin for the primary scenario).
     area source status. These factors include                                                                      Where the EPA does not have information on the
     backstop measures from regulatory and                    additional incentive for some sources to              PTE, we estimated the potential change in
     technological limits, as well as                         maintain compliance with                              emissions as the difference between actual
                                                              environmental legal obligations and not               emissions and 75 percent of the MST. However, in
     limitations on growth for economic                                                                             some cases it is inappropriate to assume changes
     reasons. As for regulatory reasons, the                  increase emissions.                                   from minimal amounts of HAP (i.e. less than 1 tpy)
     EPA assessed, if sources were to                            Based on the EPA’s illustrative                    up 75 percent of the MST as it represents a 100
                                                              analysis of potential emissions impacts               times to 1,000 times increase in emissions (and
     reclassify, whether they would be                                                                              production to the extent that production and
     subject to the same NESHAP                               from the 72 source categories, 65 source              emissions correlate). Given the production
     requirements as before reclassification                  categories will either not be impacted by             capacities at existing facilities along with economic
     (which would be the case where the                       MM2A or are unlikely to experience any                constraints on growth, it is highly unlikely a facility
                                                              emissions changes for the reasons                     would seek to increase emissions (and hence
     area source requirements are the same                                                                          production) by 100-times to 1,000-times. Most
     as the major source requirements),                       discussed in the above paragraph. After               mature industries will not experience tremendous
     whether new area source NESHAP                           considering the information available                 economic growth, and some may experience a
     requirements will be applicable and                      for this illustrative analysis, we found              declining rate of production that impacts growth.
                                                              that some facilities in seven source                  Therefore, we assume a conservative measure of
     how they impact emissions, whether                                                                             increase for facilities operating at very low levels
     there are NSPS requirements that apply                   categories represented by detailed                    of HAP of 10 times (e.g., a facility operating at 0.5
     to the source and control emissions at                   information from RTR modeling files in                tpy with not information on PTE would increase to
     the same levels as the major source                      the MM2A database could increase                      5 tpy). The measure for emission change in these
                                                              emissions if they were to reclassify and              instances could be higher or lower, but we selected
     NESHAP requirements, and whether                                                                               10 times to demonstrate a conservatively high level
     there are PSD/NSR/SIP requirements the                   were allowed to reduce operation of                   of potential emissions increase.
     effect of which will continue to control                 adjustable add-on controls. These                        31 The EPA also identified some facilities in the

                                                              facilities represent 7.9 percent of the               primary scenario that have an estimated PTE that
       29 See TSM, ‘‘Documentation of the Illustrative
                                                              facilities illustrated in the primary                 is above the MST, yet their actual emissions are
     Emissions Analysis for the Final Rule                                                                          well below 75 percent of the MST. If these facilities
     Reclassification of Major Sources as Area Sources
                                                              analytical scenario (i.e., 128 facilities             opt to reclassify by taking a limit on their PTE down
     Under Section 112 of the Clean Air Act,’’ available      out of a total of 1,614 facilities in the             to a level below the MST, they will forego allowable
     in the docket of this rulemaking.                        primary analytical scenario), and 3.1                                                              Continued




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     addition, we also include an alternative                 concentration of emissions changes in                 emissions may also impact other
     set of assumptions in the coatings sector                any particular location. However, to                  pollutants as well.
     to reflect the findings from the review                  understand the potential impact of this                  Benefits/disbenefits. Although the
     of reclassification permits that shows                   rulemaking on tribal and environmental                illustrative emissions analysis suggests
     one facility could increase emissions.                   justice communities, we conducted two                 that there may be both emissions
     For this alternative coating scenario, we                analyses on the 69 sources that have                  increases and decreases, we are
     extrapolate those findings to other                      reclassified to area source status as                 uncertain of the magnitude and
     facilities in the coatings sector using a                described above (from which we found                  geographic distribution of the changes
     percentage that represents the portion of                only one facility that could increase                 in emissions resulting from this
     the reclassified facilities that might                   emissions).                                           rulemaking across the broad array of
     increase emissions (i.e., 2.3 percent of                   In the first analysis, we looked at                 sources that could reclassify. As
     the reclassified coatings facilities are                 sources that were within 50 miles of an               discussed in the docket of this final
     assumed to increase emissions). Using                    area of Indian country. Of the 69 sources             rule, the emissions from different
     this alternative assumption, we estimate                 that we analyzed, 30 are within 50 miles              sources will be impacted in different
     a potential emissions increase of 302 tpy                of at least one area of Indian country.               ways, and small changes in certain non-
     of combined HAP. The total range of                      Eleven of these are within 10 miles of                HAP pollutants, such as fine particulate
     potential emissions increases is,                        an area of Indian country and three are               matter, can lead to significant changes
     therefore, 919 tpy to 1258 tpy. Again, it                in Indian country. However, after                     in monetized benefits/disbenefits. Due
     is important to note that this is likely an              reviewing the reclassification of these               to the voluntary nature of this action,
     overestimate of actual emissions                         sources, only one of these sources could              we are unable to quantify changes in
     increases, as we explain in more detail                  have an increase in emissions. The                    non-HAP emissions across these
     in the technical support memorandum.                     potential increase will be minimal                    sources. In place of quantitative
     Under the alternative scenario 2, we                     because the source has limited its                    estimates of the number and economic
     estimate a potential reduction in HAP                    emissions of and PTE HAP below the                    value of the non-HAP pollutant changes,
     emissions of 183 tpy.                                    MST. Therefore, the EPA expects there                 we instead discuss potential impacts in
        In addition to approximating the                      will be no additional impact from                     qualitative terms. Similar uncertainties
     response to the MM2A rule, we present                    reclassification to most areas of Indian              related to the potential distribution of
     information regarding the magnitude of                   country.                                              changes in HAP emissions resulting
     potential changes in HAP emissions and                     Second, we conducted a demographic                  from this rulemaking also exist. As
     discuss changes in health impacts for                    analysis of the populations within 5                  such, we also present a qualitative
     benefit categories of criteria pollutants.               miles of these same 69 sources. We then               assessment of the potential impacts to
     The combination of these evaluations                     compared the average concentrations of                human health and the environment
     represents our assessment of benefits as                 low-income and minority populations                   from changes in selected HAP
     defined in Office of Management and                      within that 5-mile radius and compared                emissions. For more information on the
     Budget (OMB) Circular A–4. Based on                      them to the national average to                       qualitative characterization of benefits/
     the results of the EPA’s analysis of the                 determine if these populations will be                disbenefits, please refer to the benefits
     reclassifications of 69 sources and the                  disproportionality impacted. In this                  analysis included in the RIA for this
     illustrative emissions analysis of 72                    analysis, we found that the 5-mile                    final action.
     source categories, this final rule may                   radius around 13 of the 69 sources has
                                                              a minority population above the                       D. Economic Analysis
     potentially result in both emission
     reductions and increases from a broad                    national average, and the area                          The economic impact analysis (EIA),
     array of affected sources. For the 69                    surrounding 39 sources has a low-                     an analysis that is included in the RIA,
     sources that have already reclassified,                  income population above the national                  focuses on impacts at an industry level,
     we conclude there are no potential                       average. Although these results would                 and impacts are only calculated for the
     emissions increases (except for one                      suggest that low-income populations                   scenario that includes facilities with
     source as discussed in section VIII                      may be more impacted by this rule, as                 actual emissions below 75 percent of the
     above) and, therefore, no health impacts                 stated above, only one of these sources               MST. As part of the EIA, the EPA
     associated with nearly all of the known                  could have an increase in emissions.                  considered the impact of this
     reclassification actions. For the one                    Therefore, the EPA expects there will be              rulemaking on small entities (small
     facility with a potential for an emissions               no additional impact to most of these                 businesses, governments, and nonprofit
     increase, the change in emissions would                  communities.                                          organizations). Impacts are calculated as
     be modest and is not likely to result in                   Based on the results of the EPA’s                   compliance costs (savings, in this
     significant health impacts. Because the                  analysis of the reclassifications of 69               instance) as a percentage of sales for
     sources that the EPA has identified as                   sources and the illustrative emissions                businesses, and of budgets for other
     having a potential for some level of                     impact analysis of 72 source categories,              organizations. For informational
     emissions change (given the                              this final rule could result in both                  purposes, the RIA includes the Small
     uncertainties stated throughout this                     emissions reductions and increases from               Business Administration’s definition of
     preamble) are located across the United                  a broad array of sources located in                   small entities by affected industry
     States, we do not observe a                              different geographic areas. Uncertainties             categories (defined as North American
                                                              in estimating the number of sources that              Industry Classification System) and
     emissions under the major source program (i.e., the      will seek reclassification, and the                   potential burden reductions from title V
     reduction in PTE that the facility must take to          resulting permit conditions that will                 and other permitting programs. Since
     modify their PTE to down to 18.75 tpy). This             impact emissions are discussed at                     this rule significantly lessens the
     reduction in emissions can be viewed as foregone
     emissions under PTE. For the facilities analyzed         length in this section of this preamble.              regulatory burden that resulted from the
     where PTE (or allowable emissions) were identified,      Therefore, we illustrate impacts using                OIAI policy, no compliance costs are
     the foregone allowable emissions totals a reduction      certain assumptions to allow readers to               directly imposed upon industry
     of about –227 tpy. Therefore, the potential change
     in emissions for the seven source categories with
                                                              better understand the potential impacts               categories as a result of this rule. We do,
     potential increases is a net change in emissions of      of the MM2A rule associated with HAP                  however, consider the potential costs
     692–729 tpy.                                             pollutants. However, changes in HAP                   some sources may incur to show


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     compliance with applicable area source                   C. Paperwork Reduction Act (PRA)                      rule. In addition, any costs associated
     NESHAP after they reclassify to area                       This action does not impose any new                 with the reclassification of major
     source status. These avoided costs                       information-collection burden under the               sources as area sources (i.e., application
     accrue because some reclassified                         PRA. Specifically, this rule requires the             reviews and PTE issuance) are expected
     sources will not be required to obtain or                electronic reporting of the one-time                  to be offset by reduced reporting and
     maintain a title V permit or continue                    notification already required in 40 CFR               recordkeeping obligations for sources
     meeting major source administrative                      63.9(j) in the case where the facility is             that no longer must meet major source
     requirements under section 112 of the                    notifying of a change in major source                 NESHAP requirements.
     CAA. Some of the facilities benefitting                                                                           Based on the considerations above,
                                                              status. OMB has previously approved
     from this action are owned by small                                                                            we have, therefore, concluded that this
                                                              the information collection activities
     entities, and these entities may                                                                               action will relieve regulatory burden for
                                                              contained in the existing regulations.
     experience a more beneficial impact                                                                            all regulated small entities that
                                                              These amendments would neither                        reclassify to area source status. We also
     than the large entities that will also                   require additional reports nor require
     experience a reduction in costs from the                                                                       note that a small-entity analysis,
                                                              that additional content be added to                   prepared at the discretion of the EPA
     burden reductions that would take place                  already required reports. Therefore, this
     as a result of this rule.                                                                                      and reflecting the relief in regulatory
                                                              action would not impose any new                       burden, was prepared for this final rule
        The results of the EIA for the primary                information-collection burden.
     scenario show that the annual cost                                                                             and is included in the RIA, which is
                                                              Furthermore, approval of an Information               available in the public docket for this
     savings per sales for all affected                       Collection Request (ICR) is not required
     industries is around 0.05 percent, using                                                                       rulemaking. The results of this small-
                                                              in connection with these final                        entity analysis show relatively small
     the median of these annual cost savings                  amendments. This is because the
     per sales estimates calculated by                                                                              reductions in burden estimate annual
                                                              General Provisions do not themselves                  costs (about 0.10 percent) as a
     industry, with sales averaging                           require any reporting and recordkeeping
     approximately $9.3 billion per affected                                                                        percentage of sales using the median
                                                              activities, and no ICR was submitted in               estimate as the average of impacts.
     industry, to determine average impact.                   connection with their original
     The details of the EIA and impacts on                    promulgation or their subsequent                      E. Unfunded Mandates Reform Act
     employment, as well as results of the                    amendment. Any recordkeeping and                      (UMRA)
     EIA for the other two alternative                        reporting requirements are imposed                      This action does not contain an
     scenarios, are presented in the RIA of                   only through the incorporation of                     unfunded mandate of $100 million or
     the final rule, which is available in the                specific elements of the General                      more as described in UMRA, 2 U.S.C.
     docket for this action.                                  Provisions in the individual NESHAP,                  1531–1538, and does not significantly or
     IX. Statutory and Executive Order                        which are promulgated for particular                  uniquely affect small governments. This
     Reviews                                                  source categories that have their own                 action imposes no enforceable duty on
                                                              ICRs.                                                 any state, local, or tribal governments or
       Additional information about these                                                                           the private sector. Since the impacts of
     statutes and Executive Orders can be                     D. Regulatory Flexibility Act (RFA)
                                                                                                                    this action are merely illustrative of
     found at https://www.epa.gov/laws-                          I certify that this action will not have           potential outcomes, it precludes
     regulations/laws-and-executive-orders.                   a significant economic impact on a                    identifying additional costs to states as
     A. Executive Order 12866: Regulatory                     substantial number of small entities                  an unfunded mandate.
     Planning and Review and Executive                        under the RFA. In making this
                                                              determination, the impact of concern is               F. Executive Order 13132: Federalism
     Order and 13563: Improving Regulation
     and Regulatory Review                                    any significant adverse economic                        This action does not have federalism
                                                              impact on small entities. An agency may               implications. It will not have substantial
        This action is an economically                        certify that a rule will not have a                   direct effects on the states, on the
     significant regulatory action that was                   significant economic impact on a                      relationship between the federal
     submitted to OMB for review. Any                         substantial number of small entities if               government and the states, or on the
     changes made in response to OMB                          the rule relieves regulatory burden, has              distribution of power and
     recommendations have been                                no net burden, or otherwise has a                     responsibilities among the various
     documented in the docket. The EPA                        positive economic effect on the small                 levels of government.
     prepared an analysis of the potential                    entities subject to the rule.
     costs and benefits associated with this                     Small entities that are subject to major           G. Executive Order 13175: Consultation
     action. This analysis, the RIA for the                   source NESHAP requirements would                      and Coordination With Indian Tribal
     final MM2A rule, is available in the                     not be required to take any action under              Governments
     docket and is summarized in section I                    this final rule; any action a source takes               This action has tribal implications.
     of this preamble.                                        to reclassify as an area source would be              However, it will neither impose
                                                              voluntary. We expect that sources that                substantial direct compliance costs on
     B. Executive Order 13771: Reducing
                                                              reclassify will experience cost savings               federally recognized tribal governments,
     Regulations and Controlling Regulatory
                                                              that will outweigh any additional cost of             nor preempt tribal law. There are two
     Costs
                                                              achieving area source status. The only                tribes that currently implement title V
       This action is considered an                           cost that would be incurred by                        permit programs and one that
     Executive Order 13771 deregulatory                       regulatory authorities would be the cost              implements an approved TIP for minor
     action. Details on the estimated                         of reviewing a sources’ application for               source permitting, the latter of which
     potential net cost savings of this final                 area source status and issuing                        also has a major source. As a result,
     rule can be found in the EPA’s analysis                  enforceable PTE limits, as appropriate.               these tribes may have additional permit
     of the potential costs and benefits                      No small government jurisdictions                     actions if sources in their jurisdiction
     associated with this action (see the RIA                 operate their own air pollution control               seek reclassification to area source
     for the final rule, which is in the docket               permitting agencies, so none would be                 status. Any tribal government that owns
     for this action).                                        required to incur costs under the final               or operates a source subject to major


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     source NESHAP requirements would                         webinar for tribes on July 24, 2019. In               CAA section 307(d). Section
     not be required to take action under this                addition, we sent consultation letters to             307(d)(1)(V) of the CAA provides that
     final rule; the reclassification provisions              the 573 federally recognized tribes on                the provisions of CAA section 307(d)
     in the final rule would be strictly                      September 27, 2019, and held an                       apply to ‘‘such other actions as the
     voluntary. In addition, achieving area                   informational call with one tribe on                  Administrator may determine.’’
     source status would result in reduced                    October 21, 2019. The EPA did not
                                                                                                                    M. Congressional Review Act (CRA)
     burden on any source that no longer                      receive any requests for tribal
     must meet major source NESHAP                            consultation on this action.                            This action is subject to the CRA, and
     requirements. Under the final rule, a                                                                          the EPA will submit a rule report to
     tribal government with an air pollution                  H. Executive Order 13045: Protection of               each House of the Congress and to the
     control agency to which we have                          Children From Environmental Health                    Comptroller General of the United
     delegated CAA section 112 authority                      Risks and Safety Risks                                States. This action is a ‘‘major rule’’ as
     would be required to review permit                         The EPA interprets Executive Order                  defined by 5 U.S.C. 804(2).
     applications and to modify permits as                    13045 as applying only to those                       List of Subjects in 40 CFR Part 63
     necessary. However, any burden                           regulatory actions that concern
     associated with the review and                           environmental health or safety risks that               Environmental protection, Area
     modification of permits will be offset by                the EPA has reason to believe may                     sources, General provisions, Hazardous
     reduced Agency oversight obligations                     disproportionately affect children, per               air pollutants, Major sources, Potential
     for sources no longer required to meet                   the definition of ‘‘covered regulatory                to emit.
     major source requirements.                               action’’ in section 2–202 of the                      Andrew Wheeler,
        For sources located within Indian                     Executive Order. This action is not                   Administrator.
     country, where the EPA is the reviewing                  subject to Executive Order 13045
     authority, unless the EPA has approved                   because it implements the plain reading                 For the reasons set forth in the
     a non-federal minor source permitting                    of the definitions of major source and                preamble, the EPA amends 40 CFR part
     program or a delegation of the Federal                   area source as established by Congress                63 as follows:
     Indian Country Minor NSR Rule, the                       in section 112 of the CAA.
     Federal Indian Country Minor NSR Rule                                                                          PART 63—NATIONAL EMISSION
     at 40 CFR 49.151 through 49.165                          I. Executive Order 13211: Actions                     STANDARDS FOR HAZARDOUS AIR
     provides a mechanism for an otherwise                    Concerning Regulations That                           POLLUTANTS FOR SOURCE
     major source to voluntarily accept                       Significantly Affect Energy Supply,                   CATEGORIES
     restrictions on its PTE to become a                      Distribution, or Use
                                                                                                                    ■ 1. The authority citation part 63
     synthetic source, among other                               This action is not a ‘‘significant                 continues to read as follows:
     provisions. The Federal Indian Country                   energy action’’ because it is not likely to
     Minor NSR Rule applies to sources                                                                                  Authority: 42 U.S.C. 7401 et seq.
                                                              have a significant adverse effect on the
     located within the exterior boundaries                   supply, distribution, or use of energy.               Subpart A—General Provisions
     of an Indian reservation or other lands                  We have concluded that this final action
     as specified in 40 CFR part 49,                          is not likely to have any adverse energy              ■ 2. Amend § 63.1 by adding paragraph
     collectively referred to as ‘‘Indian                     effects.                                              (c)(6) to read as follows:
     country.’’ See 40 CFR 49.151(c) and
     49.152(d). This mechanism may also be                    J. National Technology Transfer and                   § 63.1   Applicability.
     used by an otherwise major source of                     Advancement Act (NTTAA)                               *      *     *     *    *
     HAP to voluntarily accept restrictions                      This rulemaking does not involve                      (c) * * *
     on its PTE to become a synthetic area                    technical standards.                                     (6) A major source may become an
     HAP source. The EPA’s FIP program,                                                                             area source at any time upon reducing
                                                              K. Executive Order 12898: Federal                     its emissions of and potential to emit
     which includes the Federal Indian
                                                              Actions To Address Environmental                      hazardous air pollutants, as defined in
     Country Minor NSR Rule, provides
                                                              Justice in Minority Populations and                   this subpart, to below the major source
     additional options for particular
     situations, such as general permits for                  Low-Income Populations                                thresholds established in § 63.2, subject
     specific source categories, to facilitate                   The EPA believes that this action does             to the provisions in paragraphs (c)(6)(i)
     minor source emissions management in                     not have disproportionately high and                  and (ii) of this section.
     Indian country. Existing sources in                      adverse human health or environmental                    (i) A major source reclassifying to area
     Indian country may have PTE limits that                  effects on minority populations, low-                 source status is subject to the
     preceded the EPA’s FIP for minor                         income populations, and/or indigenous                 applicability of standards, compliance
     sources and, for that reason, were issued                peoples, as specified in Executive Order              dates and notification requirements
     in a 40 CFR part 71 permit or FIP                        12898 (59 FR 7629, February 16, 1994)                 specified in (c)(6)(i)(A) of this section.
     permitting provision applicable to the                   because it does not establish an                      An area source that previously was a
     Indian reservation.                                      environmental health or safety standard.              major source and becomes a major
        At proposal, the EPA specifically                     The final amendments to the General                   source again is subject to the
     solicited comment from tribal officials                  Provisions are procedural changes and                 applicability of standards, compliance
     and, consistent with EPA policy, offered                 do not impact the technology                          dates, and notification requirements
     to consult with the potentially impacted                 performance nor level of control of the               specified in (c)(6)(i)(B) of this section:
     tribes and other tribes upon their                       NESHAP governed by the General                           (A) A major source reclassifying to
     request. On June 27, 2019, the EPA sent                  Provisions.                                           area source status under this part
     consultation letters to four tribes that                                                                       remains subject to any applicable major
     may be impacted by this action. The                      L. Determination Under CAA Section                    source requirements established under
     EPA also gave an overview of the                         307(d)                                                this part until the reclassification
     proposed action on a call with the                          Pursuant to CAA section 307(d)(1)(V),              becomes effective. After the
     National Tribal Air Association on June                  the Administrator determines that this                reclassification becomes effective, the
     27, 2019, and held an informational                      action is subject to the provisions of                source is subject to any applicable area


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     source requirements established under                    ■ 4. Amend § 63.6 by revising                         to the emission standard or other
     this part immediately, provided the                      paragraphs (b)(7) and (c)(1) and (5) to               requirement, such source shall be
     compliance date for the area source                      read as follows:                                      subject to the notification requirements
     requirements has passed. The owner or                                                                          of this section. Area sources previously
                                                              § 63.6 Compliance with standards and
     operator of a major source that becomes                                                                        subject to major source requirements
                                                              maintenance requirements.
     an area source subject to newly                                                                                that become major sources again are also
     applicable area source requirements                      *      *     *     *     *                            subject to the notification requirements
     under this part must comply with the                        (b) * * *                                          of this paragraph and must submit the
                                                                 (7) When an area source increases its
     initial notification requirements                                                                              notification according to the
                                                              emissions of (or its potential to emit)
     pursuant to § 63.9(b). The owner or                                                                            requirements of paragraph (k) of this
                                                              hazardous air pollutants such that the
     operator of a major source that becomes                  source becomes a major source, the                    section.
     an area source must also provide to the                  portion of the facility that meets the                *      *     *     *    *
     Administrator any change in the                          definition of a new affected source must                 (j) Change in information already
     information already provided under                       comply with all requirements of that                  provided. Any change in the
     § 63.9(b) per § 63.9(j).                                 standard applicable to new sources. The               information already provided under this
        (B) An area source that previously                    source owner or operator must comply                  section shall be provided to the
     was a major source under this part and                   with the relevant standard upon startup.              Administrator within 15 calendar days
     that becomes a major source again is                     *      *     *     *     *                            after the change. The owner or operator
     subject to the applicable major source                      (c) * * *                                          of a major source that reclassifies to area
     requirements established under this part                    (1) After the effective date of a                  source status is also subject to the
     immediately upon becoming a major                        relevant standard established under this              notification requirements of this
     source again, provided the compliance                    part pursuant to section 112(d) or 112(h)             paragraph. The owner or operator may
     date for the major source requirements                   of the Act, the owner or operator of an               use the application for reclassification
     has passed, notwithstanding any                          existing source shall comply with such                with the regulatory authority (e.g.,
     provision within the applicable                          standard by the compliance date                       permit application) to fulfill the
     subparts. The owner or operator of an                    established by the Administrator in the               requirements of this paragraph. A
     area source that becomes a major source                  applicable subpart(s) of this part, except            source which reclassified after January
     again must comply with the initial                       as provided in § 63.1(c)(6)(i). Except as             25, 2018, and before January 19, 2021,
     notification pursuant to § 63.9(b). The                  otherwise provided for in section 112 of              and has not yet provided the
     owner or operator must also provide to                   the Act, in no case will the compliance               notification of a change in information
     the Administrator any change in the                      date established for an existing source               is required to provide such notification
     information already provided under                       in an applicable subpart of this part                 no later than February 2, 2021,
     § 63.9(b) per § 63.9(j).                                 exceed 3 years after the effective date of            according to the requirements of
        (ii) Becoming an area source does not                 such standard.                                        paragraph (k) of this section. Beginning
     absolve a source subject to an                           *      *     *     *     *                            January 19, 2021, the owner or operator
     enforcement action or investigation for                     (5) Except as provided in paragraph                of a major source that reclassifies to area
     major source violations or infractions                   (b)(7) of this section, the owner or                  source status must submit the
     from the consequences of any actions                     operator of an area source that increases             notification according to the
     occurring when the source was major.                     its emissions of (or its potential to emit)           requirements of paragraph (k) of this
     Becoming a major source does not                         hazardous air pollutants such that the                section. A notification of reclassification
     absolve a source subject to an                           source becomes a major source and                     must contain the following information:
     enforcement action or investigation for                  meets the definition of an existing                      (1) The name and address of the
     area source violations or infractions                    source in the applicable major source                 owner or operator;
     from the consequences of any actions                     standard shall be subject to relevant                    (2) The address (i.e., physical
     occurring when the source was an area                    standards for existing sources. Except as             location) of the affected source;
     source.                                                  provided in paragraph § 63.1(c)(6)(i)(B),                (3) An identification of the standard
     *       *    *     *     *                               such sources must comply by the date                  being reclassified from and to (if
                                                              specified in the standards for existing               applicable); and
     ■ 3. Amend § 63.2 by revising the                                                                                 (4) Date of effectiveness of the
                                                              area sources that become major sources.
     definition ‘‘Potential to emit’’ to read as              If no such compliance date is specified               reclassification.
     follows:                                                 in the standards, the source shall have                  (k) Electronic submission of
     § 63.2    Definitions.                                   a period of time to comply with the                   notifications or reports. If you are
                                                              relevant emission standard that is                    required to submit notifications or
     *     *     *     *    *                                                                                       reports following the procedure
                                                              equivalent to the compliance period
       Potential to emit means the maximum                    specified in the relevant standard for                specified in this paragraph (k), you must
     capacity of a stationary source to emit                  existing sources in existence at the time             submit notifications or reports to the
     a pollutant under its physical and                       the standard becomes effective.                       EPA via CEDRI, which can be accessed
     operational design. Any physical or                                                                            through the EPA’s Central Data
     operational limitation on the capacity of                *      *     *     *     *
                                                                                                                    Exchange (CDX) (https://cdx.epa.gov/).
     the stationary source to emit a pollutant,               ■ 5. Amend § 63.9 by revising
                                                                                                                    The notification or report must be
     including air pollution control                          paragraphs (b)(1)(ii) and (j) and adding
                                                                                                                    submitted by the deadline specified.
     equipment and restrictions on hours of                   paragraph (k) to read as follows:
                                                                                                                    The EPA will make all the information
     operation or on the type or amount of                    § 63.9   Notification requirements.                   submitted through CEDRI available to
     material combusted, stored, or                           *      *     *     *    *                             the public without further notice to you.
     processed, shall be treated as part of its                 (b) * * *                                           Do not use CEDRI to submit information
     design if the limitation or the effect it                  (1) * * *                                           you claim as confidential business
     would have on emissions is enforceable.                    (ii) If an area source subsequently                 information (CBI). Anything submitted
     *     *     *     *    *                                 becomes a major source that is subject                using CEDRI cannot later be claimed to


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     be CBI. Although we do not expect                        electronic submittal requirement in this                (iv) The decision to accept the claim
     persons to assert a claim of CBI, if                     paragraph (k) at the time of the                      of force majeure and allow an extension
     persons wish to assert a CBI, submit a                   notification, the date you submitted the              to the submittal deadline is solely
     complete notification or report,                         notification or report.                               within the discretion of the
     including information claimed to be                         (vi) The decision to accept the claim              Administrator.
     CBI, to the EPA. Submit the file on a                    of EPA system outage and allow an                       (v) In any circumstance, the reporting
     compact disc, flash drive, or other                      extension to the reporting deadline is                must occur as soon as possible after the
     commonly used electronic storage                         solely within the discretion of the                   force majeure event occurs.
     medium and clearly mark the medium                       Administrator.                                        ■ 6. Amend § 63.10 by revising
     as CBI. Mail the electronic medium to                       (vii) In any circumstance, the                     paragraph (b)(3) to read as follows:
     U.S. EPA/OAQPS/CORE CBI Office,                          notification or report must be submitted
                                                              electronically as soon as possible after              § 63.10 Recordkeeping and reporting
     Attention: Group Leader, Measurement                                                                           requirements.
     Policy Group, MD C404–02, 4930 Old                       the outage is resolved.
     Page Rd., Durham, NC 27703. The same                        (2) If you are required to                         *      *     *    *     *
                                                              electronically submit a notification or                  (b) * * *
     file with the CBI omitted must be
                                                              report by this paragraph (k) through                     (3) If an owner or operator determines
     submitted to the EPA via the EPA’s CDX
                                                              CEDRI in the EPA’s CDX, you may                       that his or her existing or new stationary
     as described earlier in this paragraph                                                                         source is in the source category
     (k). All CBI claims must be asserted at                  assert a claim of force majeure for
                                                              failure to timely comply with the                     regulated by a standard established
     the time of submission. Furthermore,                                                                           pursuant to section 112 of the Act, but
     under section 114(c) of the Act                          electronic submittal requirement. To
                                                              assert a claim of force majeure, you                  that source is not subject to the relevant
     emissions data is not entitled to                                                                              standard (or other requirement
     confidential treatment and requires EPA                  must meet the requirements outlined in
                                                              paragraphs (k)(2)(i) through (v) of this              established under this part) because of
     to make emissions data available to the                                                                        enforceable limitations on the source’s
     public. Thus, emissions data will not be                 section.
                                                                 (i) You may submit a claim if a force              potential to emit, or the source
     protected as CBI and will be made                                                                              otherwise qualifies for an exclusion, the
     publicly available.                                      majeure event is about to occur, occurs,
                                                              or has occurred or there are lingering                owner or operator must keep a record of
        (1) If you are required to                                                                                  the applicability determination. The
     electronically submit a notification or                  effects from such an event within the
                                                              period of time beginning five business                applicability determination must be
     report by this paragraph (k) through                                                                           kept on site at the source for a period
     CEDRI in the EPA’s CDX, you may                          days prior to the date the submission is
                                                              due. For the purposes of this section, a              of 5 years after the determination, or
     assert a claim of EPA system outage for                                                                        until the source changes its operations
     failure to timely comply with the                        force majeure event is defined as an
                                                              event that will be or has been caused by              to become an affected source subject to
     electronic submittal requirement. To                                                                           the relevant standard (or other
     assert a claim of EPA system outage, you                 circumstances beyond the control of the
                                                              affected facility, its contractors, or any            requirement established under this
     must meet the requirements outlined in                                                                         part), whichever comes first if the
     paragraphs (k)(1)(i) through (vii) of this               entity controlled by the affected facility
                                                              that prevents you from complying with                 determination is made prior to January
     section.                                                                                                       19, 2021. The applicability
        (i) You must have been or will be                     the requirement to submit a notification
                                                              or report electronically within the time              determination must be kept until the
     precluded from accessing CEDRI and                                                                             source changes its operations to become
     submitting a required notification or                    period prescribed. Examples of such
                                                                                                                    an affected source subject to the relevant
     report within the time prescribed due to                 events are acts of nature (e.g.,
                                                                                                                    standard (or other requirement
     an outage of either the EPA’s CEDRI or                   hurricanes, earthquakes, or floods), acts
                                                                                                                    established under this part) if the
     CDX systems.                                             of war or terrorism, or equipment failure
                                                                                                                    determination was made on or after
        (ii) The outage must have occurred                    or safety hazard beyond the control of
                                                                                                                    January 19, 2021. The record of the
     within the period of time beginning 5                    the affected facility (e.g., large scale
                                                                                                                    applicability determination must be
     business days prior to the date that the                 power outage).
                                                                 (ii) You must submit notification to               signed by the person making the
     notification or report is due.                                                                                 determination and include an emissions
        (iii) The outage may be planned or                    the Administrator in writing as soon as
                                                              possible following the date you first                 analysis (or other information) that
     unplanned.
        (iv) You must submit notification to                  knew, or through due diligence should                 demonstrates the owner or operator’s
     the Administrator in writing as soon as                  have known, that the event may cause                  conclusion that the source is unaffected
     possible following the date you first                    or has caused a delay in submitting                   (e.g., because the source is an area
     knew, or through due diligence should                    through CEDRI.                                        source). The analysis (or other
     have known, that the event may cause                        (iii) You must provide to the                      information) must be sufficiently
     or has caused a delay in reporting.                      Administrator:                                        detailed to allow the Administrator to
        (v) You must provide to the                              (A) A written description of the force             make an applicability finding for the
     Administrator a written description                      majeure event;                                        source with regard to the relevant
     identifying:                                                (B) A rationale for attributing the                standard or other requirement. If
        (A) The date(s) and time(s) when CDX                  delay in reporting beyond the regulatory              applicable, the analysis must be
     or CEDRI was accessed and the system                     deadline to the force majeure event;                  performed in accordance with
     was unavailable;                                            (C) Measures taken or to be taken to               requirements established in relevant
        (B) A rationale for attributing the                   minimize the delay in reporting; and                  subparts of this part for this purpose for
     delay in submitting beyond the                              (D) The date by which you propose to               particular categories of stationary
     regulatory deadline to EPA system                        submit the notification or report, or if              sources. If relevant, the analysis should
     outage;                                                  you have already met the electronic                   be performed in accordance with EPA
        (C) Measures taken or to be taken to                  submittal requirement in this paragraph               guidance materials published to assist
     minimize the delay in submitting; and                    (k) at the time of the notification, the              sources in making applicability
        (D) The date by which you propose to                  date you submitted the notification or                determinations under section 112 of the
     submit, or if you have already met the                   report.                                               Act, if any. The requirements to


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     determine applicability of a standard                                submitted electronically by this part via                  Environmental Protection Agency
     under § 63.1(b)(3) and to record the                                 the EPA’s CEDRI may, at the discretion                     indicated in the following list of EPA
     results of that determination under this                             of the delegated authority, satisfy the                    Regional offices. If a request, report,
     paragraph (b)(3) of this section shall not                           requirements of this paragraph. The                        application, submittal, or other
     by themselves create an obligation for                               Administrator may permit all or some of                    communication is required by this part
     the owner or operator to obtain a title                              the information to be submitted to the                     to be submitted electronically via the
     V permit.                                                            appropriate state agency only, instead of                  EPA’s CEDRI then such submission
     *     *     *     *    *                                             to the EPA and the state agency with the                   satisfies the requirements of this
     ■ 7. Amend § 63.12 by revising                                       exception of federal electronic reporting                  paragraph (a).
     paragraph (c) to read as follows:                                    requirements under this part. Sources
                                                                          may not be exempted from federal                           *     *     *     *     *
     § 63.12       State authority and delegations.                       electronic reporting requirements.
                                                                                                                                     Subpart F—National Emission
     *     *     *     *     *                                            ■ 8. Amend § 63.13 by revising
       (c) All information required to be                                                                                            Standards for Organic Hazardous Air
                                                                          paragraph (a) introductory text to read                    Pollutants From the Synthetic Organic
     submitted to the EPA under this part                                 as follows:
     also shall be submitted to the                                                                                                  Chemical Manufacturing Industry
     appropriate state agency of any state to                             § 63.13 Addresses of State air pollution
     which authority has been delegated                                   control agencies and EPA Regional Offices.                 ■ 9. Amend table 3 to subpart F of part
     under section 112(l) of the Act,                                       (a) All requests, reports, applications,                 63 by adding in numerical order an
     provided that each specific delegation                               submittals, and other communications                       entry for § 63.1(c)(6), revising the entry
     may exempt sources from a certain                                    to the Administrator pursuant to this                      for § 63.9(j), and adding in numerical
     federal or state reporting requirement.                              part shall be submitted to the                             order an entry for § 63.9(k) to read as
     Any information required to be                                       appropriate Regional Office of the U.S.                    follows:
      TABLE 3 TO SUBPART F OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPARTS F, G, AND H a TO SUBPART F
                         Reference                            Applies to subparts F, G, and H                                                Comment


               *                                *                            *                       *                        *                        *               *
     63.1(c)(6) ........................................     Yes.

                *                                 *                            *                                 *                   *                   *             *
     63.9(j) .............................................   Yes ................................................. Only as related to change to major source status.
     63.9(k) ............................................    Yes ................................................. Only as specified in § 63.9(j).

                   *                              *                          *                       *                        *                        *               *
         a Wherever subpart A specifies ‘‘postmark’’ dates, submittals may be sent by methods other than the U.S. Mail (e.g., by fax or courier). Submit-
     tals shall be sent by the specified dates, but a postmark is not necessarily required.


     *        *          *       *         *                              after the source becomes subject to this                   required by § 63.9(b) no later than 120
                                                                          subpart, whichever is later.                               days after the source becomes subject to
     Subpart G—National Emission                                             (ii) For a new source that has an                       this subpart.
     Standards for Organic Hazardous Air                                  initial start-up 90 calendar days after the                   (iii) For a new source that has an
     Pollutants From the Synthetic Organic                                date of promulgation of this subpart or                    initial start-up prior to 90 calendar days
     Chemical Manufacturing Industry for                                  later, the application for approval of                     after the date of promulgation, the
     Process Vents, Storage Vessels,                                      construction or reconstruction required                    Initial Notification shall be submitted
     Transfer Operations, and Wastewater                                  by § 63.5(d) of subpart A shall be                         within 90 calendar days after the date of
                                                                          submitted in lieu of the Initial                           promulgation of this subpart, or no later
     ■ 10. Amend § 63.151 by revising
                                                                          Notification. The application shall be                     than 120 days after the source becomes
     paragraphs (b)(2)(i) through (iii) to read
                                                                          submitted as soon as practicable before                    subject to this subpart, whichever is
     as follows:
                                                                          construction or reconstruction is                          later. The application for approval of
     § 63.151          Initial notification.                              planned to commence (but it need not                       construction or reconstruction described
     *     *     *     *     *                                            be sooner than 90 calendar days after                      in § 63.5(d) of subpart A is not required
       (b) * * *                                                          the date of promulgation of this                           for these sources.
       (2) * * *                                                          subpart). For a new source that
                                                                                                                                     *       *     *   *      *
       (i) For an existing source, the Initial                            reclassifies to major source status after
     Notification shall be submitted within                               January 19, 2021 and greater than 90                       ■ 11. Amend table 1A to subpart G by
     120 calendar days after the date of                                  days after the initial start-up, the source                revising the entry for § 63.9 to read as
     promulgation, or no later than 120 days                              shall submit the initial notification                      follows:

                              TABLE 1A TO SUBPART G OF PART 63—APPLICABLE 40 CFR PART 63 GENERAL PROVISIONS
                                                                 40 CFR part 63, subpart A, provisions applicable to subpart G


               *                         *                         *                                 *                        *                        *               *
     § 63.9(a)(2), (b)(4)(i),a (b)(4)(ii), (b)(4)(iii), (b)(5),a (c), (d), (j), and (k).




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                 TABLE 1A TO SUBPART G OF PART 63—APPLICABLE 40 CFR PART 63 GENERAL PROVISIONS—Continued
                                                        40 CFR part 63, subpart A, provisions applicable to subpart G

                 *                         *                         *                        *                       *                      *               *
         a The notifications specified in § 63.9(b)(4)(i) and (b)(5) shall be submitted at the times specified in 40 CFR part 65.




     *       *        *       *      *                           subject to this subpart, whichever is                     the source shall submit the initial
                                                                 later.                                                    notification required by § 63.9(b) no
     Subpart H—National Emission                                    (ii) For a new source that has an                      later than 120 days after the source
     Standards for Organic Hazardous Air                         initial start-up 90 days after the date of                becomes subject to this subpart.
     Pollutants for Equipment Leaks                              promulgation of this subpart or later, the                   (iii) For a new source that has an
                                                                 application for approval of construction                  initial start-up prior to 90 days after the
     ■ 12. Amend § 63.182 by revising                            or reconstruction required by § 63.5(d)                   date of promulgation of the applicable
     paragraphs (b)(2)(i) through (iii) to read                  of subpart A of this part shall be                        subpart, the Initial Notification shall be
     as follows:                                                 submitted in lieu of the Initial                          submitted within 90 days after the date
                                                                 Notification. The application shall be                    of promulgation of the subpart that
     § 63.182        Reporting requirements.
                                                                 submitted as soon as practicable before                   references this subpart, or no later than
     *     *     *     *     *                                   the construction or reconstruction is
       (b) * * *                                                                                                           120 calendar days after the source
                                                                 planned to commence (but it need not                      becomes subject to this subpart,
       (2) * * *                                                 be sooner than 90 days after the date of                  whichever is later.
       (i) For an existing source, the Initial                   promulgation of the subpart that
     Notification shall be submitted within                      references this subpart). For a new                       *       *     *   *      *
     120 calendar days after the date of                         source that reclassifies to major source                  ■ 13. Amend table 4 to subpart H by
     promulgation or no later than 120                           status after January 19, 2021 and greater                 revising entry for § 63.9 to read as
     calendar days after the source becomes                      than 90 days after the initial start-up,                  follows:

                            TABLE 4 TO SUBPART H OF PART 63—APPLICABLE 40 CFR PART 63 GENERAL PROVISIONS
                                                        40 CFR part 63, subpart A, provisions applicable to subpart H


               *                         *                         *                          *                       *                      *               *
     § 63.9(a)(2), (b)(4)(i),a (b)(4)(ii), (b)(4)(iii), (b)(5),a (c), (d), (j) and (k).

                 *                         *                         *                        *                       *                      *               *
         a The notifications specified in § 63.9(b)(4)(i) and (b)(5) shall be submitted at the times specified in 40 CFR part 65.




     Subpart J—National Emission                                 § 63.311 Reporting and recordkeeping                        (g) Each owner or operator of a dry
     Standards for Hazardous Air Pollutants                      requirements.                                             cleaning facility that reclassifies from a
     for Polyvinyl Chloride and Copolymers                          (a) General requirements. After the                    major source to an area source must
     Production                                                  effective date of an approved permit in                   follow the procedures of § 63.9(j) and (k)
                                                                 a state under part 70 of this chapter, the                to provide notification of the change in
     ■ 14. Amend § 63.215 by revising                            owner or operator shall submit all                        status.
     paragraph (b) introductory text and                         notifications and reports required by
                                                                                                                           Subpart N—National Emission
     adding paragraph (b)(4) to read as                          this subpart to the state permitting
                                                                                                                           Standards for Chromium Emissions
     follows:                                                    authority except a source that
                                                                                                                           From Hard and Decorative Chromium
                                                                 reclassifies to an area source must
     § 63.215        What General Provisions apply to                                                                      Electroplating and Chromium
                                                                 follow the notification procedures of
     me?                                                                                                                   Anodizing Tanks
                                                                 § 63.9(j) and (k). Use of information
     *      *     *    *      *                                  provided by the certified observer shall
                                                                                                                           ■ 17. Amend § 63.347 by revising
       (b) The provisions in subpart A of this                   be a sufficient basis for notifications
                                                                 required under § 70.5(c)(9) of this                       paragraph (c)(1) introductory text to
     part also apply to this subpart as                                                                                    read as follows:
     specified in paragraphs (b)(1) through                      chapter and the reasonable inquiry
                                                                 requirement of § 70.5(d) of this chapter.                 § 63.347   Reporting requirements.
     (4) of this section.
                                                                 *      *    *      *    *                                 *      *    *    *     *
     *      *     *    *      *
       (4) The specific notification procedure                   Subpart M—National                                           (c) * * *
     of § 63.9(j) and (k) relating to a change                   Perchloroethylene Air Emission                               (1) The owner or operator of an
     in major source status.                                     Standards for Dry Cleaning Facilities                     affected source that has an initial
                                                                                                                           startup before January 25, 1995, shall
     Subpart L—National Emission                                 ■ 16. Amend § 63.324 by adding                            notify the Administrator in writing that
     Standards for Coke Oven Batteries                           paragraph (g) to read as follows:                         the source is subject to this subpart. The
                                                                                                                           notification shall be submitted no later
     ■ 15. Amend § 63.311 by revising
                                                                 § 63.324 Reporting and recordkeeping                      than 180 calendar days after January 25,
                                                                 requirements.                                             1995, or no later than 120 days after the
     paragraph (a) to read as follows:
                                                                 *        *      *        *       *                        source becomes subject to this subpart,


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     whichever is later, and shall contain the                            ■ 18. Amend table 1 to subpart N of part                       for §§ 63.1(c)(6) and 63.9(k) to read as
     following information:                                               63 by adding in numerical order entries                        follows:
     *     *    *     *    *

                               TABLE 1 TO SUBPART N OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART N
          General provisions reference                               Applies to subpart N                                                           Comment


               *                                *                             *                         *                          *                         *                   *
     63.1(c)(6) ........................................    Yes.

               *                                 *                            *                                 *                   *                        *                   *
     63.9(k) ............................................   Yes ................................................. Only as specified in § 63.9(j).

                  *                              *                            *                         *                          *                         *                   *



     Subpart O—Ethylene Oxide Emissions                                   entries for §§ 63.1(c)(6) and 63.9(k) to
     Standards for Sterilization Facilities                               read as follows:

     ■ 19. Amend § 63.360 in table 1 of                                   § 63.360      Applicability.
     § 63.360 by adding in numerical order                                *        *       *       *         *
                                              TABLE 1 OF § 63.360—GENERAL PROVISIONS APPLICABILITY TO SUBPART O
                                                            Applies to sources using 10 tons                 Applies to sources using 1 to 10
                       Reference                                                                                                                                     Comment
                                                                      in subpart O a                                tons in subpart O a


               *                                *                             *                         *                          *                         *                   *
     63.1(c)(6) .......................................                                                Yes

               *                                 *                            *                         *                          *                       *                     *
     63.9(k) ...........................................                                               Yes                                              Only as specified in § 63.9(j).

                  *                              *                            *                         *                          *                         *                   *
         a See definition.




     *        *        *        *         *                               September 8, 1994, or no later than 120                           (b) * * *
                                                                          days after the source becomes subject to                          (1) In accordance with § 63.9(h) of
     Subpart Q—National Emission                                          this subpart, whichever is later, shall
     Standards for Hazardous Air Pollutants                                                                                              subpart A, owners or operators of
                                                                          provide the following information:                             affected IPCT’s shall submit to the
     for Industrial Process Cooling Towers                                *      *     *    *      *                                     Administrator a notification of
     ■ 20. Amend § 63.405 by revising
                                                                             (2) In accordance with § 63.9(b) of                         compliance status within 60 days of the
     paragraphs (a)(1) introductory text,                                 subpart A, owners or operators of all                          date on which the IPCT is brought into
     (a)(2), and (b)(1) to read as follows:                               affected IPCT’s that have an initial
                                                                                                                                         compliance with § 63.402 of this subpart
                                                                          startup on or after September 8, 1994,
                                                                                                                                         and not later than 18 months after
     § 63.405         Notification requirements.                          shall notify the Administrator in writing
                                                                                                                                         September 8, 1994, or no later than 120
        (a) * * *                                                         that the source is subject to the relevant
        (1) In accordance with § 63.9(b) of                               standard no later than 12 months after                         days after the source becomes subject to
     subpart A, owners or operators of all                                initial startup or no later than 120 days                      this subpart, whichever is later.
     affected IPCT’s that have an initial                                 after the source becomes subject to this                       *      *     *    *    *
     startup before September 8, 1994, shall                              subpart, whichever is later. The                               ■ 21. Amend table 1 to subpart Q of part
     notify the Administrator in writing. The                             notification shall provide all the
                                                                                                                                         63 by revising the entry for § 63.9 to
     notification, which shall be submitted                               information required in paragraphs
                                                                                                                                         read as follows:
     not later than 12 months after                                       (a)(1)(i) through (iv) of this section.

                               TABLE 1 TO SUBPART Q OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART Q
                       Reference                                     Applies to subpart Q                                                           Comment


                *                    *                                        *                                 *                    *                       *                   *
     63.9(a), (b)(1), (b)(3), (c), (h)(1),                  Yes ................................................. § 63.9(k) only as specified in 63.9(j).
       (h)(3), (h)(6), (j), and (k).

                  *                              *                            *                         *                          *                         *                   *




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     Subpart R—National Emission                                          for §§ 63.1(c)(6) and 63.9(k) to read as
     Standards for Gasoline Distribution                                  follows:
     Facilities (Bulk Gasoline Terminals and
     Pipeline Breakout Stations)

     ■ 22. Amend table 1 to subpart R of part
     63 by adding in numerical order entries

                               TABLE 1 TO SUBPART R OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART R
                       Reference                                     Applies to subpart R                                                           Comment


               *                                *                            *                          *                          *                         *             *
     63.1(c)(6) ........................................    Yes.

               *                                 *                            *                                 *                   *                        *             *
     63.9(k) ............................................   Yes ................................................. Only as specified in § 63.9(j).

                  *                              *                           *                          *                          *                         *             *



     Subpart S—National Emission                                          § 63.455      Reporting requirements.                          of this part shall be submitted by April
     Standards for Hazardous Air Pollutants                                 (a) Each owner or operator of a source                       15, 1999, or no later than 120 days after
     From the Pulp and Paper Industry                                     subject to this subpart shall comply                           the source becomes subject to this
                                                                          with the reporting requirements of                             subpart, whichever is later.
     ■ 23. Amend § 63.455 by revising                                     subpart A of this part as specified in                         *     *     *     *     *
     paragraph (a) to read as follows:                                    Table 1 to subpart S of part 63 and all                        ■ 24. Amend table 1 to subpart S of part
                                                                          the following requirements in this                             63 by adding in numerical order entries
                                                                          section. The initial notification report                       for §§ 63.1(c)(6) and 63.9(k) to read as
                                                                          specified under § 63.9(b)(2) of subpart A                      follows:

                              TABLE 1 TO SUBPART S OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART S a
                       Reference                                     Applies to subpart S                                                           Comment


               *                                *                            *                          *                          *                         *             *
     63.1(c)(6) ........................................    Yes.

               *                                 *                            *                                 *                   *                        *             *
     63.9(k) ............................................   Yes ................................................. Only as specified in § 63.9(j).

                  *                              *                           *                          *                          *                         *             *
        a Wherever subpart A specifies ‘‘postmark’’ dates, submittals may be sent by methods other than the U.S. Mail (e.g., by fax or courier). Submit-
     tals shall be sent by the specified dates, but a postmark is not required.


     Subpart T—National Emission                                            (b) Each owner or operator of a new                          report shall include all of the
     Standards for Halogenated Solvent                                    solvent cleaning machine subject to the                        information required in § 63.5(d)(1) of
     Cleaning                                                             provisions of this subpart shall submit                        subpart A (General Provisions), with the
                                                                          an initial notification report to the                          revisions and additions in paragraphs
     ■ 25. Amend § 63.468 by revising the                                 Administrator. New sources for which                           (b)(1) through (b)(3) of this section.
     introductory text of paragraphs (a), (b),                            construction or reconstruction had                             *      *    *     *     *
     (c), and (d) to read as follows:                                     commenced and initial startup had not                             (c) Each owner or operator of a batch
                                                                          occurred before December 2, 1994, shall                        cold solvent cleaning machine subject to
     § 63.468         Reporting requirements.                             submit this report as soon as practicable                      the provisions of this subpart shall
                                                                          before startup but no later than January                       submit a compliance report to the
       (a) Each owner or operator of an
                                                                          31, 1995, or no later than 120 days after                      Administrator. For existing sources, this
     existing solvent cleaning machine
                                                                          the source becomes subject to this                             report shall be submitted to the
     subject to the provisions of this subpart
                                                                          subpart, whichever is later. New sources                       Administrator no later than 150 days
     shall submit an initial notification
                                                                          for which the construction or                                  after the compliance date specified in
     report to the Administrator no later than
                                                                          reconstruction commenced after                                 § 63.460(d), or no later than 120 days
     August 29, 1995, or no later than 120                                December 2, 1994, shall submit this                            after the source becomes subject to this
     days after the source becomes subject to                             report as soon as practicable before the                       subpart, whichever is later. For new
     this subpart, whichever is later. This                               construction or reconstruction is                              sources, this report shall be submitted to
     report shall include the information                                 planned to commence or for sources                             the Administrator no later than 150 days
     specified in paragraphs (a)(1) through                               which reclassify to major source status,                       after startup or May 1, 1995, or no later
     (6) of this section.                                                 no later than 120 days after the source                        than 120 days after the source becomes
     *      *     *    *    *                                             becomes subject to this subpart. This                          subject to this subpart, whichever is


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     later. This report shall include the                                    machine. For existing sources, this                                      than 120 days after the source becomes
     requirements specified in paragraphs                                    report shall be submitted to the                                         subject to this subpart, whichever is
     (c)(1) through (4) of this section.                                     Administrator no later than 150 days                                     later. This statement shall include the
     *      *    *     *     *                                               after the compliance date specified in                                   requirements specified in paragraphs
        (d) Each owner or operator of a batch                                § 63.460(d), or no later than 120 days                                   (d)(1) through (6) of this section.
     vapor or in-line solvent cleaning                                       after the source becomes subject to this                                 *      *    *     *     *
     machine complying with the provisions                                   subpart, whichever is later. For new                                     ■ 26. Amend appendix B to subpart T of
     of § 63.463 shall submit to the                                         sources, this report shall be submitted to                               part 63 by adding in numerical order
     Administrator an initial statement of                                   the Administrator no later than 150 days                                 entries for §§ 63.1(c)(6) and 63.9(k) to
     compliance for each solvent cleaning                                    after startup or May 1, 1995, or no later                                read as follows:

                            APPENDIX B TO SUBPART T OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART T
                                                                                                Applies to subpart T
                      Reference                                                                                                                                                            Comments
                                                                                 BCC                                                    BVI


               *                                *                             *                                *                                *                            *                          *
     63.1(c)(6) .......................................    Yes ................................................ Yes.

               *                                 *                            *                                *                           *                               *                     *
     63.9(k) ...........................................   Yes ................................................ Yes ................................................    Only as specified in § 63.9(j).

                  *                              *                              *                             *                                 *                            *                          *



     *        *        *        *         *                                   TABLE 1 TO SUBPART U OF PART 63— TABLE 1 TO SUBPART U OF PART 63—
                                                                               APPLICABILITY OF GENERAL PROVI-  APPLICABILITY OF GENERAL PROVI-
     Subpart U—National Emission                                               SIONS TO SUBPART U AFFECTED      SIONS TO SUBPART U AFFECTED
     Standards for Hazardous Air Pollutant
                                                                               SOURCES                          SOURCES—Continued
     Emissions: Group I Polymers and
     Resins                                                                                             Applies to                                                                 Applies to
                                                                                Reference                                        Explanation              Reference                                   Explanation
                                                                                                        subpart U                                                                  subpart U
     ■ 27. Amend table 1 to subpart U of part
     63 by adding in numerical order an                                                                                                                    *             *             *          *           *
     entry for § 63.1(c)(6), revising the entry                                 *          *                  *              *              *
                                                                             § 63.1(c)(6) ...        Yes.                                             *        *         *         *       *
     for § 63.9(j), and adding in numerical
     order an entry for § 63.9(k) to read as                                                                                                          Subpart W—National Emission
                                                                                *            *              *                *          *
     follows:                                                                                                                                         Standards for Hazardous Air Pollutants
                                                                             § 63.9(j) ........      Yes ...............     For change in
                                                                                                                               major                  for Epoxy Resins Production and Non-
                                                                                                                               source sta-            Nylon Polyamides Production
                                                                                                                               tus only.
                                                                             § 63.9(k) .......       Yes ...............     Only as spec-            ■ 28. Amend table 1 to subpart W of
                                                                                                                               ified in               part 63 by adding in numerical order
                                                                                                                               § 63.9(j).             entries for §§ 63.1(c)(6) and 63.9(k) to
                                                                                                                                                      read as follows:

                              TABLE 1 TO SUBPART W OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART W
                                                                                                Applies to subpart W

                                                                                                                                        WSR alternative standard,
                  Reference                                                                                                             and BLR equipment leak                                 Comment
                                                                 BLR                                        WSR                                standard
                                                                                                                                        (40 CFR part 63, subpart
                                                                                                                                                  H)


               *                                 *                             *                             *                              *                                *                          *
     § 63.1(c)(6) .........................      Yes ....................................   Yes ....................................    Yes.

               *                                 *                             *                             *                             *                                 *                       *
     § 63.9(k) .............................     Yes ....................................   Yes ....................................    Yes ....................................    Only as specified in
                                                                                                                                                                                     § 63.9(j).

                  *                              *                              *                             *                                 *                            *                          *




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     Subpart X—National Emission                          shall notify the Administrator in writing                                                   ■ 31. Amend table 1 of § 63.560 by
     Standards for Hazardous Air Pollutants               that the source is subject to the relevant                                                  adding in numerical order entries for
     From Secondary Lead Smelting                         standard. The notification shall be                                                         §§ 63.1(c)(6) and 63.9(k) to read as
                                                          submitted not later than 365 days after                                                     follows:
     ■ 29. Amend table 1 to subpart X of part             the effective date of the emissions
     63 by adding in numerical order an                   standards or no later than 120 days after                                                   § 63.560 Applicability and designation of
     entry for § 63.9(k) to read as follows:              the source becomes subject to this                                                          affected sources.
                                                          subpart, whichever is later, and shall                                                      *         *        *           *        *
      TABLE 1 TO SUBPART X OF PART 63— provide the following information:
        GENERAL PROVISIONS APPLICABILITY *                       *     *      *     *                                                                   TABLE 1 TO § 63.560—GENERAL PRO-
        TO SUBPART X                                         (3) Initial notification for sources with                                                   VISIONS APPLICABILITY TO SUBPART
                                                          startup after the effective date. The                                                          Y
                         Applies to
       Reference                              Comment     owner or operator of a new or
                          subpart X
                                                          reconstructed source or a source that                                                                                     Applies to
                                                          has been reconstructed such that it is                                                                                     affected
                                                                                                                                                          Reference                                         Comment
         *           *         *            *          *                                                                                                                            sources in
                                                          subject to the emissions standards that                                                                                   subpart Y
     63.9(k) .......... Yes ............... Only as spec- has an initial startup after the effective
                                              ified in    date but before the compliance date, and
                                              63.9(j).
                                                          for which an application for approval of                                                        *           *                   *             *        *
         *           *         *            *          *  construction or reconstruction is not                                                        63.1(c)(6) ......          Yes.
                                                          required under § 63.5(d) of subpart A of
     *      *        *    *        *                      this part and § 63.566 of this subpart, or                                                      *            *                 *              *          *
                                                          a sources which reclassifies to major                                                        63.9(k) ..........         Yes ...............   Only as spec-
     Subpart Y–National Emission                          source status after the effective date,                                                                                                         ified in
     Standards for Marine Tank Vessel                     shall notify the Administrator in writing                                                                                                       § 63.9(j).
     Loading Operations                                   that the source is subject to the standard
                                                          no later than 365 days, 120 days after                                                            *             *               *             *        *
     ■ 30.Amend § 63.567 by revising                      initial startup, or no later than 120 days
     paragraphs (b)(2) introductory text and              after the source becomes subject to this                                                    Subpart AA—National Emission
     (b)(3) to read as follows:                           subpart, whichever occurs before                                                            Standards for Hazardous Air Pollutants
     § 63.567 Recordkeeping and reporting                 notification of the initial performance                                                     From Phosphoric Acid Manufacturing
     requirements.                                        test in § 63.9(e) of subpart A of this part.                                                Plants
     *      *        *    *        *                      The notification shall provide all the
        (b) * * *                                         information required in paragraph (b)(2)
                                                                                                                                                      ■ 32. Amend appendix A to subpart AA
        (2) Initial notification for sources with of this section, delivered or postmarked                                                            of part 63 by adding in numerical order
     startup before the effective date. The               with the notification required in
                                                                                                                                                      entries for §§ 63.1(c)(6) and 63.9(k) to
     owner or operator of a source with                   paragraph (b)(4) of this section.
                                                                                                                                                      read as follows:
     initial startup before the effective date            *      *     *      *     *

      APPENDIX A TO SUBPART AA OF PART 63—APPLICABILITY OF GENERAL PROVISIONS (40 CFR PART 63, SUBPART A) TO
                                                  SUBPART AA
                  40 CFR citation                                        Requirement                                       Applies to subpart AA                                              Comment


               *                               *                                *                                *                           *                             *                                 *
     § 63.1(c)(6) ....................................    ....................................................... Yes ................................................   None.

               *                                *                               *                                *                           *                              *                     *
     § 63.9(k) ........................................   ....................................................... Yes ................................................   Only as specified in § 63.9(j).

                  *                             *                              *                              *                               *                               *                              *



     Subpart BB—National Emission                                          entries for §§ 63.1(c)(6) and 63.9(k) to
     Standards for Hazardous Air Pollutants                                read as follows:
     From Phosphate Fertilizers Production
     Plants

     ■ 33. Amend appendix A to subpart BB
     of part 63 by adding in numerical order




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      APPENDIX A TO SUBPART BB OF PART 63—APPLICABILITY OF GENERAL PROVISIONS (40 CFR PART 63, SUBPART A) TO
                                                  SUBPART BB
                   40 CFR citation                                          Requirement                                       Applies to subpart BB                                      Comment


               *                               *                                   *                                *                           *                             *                      *
     § 63.1(c)(6) ....................................       ....................................................... Yes ................................................   None.

               *                                *                                  *                                *                           *                              *                     *
     § 63.9(k) ........................................      ....................................................... Yes ................................................   Only as specified in § 63.9(j).

                   *                              *                               *                              *                               *                              *                    *



     Subpart CC–National Emission                                             numerical order an entry for § 63.1(c)(6)                                  Appendix to Subpart CC of Part 63–
     Standards for Hazardous Air Pollutants                                   revising the entry for § 63.9(j), and                                      Tables
     From Petroleum Refineries                                                adding in numerical order an entry for                                     *         *        *       *     *
                                                                              § 63.9(k) to read as follows:
     ■ 34. Amend appendix to subpart CC of
     part 63 in table 6 by adding in

                                                      TABLE 6—GENERAL PROVISIONS APPLICABILITY TO SUBPART CC a
                       Reference                                       Applies to subpart CC                                                                        Comment


               *                                *                                 *                              *                               *                              *                    *
     63.1(c)(6) ........................................     Yes.

                *                                 *                            *                                 *                   *                                          *                    *
     63.9(j) .............................................   Yes .................................................
     63.9(k) ............................................    Yes ................................................. Only as specified in § 63.9(j).

                   *                              *                               *                              *                               *                              *                    *
         a Wherever subpart A specifies ‘‘postmark’’ dates, submittals may be sent by methods other than the U.S. Mail (e.g., by fax or courier). Submit-
     tals shall be sent by the specified dates, but a postmark is not required.


     *        *        *         *         *                                  § 63.697         Reporting requirements.                                   the required notification on or before
                                                                                 (a) * * *                                                               October 19, 1999, or no later than 120
     Subpart DD—National Emission                                                                                                                        days after the source becomes subject to
                                                                                 (1) The owner or operator of an
     Standards for Hazardous Air Pollutants                                                                                                              this subpart, whichever is later.
                                                                              affected source must submit notices to
     From Off-Site Waste and Recovery                                         the Administrator in accordance with                                       *     *     *     *     *
     Operations                                                               the applicable notification requirements                                   ■ 36. Amend table 2 to subpart DD of
                                                                              in 40 CFR 63.9 as specified in Table 2                                     part 63 by adding in numerical order an
     ■ 35. Amend § 63.697 by revising                                         of this subpart. For the purpose of this                                   entry for § 63.1(c)(6) in numerical order,
     paragraph (a)(1) introductory text to                                    subpart, an owner or operator subject to                                   revising the entry for § 63.9(j), and
     read as follows:                                                         the initial notification requirements                                      adding in numerical order an entry for
                                                                              under 40 CFR 63.9(b)(2) must submit                                        § 63.9(k) to read as follows:

         TABLE 2 TO SUBPART DD OF PART 63—APPLICABILITY OF PARAGRAPHS IN SUBPART A OF THIS PART 63—GENERAL
                                            PROVISIONS TO SUBPART DD
                Subpart A reference                                    Applies to subpart DD                                                                      Explanation


               *                                *                                 *                              *                               *                              *                    *
     63.1(c)(6) ........................................     Yes.

                *                                 *                            *                                 *                   *                   *                                           *
     63.9(j) .............................................   Yes ................................................. For change in major source status only.
     63.9(k) ............................................    Yes ................................................. Only as specified in § 63.9(j).

                   *                              *                               *                              *                               *                              *                    *




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     *        *        *        *         *                               Subpart EE–National Emission                                   63.9(b)(2) and adding in numerical
                                                                          Standards for Magnetic Tape                                    order entries for §§ 63.1(c)(6) and
                                                                          Manufacturing Operations                                       63.9(k) to read as follows:

                                                                          ■ 37. Amend table 1 to subpart EE of
                                                                          part 63 by revising the entry for

                           TABLE 1 TO SUBPART EE OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART EE
                       Reference                                    Applies to subpart EE                                                           Comment


               *                                *                            *                          *                          *                         *               *
     63.1(c)(6) ........................................    Yes.

               *                               *                              *                                 *                     *                        *                    *
     63.9(b)(2) .......................................     Yes ................................................. § 63.753(a)(1) requires submittal of the initial notification at least 1
                                                                                                                     year prior to the compliance date or as specified in § 63.9(b)(2);
                                                                                                                     § 63.753(a)(2) allows a title V or part 70 permit application to be
                                                                                                                     substituted for the initial notification in certain circumstances.

               *                                 *                            *                                 *                   *                        *               *
     63.9(k) ............................................   Yes ................................................. Only as specified in § 63.9(j).

                  *                              *                           *                          *                          *                         *               *



     Subpart GG–National Emission                                         entries for §§ 63.1(c)(6) and 63.9(k) to
     Standards for Aerospace                                              read as follows:
     Manufacturing and Rework Facilities

     ■ 38. Amend table 1 to subpart GG of
     part 63 by adding in numerical order

                            TABLE 1 TO SUBPART GG OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART GG
                                                               Applies to affected sources in
                       Reference                                                                                                                    Comment
                                                                        subpart GG


               *                                *                            *                          *                          *                         *               *
     63.1(c)(6) ........................................    Yes.

               *                                 *                            *                                 *                   *                        *               *
     63.9(k) ............................................   Yes ................................................. Only as specified in § 63.9(j).

                  *                              *                           *                          *                          *                         *               *



     Subpart HH—National Emission                                         hydrocarbon liquid throughput, the                             source from limiting its potential to emit
     Standards for Hazardous Air Pollutants                               owner or operator of a new or existing                         through other appropriate mechanisms
     From Oil and Natural Gas Production                                  source may use the facility’s design                           that may be available through the
     Facilities                                                           maximum natural gas or hydrocarbon                             permitting authority.
                                                                          liquid throughput to estimate the                              *     *    *     *     *
     ■ 39. Amend § 63.760 by revising                                     maximum potential emissions. Other                             ■ 40. Amend § 63.775 by revising
     paragraph (a)(1) introductory text to                                means to determine the facility’s major                        paragraph (c)(1) to read as follows:
     read as follows:                                                     source status are allowed, provided the
                                                                          information is documented and                                  § 63.775     Reporting requirements.
     § 63.760 Applicability and designation of                            recorded to the Administrator’s
     affected source.
                                                                                                                                         *      *     *     *     *
                                                                          satisfaction in accordance with                                   (c) * * *
       (a) * * *                                                          § 63.10(b)(3). A facility that is                                 (1) The initial notifications required
       (1) Facilities that are major or area                              determined to be an area source, but                           under § 63.9(b)(2) not later than January
     sources of hazardous air pollutants                                  subsequently increases its emissions or                        3, 2008, or no later than 120 days after
     (HAP) as defined in § 63.761. Emissions                              its potential to emit above the major                          the source becomes subject to this
     for major source determination purposes                              source levels, and becomes a major                             subpart, whichever is later. In addition
     can be estimated using the maximum                                   source, must comply with all provisions                        to submitting your initial notification to
     natural gas or hydrocarbon liquid                                    of this subpart applicable to a major                          the addressees specified under § 63.9(a),
     throughput, as appropriate, calculated                               source starting on the applicable                              you must also submit a copy of the
     in paragraphs (a)(1)(i) through (iii) of                             compliance date specified in paragraph                         initial notification to the EPA’s Office of
     this section. As an alternative to                                   (f) of this section. Nothing in this                           Air Quality Planning and Standards.
     calculating the maximum natural gas or                               paragraph is intended to preclude a                            Send your notification via email to Oil


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     and Gas Sector@epa.gov or via U.S. mail                                  TABLE 2 TO SUBPART HH OF PART  Subpart II—National Emission
     or other mail delivery service to U.S.                                    63—APPLICABILITY OF 40 CFR Standards for Shipbuilding and Ship
     EPA, Sector Policies and Programs                                         PART 63 GENERAL PROVISIONS TO Repair (Surface Coating)
     Division/Fuels and Incineration Group                                     SUBPART HH
     (E143–01), Attn: Oil and Gas Project                                                                                                    ■ 42. Amend table 1 to subpart II of part
     Leader, Research Triangle Park, NC                                        General                                                       63 by removing the entry for § 63.9(i)–
                                                                                                   Applicable to
     27711.                                                                   provisions                                     Explanation     (j) and adding in its place § 63.9(i)–(k).
                                                                                                    subpart HH
                                                                              reference
     *     *    *     *     *                                                                                                                   The addition reads as follows:
     ■ 41. Amend appendix to subpart HH of
                                                                             *          *                  *             *           *
     part 63 in table 2 by adding in                                      § 63.1(c)(6) ...         Yes.
     numerical order entries for §§ 63.1(c)(6)
     and 63.9(k) to read as follows:                                         *           *                *              *          *
                                                                          § 63.9(k) .......        Yes ...............   Only as spec-
     Appendix to Subpart HH of Part 63—                                                                                    ified in
     Tables                                                                                                                § 63.9(j).
     *        *        *        *         *                                       *           *            *             *           *

                             TABLE 1 TO SUBPART II OF PART 63—GENERAL PROVISIONS OF APPLICABILITY TO SUBPART II
                       Reference                                     Applies to subpart II                                                          Comment


               *                                *                             *                                 *                    *                      *                  *
     63.9(i)–(k) .......................................    Yes ................................................. § 63.9(k) only as specified in § 63.9(j).

                  *                              *                            *                            *                             *                   *                 *



     Subpart JJ—National Emission                                         adding in numerical order entries for
     Standards for Wood Furniture                                         §§ 63.1(c)(6) and 63.9(k) to read as
     Manufacturing Operations                                             follows:

     ■ 43. Amend table 1 to subpart JJ of part
     63 by revising the entry for § 63.9(b) and

                              TABLE 1 TO SUBPART JJ OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART JJ
                       Reference                                     Applies to subpart JJ                                                          Comment


               *                                *                             *                            *                             *                   *                 *
     63.1(c)(6) ........................................    Yes.

               *                                 *                            *                                 *                   *                   *                        *
     63.9(b) ............................................   Yes ................................................. Existing sources are required to submit initial notification report within
                                                                                                                    270 days of the effective date or no later than 120 days after the
                                                                                                                    source becomes subject to this subpart, whichever is later.

               *                                 *                            *                                 *                   *                        *                 *
     63.9(k) ............................................   Yes ................................................. Only as specified in 63.9(j).

                  *                              *                            *                            *                             *                   *                 *



     Subpart KK—National Emission                                         § 63.830          Reporting requirements.                          one year before the compliance date
     Standards for the Printing and                                       *      *     *     *     *                                         specified in § 63.826(a), or no later than
     Publishing Industry                                                    (b) * * *                                                        120 days after the source becomes
                                                                            (1) * * *                                                        subject to this subpart, whichever is
     ■ 44. Amend § 63.830 by revising                                       (i) Initial notifications for existing                           later.
     (b)(1)(i) to read as follows:                                        sources shall be submitted no later than                           *      *    *     *     *
                                                                                                                                             ■ 45. Amend table 1 to subpart KK of
                                                                                                                                             part 63 by adding in numerical order
                                                                                                                                             entries for §§ 63.1(c)(6) and 63.9(k) to
                                                                                                                                             read as follows:




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                          TABLE 1 TO SUBPART KK OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART KK
                 General provisions                               Applicable to subpart KK                                                       Comment
                    reference


               *                               *                              *                        *                          *                       *                      *
     § 63.1(c)(6) .....................................    Yes.

               *                                *                            *                                 *                   *                      *                      *
     § 63.9(k) .........................................   Yes ................................................. Only as specified in 63.9(j).

                  *                              *                            *                        *                          *                       *                      *



     Subpart LL—National Emission                                         entries for §§ 63.1(c)(6) and 63.9(k) to
     Standards for Hazardous Air Pollutants                               read as follows:
     for Primary Aluminum Reduction
     Plants

     ■ 46. Amend appendix A to subpart LL
     of part 63 adding in numerical order

                                      APPENDIX A TO SUBPART LL OF PART 63—APPLICABILITY OF GENERAL PROVISIONS
              Reference sections(s)                                     Requirement                              Applies to subpart LL                              Comment


               *                                *                         *                              *                        *                       *                      *
     63.1(c)(6) .......................................    Reclassification ............................. Yes.

               *                                 *                       *                     *                           *                              *                     *
     63.9(k) ...........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                              *                            *                        *                          *                       *                      *



     Subpart MM—National Emission                                         entries for §§ 63.1(c)(6) and 63.9(k) to
     Standards for Hazardous Air Pollutants                               read as follows:
     for Chemical Recovery Combustion
     Sources at Kraft, Soda, Sulfite, and
     Stand-Alone Semichemical Pulp Mills

     ■ 47. Amend table 1 to subpart MM of
     part 63 by adding in numerical order

                           TABLE 1 TO SUBPART MM OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART MM
                General provisions                                       Summary of                              Applies to subpart MM                             Explanation
                   reference                                            requirements


               *                                *                         *                              *                        *                       *                      *
     63.1(c)(6) .......................................    Reclassification ............................. Yes.

               *                                 *                       *                     *                           *                              *                     *
     63.9(k) ...........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                              *                            *                        *                          *                       *                      *



     Subpart YY—National Emission                                         § 63.1100      Applicability.                                 applicable provisions of § 63.9(j) and (k)
     Standards for Hazardous Air Pollutants                               *      *   *     *     *                                      apply. Beginning no later than the
     for Source Categories: Generic                                          (b) Subpart A requirements. The                            compliance dates specified in
     Maximum Achievable Control                                           following provisions of subpart A of this                     § 63.1102(c), for ethylene production
     Technology Standards                                                 part (General Provisions), §§ 63.1                            affected sources, §§ 63.7(a)(4), (c), (e)(4),
                                                                          through 63.5, and §§ 63.12 through                            and (g)(2) and 63.10(b)(2)(vi) also apply.
     ■ 48. Amend § 63.1100 by revising                                    63.15, apply to owners or operators of                        *     *     *     *    *
     paragraph (b) to read as follows:                                    affected sources subject to this subpart.
                                                                          For sources that reclassify from major
                                                                          source to area source status, the


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     Subpart CCC—National Emission                                           days after the source becomes subject to                                      TABLE 1 TO SUBPART CCC OF PART
     Standards for Hazardous Air Pollutants                                  this subpart, whichever is later. The                                          63—APPLICABILITY OF GENERAL
     for Steel Pickling—HCl Process                                          notification shall contain the                                                 PROVISIONS (40 CFR PART 63,
     Facilities and Hydrochloric Acid                                        information specified in §§ 63.9(b)(2)(i)                                      SUBPART A) TO SUBPART CCC—
     Regeneration Plants                                                     through (v) of subpart A of this part,                                         Continued
                                                                             delivered or postmarked with the
     ■ 49. Amend § 63.1163 by revising
                                                                             notification required in § 63.9(b)(5) of                                                                Applies to
     paragraph (a)(3) to read as follows:                                    subpart A of this part.
                                                                                                                                                            Reference               subpart CCC               Explanation

     § 63.1163         Notification requirements.                            *     *     *    *      *                                                      *             *                *              *           *
        (a) * * *                                                                                                                                        63.9(j) ...........        Yes.
                                                                             ■ 50. Amend table 1 to subpart CCC of
        (3) As required by § 63.9(b)(3) of                                                                                                               63.9(k) ..........         Yes ...............   Only as spec-
                                                                             part 63 by adding in numerical order
     subpart A of this part, the owner or                                                                                                                                                                  ified in
     operator of a new or reconstructed                                      entries for §§ 63.9(j) and 63.9(k) to read                                                                                    § 63.9(j).
     affected source, or a source that has                                   as follows:
     been reconstructed such that it is an                                                                                                                    *             *               *             *           *
     affected source, that has an initial                                       TABLE 1 TO SUBPART CCC OF PART
     startup after the effective date and for                                    63—APPLICABILITY OF GENERAL Subpart DDD—National Emission
     which an application for approval of                                        PROVISIONS (40 CFR PART 63, Standards for Hazardous Air Pollutants
     construction or reconstruction is not                                       SUBPART A) TO SUBPART CCC     for Mineral Wool Production
     required under § 63.5(d) of subpart A of
     this part, shall notify the Administrator                                                          Applies to                                       ■ 51. Amend table 1 to subpart DDD of
                                                                                Reference                                           Explanation
     in writing that the source is subject to                                                          subpart CCC                                       part 63 by adding in numerical order
     the standards no later than 120 days                                                                                                                entries for §§ 63.1(c)(6) and 63.9(k) to
     after initial startup, or no later than 120                                                                                                         read as follows:

       TABLE 1 TO SUBPART DDD OF PART 63—APPLICABILITY OF GENERAL PROVISIONS (40 CFR PART 63, SUBPART A) TO
                                           SUBPART DDD OF PART 63
                General provisions                                         Requirement                                     Applies to subpart DDD?                                           Explanation
                    citation


               *                               *                           *                              *                                       *                             *                               *
     § 63.1(c)(6) ....................................      Reclassification ............................. Yes.

               *                                *                                 *                                *                           *                              *                     *
     § 63.9(k) ........................................     ....................................................... Yes ................................................   Only as specified in § 63.9(j).

                   *                              *                              *                              *                                 *                             *                               *



     Subpart EEE—National Emission                                              TABLE 1 TO SUBPART EEE OF PART  Subpart GGG—National Emission
     Standards for Hazardous Air Pollutants                                      63—GENERAL PROVISIONS APPLICA- Standards for Pharmaceuticals
     from Hazardous Waste Combustors                                             BLE TO SUBPART EEE             Production

     ■ 52. Amend table 1 to subpart EEE of                                                               Applies to                                      ■ 53. Amend table 1 to subpart GGG of
                                                                                Reference                                           Explanation
     part 63 by adding in numerical order an                                                            subpart EEE                                      part 63 is amended by adding in
     entry for § 63.9(k) to read as follows:                                                                                                             numerical order an entry for § 63.1(c)(6),
                                                                                 *            *               *                 *          *             revising the entry for § 63.9(j), and
                                                                              63.9(k) ..........       Yes ...............      Only as spec-            adding in numerical order an entry for
                                                                                                                                  ified in               § 63.9(k) to read as follows:
                                                                                                                                  § 63.9(j).

                                                                                     *           *              *               *             *

                         TABLE 1 TO SUBPART GGG OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART GGG
                General provisions                                          Summary of                                     Applies to subpart GGG                                               Comments
                   reference                                               requirements


               *                                *                          *                              *                                       *                             *                               *
     63.1(c)(6) .......................................     Reclassification ............................. Yes.

                *                                 *                       *                    *                           *                                                  *                     *
     63.9(j) ............................................   Change in information provided .... Yes ................................................                       For change in major source status
                                                                                                                                                                             only.
     63.9(k) ...........................................    Electronic reporting procedures ....                    Yes ................................................   Only as specified in § 63.9(j).

                   *                              *                              *                              *                                 *                             *                               *



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     Subpart HHH—National Emission                                             storage source category. A facility that is                               Subpart III—National Emission
     Standards for Hazardous Air Pollutants                                    determined to be an area source, but                                      Standards for Hazardous Air Pollutants
     From Natural Gas Transmission and                                         subsequently increases its emissions or                                   for Flexible Polyurethane Foam
     Storage Facilities                                                        its potential to emit above the major                                     Production
                                                                               source levels (without obtaining and
     ■ 54. Amend § 63.1270 by revising                                         complying with other limitations that                                     ■ 56. Amend table 1 to subpart III of
     paragraph (a) introductory text to read                                   keep its potential to emit HAP below
     as follows:                                                                                                                                         part 63 by adding in numerical order an
                                                                               major source levels), and becomes a
                                                                                                                                                         entry for § 63.9(k) to read as follows:
     § 63.1270 Applicability and designation of
                                                                               major source, must comply with all
     affected source.                                                          applicable provisions of this subpart
                                                                               starting on the applicable compliance                                        TABLE 1 TO SUBPART III OF PART
        (a) This subpart applies to owners and                                                                                                              63—APPLICABILITY GENERAL PROVI-
                                                                               date specified in paragraph (d) of this
     operators of natural gas transmission                                                                                                                  SIONS (40 CFR PART 63, SUBPART
                                                                               section. Nothing in this paragraph is
     and storage facilities that transport or
                                                                               intended to preclude a source from                                           A) TO SUBPART III
     store natural gas prior to entering the
                                                                               limiting its potential to emit through
     pipeline to a local distribution company
                                                                               other appropriate mechanisms that may                                        Subpart A              Applies to              Comment
     or to a final end user (if there is no local                                                                                                           reference              Subpart III
                                                                               be available through the permitting
     distribution company), and that are
                                                                               authority.
     major sources of hazardous air
     pollutants (HAP) emissions as defined                                     *     *     *     *     *                                                    *           *               *              *          *
     in § 63.1271. Emissions for major source                                  ■ 55. Amend table 2 to subpart HHH of                                     § 63.9(k) .......       Yes ...............   Only as spec-
     determination purposes can be                                             part 63 by adding in numerical order                                                                                      ified in
     estimated using the maximum natural                                       entries for §§ 63.1(c)(6) and 63.9(k) to                                                                                  § 63.9(j).
     gas throughput calculated in either                                       read as follows:
     paragraph (a)(1) or (2) of this section                                                                                                                  *          *               *             *        *
     and paragraphs (a)(3) and (4) of this                                      APPENDIX: TABLE 2 TO SUBPART HHH
     section. As an alternative to calculating                                   OF PART 63-APPLICABILITY OF 40 Subpart JJJ—National Emission
     the maximum natural gas throughput,                                         CFR PART 63 GENERAL PROVISIONS Standards for Hazardous Air Pollutant
     the owner or operator of a new or                                           TO SUBPART HHH                  Emissions: Group IV Polymers and
     existing source may use the facility
                                                                                                                                                         Resins
     design maximum natural gas throughput                                         General              Applicable to
     to estimate the maximum potential                                            provisions                                        Explanation
                                                                                                        subpart HHH                                      ■ 57. Amend table 1 to subpart JJJ of
     emissions. Other means to determine                                          Reference
     the facility’s major source status are                                                                                                              part 63 is amended by adding in
     allowed, provided the information is                                                                                                                numerical order an entry for § 63.1(c)(6),
                                                                                  *          *                   *              *              *
     documented and recorded to the                                            § 63.1(c)(6) ...         Yes.
                                                                                                                                                         revising the entry for § 63.9(j), and
     Administrator’s satisfaction in                                                                                                                     adding in numerical order an entry for
     accordance with § 63.10(b)(3). A                                             *           *                *                *          *             § 63.9(k) to read as follows:
     compressor station that transports                                        § 63.9(k) .......        Yes ...............     Only as spec-
     natural gas prior to the point of custody                                                                                    ified in
     transfer or to a natural gas processing                                                                                      § 63.9(j).
     plant (if present) is not considered a                                           *            *             *              *              *
     part of the natural gas transmission and

      TABLE 1 TO SUBPART JJJ OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART JJJ AFFECTED SOURCES
                                   Reference                                                             Applies to Subpart JJJ                                                       Explanation


               *                               *                               *                                 *                                 *                         *                              *
     § 63.1(c)(6) ............................................................. Yes.

                *                                 *                               *                            *                                *                          *                       *
     § 63.9(j) ................................................................... Yes .........................................................................   For change in major source status only.
     § 63.9(k) .................................................................. Yes .........................................................................    Only as specified in § 63.9(j).

                   *                              *                               *                              *                                 *                         *                              *



     Subpart LLL—National Emission                                             entries for §§ 63.1(c)(6) and 63.9(k) to
     Standards for Hazardous Air Pollutants                                    read as follows:
     From the Portland Cement
     Manufacturing Industry
     ■ 58. Amend table 1 to subpart LLL of
     part 63 by adding in numerical order




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                                        TABLE 1 TO SUBPART LLL OF PART 63—APPLICABILITY OF GENERAL PROVISIONS
                        Citation                                           Requirement                                      Applies to subpart LLL                    Explanation


               *                                *                          *                              *                             *                      *                    *
     63.1(c)(6) .......................................     Reclassification ............................. Yes.

               *                                 *                        *                     *                           *                                *                     *
     63.9(k) ...........................................    Electronic reporting procedures .... Yes ................................................     Only as specified in § 63.9(j).

                  *                              *                              *                              *                        *                      *                    *



     Subpart MMM—National Emission                                           entry for § 63.1(c)(6), revising the entry
     Standards for Hazardous Air Pollutants                                  for § 63.9(j), and adding in numerical
     for Pesticide Active Ingredient                                         order an entry for § 63.9(k) to read as
     Production                                                              follows:
     ■ 59. Amend table 1 to subpart MMM of
     part 63 by adding in numerical order an

                        TABLE 1 TO SUBPART MMM OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART MMM
             Reference to subpart A                                 Applies to subpart MMM                                                           Explanation


               *                               *                                *                              *                        *                      *                    *
     § 63.1(c)(6) .....................................     Yes.

               *                                 *                            *                                 *                   *                     *                 *
     § 63.9(j) ..........................................   Yes ................................................. For change in major source status only, § 63.1368(h) specifies proce-
                                                                                                                    dures for other notification of changes.
     § 63.9(k) .........................................    Yes ................................................. Only as specified in § 63.9(j).

                  *                              *                              *                              *                        *                      *                    *



     Subpart NNN—National Emission                                           entries for §§ 63.1(c)(6) and 63.9(k) to
     Standards for Hazardous Air Pollutants                                  read as follows:
     for Wool Fiberglass Manufacturing
     ■ 60. Amend table 1 to subpart NNN of
     part 63 by adding in numerical order

       TABLE 1 TO SUBPART NNN OF PART 63—APPLICABILITY OF GENERAL PROVISIONS (40 CFR PART 63, SUBPART A) TO
                                                 SUBPART NNN
                General provisions                                         Requirement                                     Applies to subpart NNN?                    Explanation
                    citation


               *                               *                                  *                                *                    *                      *                    *
     § 63.1(c)(6) ....................................      ....................................................... Yes.

               *                                *                              *                                *                    *                         *                    *
     § 63.9(k) ........................................     Yes ................................................ Only as specified in § 63.9(j).

                  *                              *                              *                              *                        *                      *                    *



     Subpart OOO—National Emission                                           entry for § 63.1(c)(6), revising the entry
     Standards for Hazardous Air Pollutant                                   for § 63.9(j), and adding in numerical
     Emissions: Manufacture of Amino/                                        order an entry for § 63.9(k) to read as
     Phenolic Resins                                                         follows:
     ■ 61. Amend table 1 to subpart OOO of
     part 63 by adding in numerical order an




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            TABLE 1 TO SUBPART OOO OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART OOO AFFECTED
                                                      SOURCES
                                   Reference                                                            Applies to subpart OOO                                                   Explanation


               *                                *                               *                                *                               *                           *                  *
     63.1(c)(6) ................................................................ Yes.

                *                                 *                               *                            *                                *                          *                       *
     63.9(j) ..................................................................... Yes .........................................................................   For change in major source status only.
     63.9(k) .................................................................... Yes .........................................................................    Only as specified in § 63.9(j).

                   *                              *                                *                             *                               *                           *                  *



     Subpart PPP—National Emission                                             applicable compliance date specified in                                   planned to commence (but it need not
     Standards for Hazardous Air Pollutant                                     § 63.1422 for the equipment leak                                          be sooner than August 30, 1999). For a
     Emissions for Polyether Polyols                                           provisions. The Initial Notification shall                                new source that reclassifies to major
     Production                                                                be submitted no later than June 1, 2000,                                  source status after January 19, 2021, and
                                                                               or no later than 120 days after the                                       greater than 90 days after the initial
     ■ 62. Amend § 63.1434 by revising
                                                                               source becomes subject to this subpart,                                   start-up, the source shall submit the
     paragraphs (d) and (e) to read as follows:                                whichever is later, for existing sources.                                 initial notification required by 63.9(b)
     § 63.1434         Equipment leak provisions.                              *     *     *     *    *                                                  no later than 120 days after the source
     *     *     *     *     *                                                 ■ 63. Amend § 63.1439 by revising                                         becomes subject to this subpart.
       (d) When the HON equipment leak                                         paragraphs (e)(3)(ii)(B) and (C) to read as                                 (C) For a new source that has an
     Initial Notification requirements                                         follows:                                                                  initial start-up prior to August 30, 1999,
     contained in §§ 63.182(a)(1) and                                                                                                                    the Initial Notification shall be
                                                                               § 63.1439 General recordkeeping and                                       submitted no later than August 30,
     63.182(b) are referred to in 40 CFR part
                                                                               reporting provisions.                                                     1999, or no later than 120 days after the
     63, subpart H, the owner or operator
     shall comply with the Initial                                             *      *     *    *     *                                                 source becomes subject to this subpart,
     Notification requirements contained in                                      (e) * * *                                                               whichever is later. The application for
     § 63.1439(e)(3), for the purposes of this                                   (3) * * *                                                               approval of construction or
     subpart. The Initial Notification shall be                                  (ii) * * *                                                              reconstruction described in the General
     submitted no later than June 1, 2000, or                                    (B) For a new source that has an                                        Provisions’ requirements in § 63.5(d) is
     no later than 120 days after the source                                   initial start-up on or after August 30,                                   not required for these sources.
     becomes subject to this subpart,                                          1999, the application for approval of                                     *     *      *     *     *
     whichever is later, for existing sources.                                 construction or reconstruction required                                   ■ 64. Amend table 1 to subpart PPP of
       (e) The HON equipment leak                                              by the General Provisions in § 63.5(d)                                    part 63 by adding in numerical order an
     Notification of Compliance Status                                         shall be submitted in lieu of the Initial                                 entry for § 63.1(c)(6), revising the entry
     required by §§ 63.182(a)(2) and                                           Notification. The application shall be                                    for § 63.9(j), and adding in numerical
     63.182(c) shall be submitted within 150                                   submitted as soon as practical before                                     order an entry for § 63.9(k) to read as
     days (rather than 90 days) of the                                         construction or reconstruction is                                         follows:

             TABLE 1 TO SUBPART PPP OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART PPP AFFECTED
                                                       SOURCES
                                   Reference                                                            Applies to subpart PPP                                                   Explanation


               *                                *                               *                                *                               *                           *                  *
     63.1(c)(6) ................................................................ Yes.

                *                                 *                               *                            *                                *                          *                       *
     63.9(j) ..................................................................... Yes .........................................................................   For change in major source status only.
     63.9(k) .................................................................... Yes .........................................................................    Only as specified in § 63.9(j).

                   *                              *                                *                             *                               *                           *                  *



     Subpart QQQ—National Emission                                             smelter that is (or is part of) a major                                   HAP at a rate of 25 tons or more per
     Standards for Hazardous Air Pollutants                                    source of hazardous air pollutant (HAP)                                   year.
     for Primary Copper Smelting                                               emissions and your primary copper                                         ■ 66. Amend § 63.1454 by revising
                                                                               smelter uses batch copper converters as                                   paragraph (b) to read as follows:
     ■ 65. Revise § 63.1441 to read as
                                                                               defined in § 63.1459. Your primary                                        § 63.1454 What notifications must I submit
     follows:                                                                  copper smelter is a major source of HAP                                   and when?
     § 63.1441         Am I subject to this subpart?                           if it emits or has the potential to emit                                  *     *     *     *    *
       You are subject to this subpart if you                                  any single HAP at the rate of 10 tons or                                    (b) As specified in § 63.9(b)(2), if you
     own or operate a primary copper                                           more per year or any combination of                                       start your affected source before June 12,


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     2002, you must submit your initial                                        Subpart RRR—National Emission                                       order entries for §§ 63.1(c)(6) and
     notification not later than October 10,                                   Standards for Hazardous Air Pollutants                              63.9(k) to read as follows:
     2002, or no later than 120 days after the                                 for Secondary Aluminum Production
     source becomes subject to this subpart,
     whichever is later.                                                       ■ 67. Amend appendix A to subpart
     *     *     *     *     *                                                 RRR of part 63 by adding in numerical

                       APPENDIX A TO SUBPART RRR OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART RRR
                         Citation                                            Requirement                                 Applies to subpart RRR                                     Comment


               *                               *                            *                              *                                *                           *                           *
     § 63.1(c)(6) ....................................       Reclassification ............................. Yes.

               *                                *                          *                     *                           *                                        *                     *
     § 63.9(k) ........................................      Electronic reporting procedures .... Yes ................................................             Only as specified in § 63.9(j).

                   *                               *                               *                           *                            *                           *                           *



     Subpart TTT—National Emission
     Standards for Hazardous Air Pollutants
     for Primary Lead Smelting
     ■ 68. Amend table 1 to subpart TTT of
     part 63 by adding in numerical order an
     entry for § 63.9(k) to read as follows:

                           TABLE 1 TO SUBPART TTT OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART TTT
                                       Reference                                                                   Applies to subpart TTT                                              Comment


               *                                 *                                *                            *                                 *                                *                   *
     63.9(k) ............................................................................   Yes ................................................................................. Only as specified in 63.9(j).

                   *                               *                               *                           *                            *                           *                           *



     Subpart UUU—National Emission                                             § 63.1574 What notifications must I submit                          the source becomes subject to this
     Standards for Hazardous Air Pollutants                                    and when?                                                           subpart, whichever is later.
     for Petroleum Refineries: Catalytic                                       *      *     *     *    *                                           *     *     *     *     *
     Cracking Units, Catalytic Reforming                                          (b) As specified in § 63.9(b)(2), if you                         ■ 70. Amend table 44 to subpart UUU of
     Units, and Sulfur Recovery Units                                          startup your new affected source before                             part 63 by adding in numerical order
                                                                               April 11, 2002, you must submit the                                 entries for §§ 63.1(c)(6) and 63.9(k) to
     ■ 69. Amend § 63.1574 by revising                                         initial notification no later than August                           read as follows:
     paragraph (b) to read as follows:                                         9, 2002, or no later than 120 days after                            *     *     *     *     *

            TABLE 44 TO SUBPART UUU OF PART 63—APPLICABILITY OF NESHAP GENERAL PROVISIONS TO SUBPART UUU
                   *                               *                               *                           *                            *                           *                           *

                         Citation                                                Subject                                 Applies to subpart UUU                                    Explanation


               *                               *                            *                              *                                *                           *                           *
     § 63.1(c)(6) ....................................       Reclassification ............................. Yes.

               *                                *                          *                     *                           *                                        *                     *
     § 63.9(k) ........................................      Electronic reporting procedures .... Yes ................................................             Only as specified in § 63.9(j).

                   *                               *                               *                           *                            *                           *                           *




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     Subpart VVV—National Emission                                             § 63.1591 What are my notification                                  must submit an initial notification upon
     Standards for Hazardous Air                                               requirements?                                                       startup, or when the source becomes
     Pollutants: Publicly Owned Treatment                                        (a) * * *                                                         subject to this subpart, whichever is
     Works                                                                       (1) If you have an existing Group 1 or                            later.
                                                                               Group 2 POTW treatment plant, you
                                                                               must submit an initial notification by                              *      *    *     *     *
     ■ 71. Amend § 63.1591 by revising
                                                                               October 26, 2018, or no later than 120                              ■ 72. Amend table 1 to subpart VVV of
     paragraphs (a)(1) and (2) to read as
                                                                               days after the source becomes subject to                            part 63 by adding in numerical order
     follows:
                                                                               this subpart, whichever is later.                                   entries for §§ 63.1(c)(6) and 63.9(k) to
                                                                                 (2) If you have a new Group 1 or                                  read as follows:
                                                                               Group 2 POTW treatment plant, you

         TABLE 1 TO SUBPART VVV OF PART 63—APPLICABILITY OF 40 CFR PART 63 GENERAL PROVISIONS TO SUBPART VVV
                                General provisions                                                             Applicable to subpart VVV                                              Explanation
                                   reference


               *                               *                                *                              *                           *                            *                           *
     § 63.1(c)(6) .....................................................................     Yes.

               *                                 *                                *                            *                                 *                                *                   *
     § 63.9(k) ..........................................................................   Yes ................................................................................. Only as specified in § 63.9(j).

                   *                               *                              *                            *                           *                            *                           *



     Subpart XXX—National Emission
     Standards for Hazardous Air Pollutants
     for Ferroalloys Production:
     Ferromanganese and Silicomanganese
     ■ 73. Amend table 1 to subpart XXX of
     part 63 by adding in numerical order an
     entry for § 63.9(k) to read as follows:

                            TABLE 1 TO SUBPART XXX OF PART 63—GENERAL PROVISIONS APPLICABILITY TO SUBPART XXX
                                       Reference                                                                   Applies to subpart XXX                                              Comment


               *                                 *                                *                            *                                 *                                *                   *
     § 63.9(k) ..........................................................................   Yes ................................................................................. Only as specified in § 63.9(j).

                   *                               *                              *                            *                           *                            *                           *



     Subpart DDDD—National Emission                                               (b) You must submit an Initial                                   reconstruction after September 6, 2019,
     Standards for Hazardous Air                                               Notification no later than 120 calendar                             and on and after August 13, 2021, for all
     Pollutants: Plywood and Composite                                         days after September 28, 2004, 120                                  other affected sources submitting initial
     Wood Products                                                             calendar days after initial startup, or no                          notifications required in § 63.9(b) must
                                                                               later than 120 days after the source                                be submitted following the procedure
     ■ 74. Amend § 63.2280 by revising                                         becomes subject to this subpart,                                    specified in § 63.2281(h), (k), and (l).
     paragraph (b) to read as follows:                                         whichever is later, as specified in
                                                                                                                                                   *     *     *     *     *
                                                                               § 63.9(b)(2). Initial Notifications
     § 63.2280 What notifications must I submit                                required to be submitted after August                               ■ 75. Amend table 10 to subpart DDDD
     and when?                                                                 13, 2020, for affected sources that                                 of part 63 by adding in numerical order
     *        *         *        *         *                                   commence construction or                                            an entry for § 63.9(k) to read as follows:

                  TABLE 10 TO SUBPART DDDD OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART DDDD
                                                                                                                                                                               Applies to this subpart on
                                                                                                                                           Applies to this subpart               and after August 13,
                                                                                                                                          before August 13, 2021,
                       Citation                                        Subject                           Brief description                                                               2021,
                                                                                                                                             except as noted in                   except as noted in
                                                                                                                                          footnote ‘‘1’’ to this table         footnote ‘‘1’’ to this table


               *                                 *                         *                                 *                            *                      *                            *
     § 63.9(k) .....................................     Electronic reporting pro-                 Electronic reporting pro-             Yes, only as specified in             Yes, only as specified in
                                                           cedures.                                  cedures.                              § 63.9(j).                            § 63.9(j).




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         TABLE 10 TO SUBPART DDDD OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART DDDD—Continued
                                                                                                                                                      Applies to this subpart on
                                                                                                                        Applies to this subpart         and after August 13,
                                                                                                                       before August 13, 2021,
                      Citation                              Subject                       Brief description                                                     2021,
                                                                                                                          except as noted in             except as noted in
                                                                                                                       footnote ‘‘1’’ to this table   footnote ‘‘1’’ to this table

                 *                         *                          *                        *                        *                       *                     *



     Subpart EEEE—National Emission                                (b) Initial Notification. (1) If you                       days after initial startup, or no later than
     Standards for Hazardous Air                                 startup your affected source before                          120 days after the source becomes
     Pollutants: Organic Liquids                                 February 3, 2004, you must submit the                        subject to this subpart, whichever is
     Distribution (Non-Gasoline)                                 Initial Notification no later than 120                       later.
                                                                 calendar days after February 3, 2004, or                     *      *    *     *      *
     ■ 76. Amend § 63.2382 by revising
                                                                 no later than 120 days after the source
     paragraphs (b)(1) and (2) to read as                        becomes subject to this subpart,                             ■ 77. Amend table 12 to subpart EEEE
     follows:                                                    whichever is later.                                          of part 63 by revising the entry for
     § 63.2382 What notifications must I submit                    (2) If you startup your new or                             § 63.9(j) and adding in numerical order
     and when and what information should be                     reconstructed affected source on or after                    an entry for § 63.9(k) to read as follows:
     submitted?                                                  February 3, 2004, you must submit the
     *       *        *        *     *                           Initial Notification no later than 120

                  TABLE 12 TO SUBPART EEEE OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART EEEE
                 *                         *                          *                        *                        *                       *                     *

           Citation                               Subject                                          Brief description                          Applies to subpart EEEE


                *                        *                   *                            *                  *                                *                     *
     § 63.9(j) .............   Change in Previous Information .............       Must submit within 15 days after the               Yes for change to major source status,
                                                                                   change.                                             other changes are reported in the first
                                                                                                                                       and subsequent compliance reports.
     § 63.9(k) ............    Electronic reporting procedures .............      Procedure to report electronically for no-         Yes, only as specified in § 63.9(j).
                                                                                    tification in § 63.9(j).

                 *                         *                          *                        *                        *                       *                     *



     Subpart FFFF—National Emission                              designated paragraph (b)(1) to read as                       initial notification not later than 120
     Standards for Hazardous Air                                 follows:                                                     calendar days after November 10, 2003,
     Pollutants: Miscellaneous Organic                                                                                        or no later than 120 days after the
                                                                 § 63.2515 What notifications must I submit                   source becomes subject to this subpart,
     Chemical Manufacturing                                      and when?
                                                                                                                              whichever is later.
     ■ 78. Amend § 63.2515 by designating
                                                                 *     *    *     *     *
                                                                                                                              *     *      *     *    *
     the text of paragraph (b) introductory                        (b) * * *                                                  ■ 79. Amend table 12 to subpart FFFF
     text after the subject heading as                             (1) As specified in § 63.9(b)(2), if you                   of part 63 by revising the entry for
     paragraph (b)(1) and revising newly                         startup your affected source before                          § 63.9(j) and adding in numerical order
                                                                 November 10, 2003, you must submit an                        an entry for § 63.9(k) to read as follows:

                     TABLE 12 TO SUBPART FFFF OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART FFFF
                 *                         *                          *                        *                        *                       *                     *

           Citation                               Subject                                                                     Explanation


                *                        *                    *                                 *                     *                 *                    *
     § 63.9(j) .............   Change in previous information ...............         Yes, for change in major source status, otherwise § 63.2520(e) specifies reporting
                                                                                        requirements for process changes.
     § 63.9(k) ............    Electronic reporting procedures ...............        Yes, as specified in § 63.9(j).

                 *                         *                          *                        *                        *                       *                     *




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     Subpart GGGG—National Emission                                          (a) Initial notification for existing                              paragraphs (a)(1) through (5) of this
     Standards for Hazardous Air                                          sources. For an existing source, submit                               section:
     Pollutants: Solvent Extraction for                                   an initial notification to the agency                                 *     *     *     *     *
     Vegetable Oil Production                                             responsible for these NESHAP no later                                 ■ 81. Amend § 63.2870 in table 1 to
                                                                          than 120 days after the effective date of                             § 63.2870 by adding in numerical order
     ■ 80. Amend § 63.2860 by revising
     paragraph (a) introductory text to read                              this subpart, or no later than 120 days                               entries for § 63.9(j) and (k) to read as
     as follows:                                                          after the source becomes subject to this                              follows:
                                                                          subpart, whichever is later. In the
     § 63.2860 What notifications must I submit                           notification, include the items in                                    § 63.2870 What Parts of the General
     and when?                                                                                                                                  Provisions apply to me?
     *        *        *        *        *                                                                                                      *         *        *           *      *

           TABLE 1 TO § 63.2870—APPLICABILITY OF 40 CFR PART 63, SUBPART A, TO 40 CFR PART 63, SUBPART GGGG
           General                                                                   Brief description of
          provisions                      Subject of citation                                                                      Applies to subpart                                  Explanation
                                                                                         requirement
           citation


                *                           *                     *                    *                                                *                                 *                       *
     § 63.9(j) ..............    Notification requirements ...... Change in previous informa-                              Yes.
                                                                    tion.
     § 63.9(k) .............     Notification requirements ...... Electronic reporting proce-                              Yes ........................................       Only as specified in § 63.9(j).
                                                                    dures.

                  *                             *                            *                             *                            *                                 *                       *



     Subpart HHHH—National Emission                                       entries for §§ 63.1(c)(6) and 63.9(k) to
     Standards for Hazardous Air Pollutants                               read as follows:
     for Wet-Formed Fiberglass Mat
     Production
     ■ 82. Amend table 2 to subpart HHHH
     of part 63 by adding in numerical order

      TABLE 2 TO SUBPART HHHH OF PART 63—APPLICABILITY OF GENERAL PROVISIONS (40 CFR PART 63, SUBPART A) TO
                                                SUBPART HHHH
                  *                             *                            *                             *                            *                                 *                       *

                        Citation                                        Requirement                                   Applies to subpart HHHH                                       Explanation

     § 63.1(c)(6) ....................................    Reclassification .............................       Yes.

               *                                *                       *                     *                           *                                          *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................               Only as specified in § 63.9(j).

                  *                             *                            *                             *                            *                                 *                       *



     Subpart IIII—National Emission                                       existing affected source, you must                                    motor vehicles, or aftermarket repair or
     Standards for Hazardous Air                                          submit the Initial Notification no later                              replacement parts for other motor
     Pollutants: Surface Coating of                                       than 1 year after April 26, 2004, or no                               vehicles in your affected source
     Automobiles and Light-Duty Trucks                                    later than 120 days after the source                                  pursuant to § 63.3082(c) and your
                                                                          becomes subject to this subpart,                                      affected source has an initial startup
     ■ 83. Amend § 63.3110 by revising                                                                                                          before February 20, 2007, then you must
                                                                          whichever is later. Existing sources that
     paragraph (b) to read as follows:                                                                                                          submit an Initial Notification of this
                                                                          have previously submitted notifications
     § 63.3110        What notifications must I                           of applicability of this rule pursuant to                             election no later than 120 days after
     submit?                                                              section 112(j) of the CAA are not                                     initial startup or February 20, 2007, or
     *      *    *     *    *                                             required to submit an Initial                                         no later than 120 days after the source
        (b) You must submit the Initial                                   Notification under § 63.9(b) except to                                becomes subject to this subpart,
     Notification required by § 63.9(b) for a                             identify and describe all additions to the                            whichever is later.
     new or reconstructed affected source no                              affected source made pursuant to                                      *     *      *    *     *
     later than 120 days after initial startup,                           § 63.3082(c). If you elect to include the                             ■ 84. Amend table 2 to subpart IIII of
     120 days after the source becomes                                    surface coating of new other motor                                    part 63 by adding in numerical order
     subject to this subpart, or 120 days after                           vehicle bodies, body parts for new other                              entries for §§ 63.1(c)(6) and 63.9(k) to
     June 25, 2004, whichever is later. For an                            motor vehicles, parts for new other                                   read as follows:




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               TABLE 2 TO SUBPART IIII OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART IIII OF PART 63
                   *                            *                             *                        *                          *                          *                    *

                                                                                                                       Applicable to
                         Citation                                          Subject                                                                                  Explanation
                                                                                                                        subpart IIII


               *                               *                          *                              *                        *                          *                    *
     § 63.1(c)(6) ....................................     Reclassification ............................. Yes.

               *                                *                        *                     *                           *                               *                     *
     § 63.9(k) ........................................    Electronic reporting procedures .... Yes ................................................    Only as specified in § 63.9(j).

                   *                            *                             *                        *                          *                          *                    *



     Subpart JJJJ—National Emission                                       § 63.3400 What notifications and reports                      than 120 days after the source becomes
     Standards for Hazardous Air                                          must I submit?                                                subject to this subpart, whichever is
     Pollutants: Paper and Other Web                                      *      *     *      *     *                                   later.
     Coating                                                                 (b) * * *                                                  *      *    *     *     *
                                                                             (1) Initial notification for existing                      ■ 86. Amend table 2 to subpart JJJJ of
     ■ 85. Amend § 63.3400 by revising                                    affected sources must be submitted no                         part 63 by adding in numerical order
     paragraph (b)(1) to read as follows:                                 later than 1 year before the compliance                       entries for §§ 63.1(c)(6) and 63.9(k) to
                                                                          date specified in § 63.3330(a), or no later                   read as follows:

         TABLE 2 TO SUBPART JJJJ OF PART 63—APPLICABILITY OF 40 CFR PART 63 GENERAL PROVISIONS TO SUBPART JJJJ
                   *                            *                             *                        *                          *                          *                    *

                  General provisions                             Applicable to subpart JJJJ                                                        Explanation
                     reference


               *                               *                              *                        *                          *                          *                    *
     § 63.1(c)(6) .....................................    Yes.

               *                                *                            *                                 *                   *                         *                    *
     § 63.9(k) .........................................   Yes ................................................. Only as specified in § 63.9(j).

                   *                            *                             *                        *                          *                          *                    *



     Subpart KKKK—National Emission                                          (b) Initial Notification. You must                         than November 13, 2004, or no later
     Standards for Hazardous Air                                          submit the Initial Notification required                      than 120 days after the source becomes
     Pollutants: Surface Coating of Metal                                 by § 63.9(b) for a new or reconstructed                       subject to this subpart, whichever is
     Cans                                                                 affected source no later than 120 days                        later.
                                                                          after initial startup, no later than 120                      *      *    *     *     *
     ■ 87. Amend § 63.3510 by revising
     paragraph (b) to read as follows:                                    days after the source becomes subject to
                                                                                                                                        ■ 88. Amend table 5 to subpart KKKK of
                                                                          this subpart, or 120 days after November
     § 63.3510         What notifications must I                          13, 2003, whichever is later. For an                          part 63 by adding in numerical order
     submit?                                                              existing affected source, you must                            entries for §§ 63.1(c)(6) and 63.9(k) to
     *        *         *       *        *                                submit the Initial Notification no later                      read as follows:

                       TABLE 5 TO SUBPART KKKK OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART KKKK
                   *                            *                             *                        *                          *                          *                    *

                                                                                                                 Applicable to subpart
                         Citation                                          Subject                                                                                  Explanation
                                                                                                                        KKKK


               *                               *                          *                              *                        *                          *                    *
     § 63.1(c)(6) ....................................     Reclassification ............................. Yes.

               *                                *                        *                     *                           *                               *                     *
     § 63.9(k) ........................................    Electronic reporting procedures .... Yes ................................................    Only as specified in § 63.9(j).

                   *                            *                             *                        *                          *                          *                    *




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     Subpart MMMM—National Emission                                      submit the initial notification no later                     under § 63.3881(e)(2) to constitute
     Standards for Hazardous Air Pollutants                              than 1 year after January 2, 2004, or no                     compliance with this subpart for your
     for Surface Coating of Miscellaneous                                later than 120 days after the source                         metal parts coating operations, then you
     Metal Parts and Products                                            becomes subject to this subpart,                             must include a statement to this effect
                                                                         whichever is later. If you are using                         in your initial notification, and no other
     ■ 89. Amend § 63.3910 by revising
                                                                         compliance with the Surface Coating of                       notifications are required under this
     paragraph (b) to read as follows:                                                                                                subpart in regard to those metal parts
                                                                         Automobiles and Light-Duty Trucks
     § 63.3910        What notifications must I                          NESHAP (subpart IIII of this part) as                        coating operations. If you own or
     submit?                                                             provided for under § 63.3881(d) to                           operate an existing loop slitter or flame
     *      *     *      *     *                                         constitute compliance with this subpart                      lamination affected source, submit an
        (b) Initial notification. You must                               for any or all of your metal parts coating                   initial notification no later than 120
     submit the initial notification required                            operations, then you must include a                          days after April 14, 2003, or no later
     by § 63.9(b) for a new or reconstructed                             statement to this effect in your initial                     than 120 days after the source becomes
     affected source no later than 120 days                              notification, and no other notifications                     subject to this subpart.
     after initial startup, 120 days after                               are required under this subpart in regard                    *     *      *     *    *
     January 2, 2004, or no later than 120                               to those metal parts coating operations.                     ■ 90. Amend table 2 to subpart MMMM
     days after the source becomes subject to                            If you are complying with another                            of part 63 by adding in numerical order
     this subpart, whichever is later. For an                            NESHAP that constitutes the                                  entries for §§ 63.1(c)(6) and 63.9(k) to
     existing affected source, you must                                  predominant activity at your facility                        read as follows:

      TABLE 2 TO SUBPART MMMM OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART MMMM OF PART 63
                  *                             *                          *                         *                         *                         *                      *

                                                                                                                Applicable to subpart
                        Citation                                          Subject                                                                                 Explanation
                                                                                                                       MMMM


               *                               *                         *                              *                      *                         *                      *
     § 63.1(c)(6) ....................................    Reclassification ............................. Yes.

               *                                *                       *                     *                           *                              *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                             *                          *                         *                         *                         *                      *



     Subpart NNNN—National Emission                                         (1) You must submit the Initial                           source becomes subject to this subpart,
     Standards for Hazardous Air                                         Notification required by § 63.9(b) for an                    whichever is later.
     Pollutants: Surface Coating of Large                                existing affected source no later than                       *     *     *     *     *
     Appliances                                                          July 23, 2003, or no later than 120 days
                                                                                                                                      ■ 92. Amend table 2 to subpart NNNN
                                                                         after the source becomes subject to this
     ■ 91. Amend § 63.4110 by revising                                                                                                of part 63 by adding in numerical order
                                                                         subpart. For a new or reconstructed
     paragraph (a)(1) to read as follows:                                                                                             entries for §§ 63.1(c)(6) and 63.9(k) to
                                                                         affected source, you must submit the
                                                                         Initial Notification no later than 120                       read as follows:
     § 63.4110        What notifications must I
     submit.                                                             days after initial startup, November 20,
         (a) * * *                                                       2002, or no later than 120 days after the

                   TABLE 2 TO SUBPART NNNN OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART NNNN
                  *                             *                          *                         *                         *                         *                      *

                                                                                                                       Applicable
                        Citation                                          Subject                                      to subpart                                 Explanation
                                                                                                                         NNNN


               *                               *                         *                              *                      *                         *                      *
     § 63.1(c)(6) ....................................    Reclassification ............................. Yes.

               *                                *                       *                     *                           *                              *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                             *                          *                         *                         *                         *                      *




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     Subpart OOOO—National Emission                                         (b) Initial Notification. You must                        than 1 year after May 29, 2003, or no
     Standards for Hazardous Air                                         submit the Initial Notification required                     later than 120 days after the source
     Pollutants: Printing, Coating, and                                  by § 63.9(b) for a new or reconstructed                      becomes subject to this subpart,
     Dyeing of Fabrics and Other Textiles                                affected source no later than 120 days                       whichever is later.
                                                                         after initial startup, 120 days after May                    *      *    *     *     *
     ■ 93. Amend § 63.4310 by revising
     paragraph (b) to read as follows:                                   29, 2003, or no later than 120 days after
                                                                                                                                      ■ 94. Amend table 3 to subpart OOOO
                                                                         the source becomes subject to this
     § 63.4310        What notifications must I                          subpart, whichever is later. For an                          of part 63 by adding in numerical order
     submit?                                                             existing affected source, you must                           entries for §§ 63.1(c)(6) and 63.9(k) to
     *        *        *        *        *                               submit the Initial Notification no later                     read as follows:

                  TABLE 3 TO SUBPART OOOO OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART OOOO
                  *                             *                            *                       *                         *                         *                      *

                                                                                                                       Applicable
                        Citation                                          Subject                                      to subpart                                 Explanation
                                                                                                                         OOOO


               *                               *                         *                              *                      *                         *                      *
     § 63.1(c)(6) ....................................    Reclassification ............................. Yes.

               *                                *                       *                     *                           *                              *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                             *                            *                       *                         *                         *                      *



     Subpart PPPP—National Emission                                      subpart, whichever is later. For an                          subpart in regard to those plastic parts
     Standards for Hazardous Air Pollutants                              existing affected source, you must                           coating operations. If you are complying
     for Surface Coating of Plastic Parts                                submit the initial notification no later                     with another NESHAP that constitutes
     and Products                                                        than 1 year after April 19, 2004, or no                      the predominant activity at your facility
                                                                         later than 120 days after the source                         under § 63.4481(e)(2) to constitute
     ■ 95. Amend § 63.4510 by revising
                                                                         becomes subject to this subpart,                             compliance with this subpart for your
     paragraph (b) to read as follows:                                                                                                plastic parts coating operations, then
                                                                         whichever is later. If you are using
     § 63.4510        What notifications must I                          compliance with the Surface Coating of                       you must include a statement to this
     submit?                                                             Automobiles and Light-Duty Trucks                            effect in your initial notification, and no
     *      *     *      *     *                                         NESHAP (subpart IIII of this part) as                        other notifications are required under
        (b) Initial notification. You must                               provided for under § 63.4481(d) to                           this subpart in regard to those plastic
     submit the initial notification required                            constitute compliance with this subpart                      parts coating operations.
     by § 63.9(b) for a new or reconstructed                             for any or all of your plastic parts                         *     *     *     *     *
     affected source no later than 120 days                              coating operations, then you must                            ■ 96. Amend table 2 to subpart PPPP of
     after initial startup, 120 days after April                         include a statement to this effect in your                   part 63 by adding in numerical order
     19, 2004, or no later than 120 days after                           initial notification, and no other                           entries for §§ 63.1(c)(6) and 63.9(k) to
     the source becomes subject to this                                  notifications are required under this                        read as follows:

         TABLE 2 TO SUBPART PPPP OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART PPPP OF PART 63
                  *                             *                            *                       *                         *                         *                      *

                                                                                                                       Applicable
                        Citation                                          Subject                                      to subpart                                 Explanation
                                                                                                                         PPPP


               *                               *                         *                              *                      *                         *                      *
     § 63.1(c)(6) ....................................    Reclassification ............................. Yes.

               *                                *                       *                     *                           *                              *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                             *                            *                       *                         *                         *                      *



     Subpart QQQQ—National Emission                                      § 63.4710      What notifications must I                     after initial startup, 120 days after May
     Standards for Hazardous Air                                         submit?                                                      28, 2003, or no later than 120 days after
     Pollutants: Surface Coating of Wood                                 *      *     *     *     *                                   the source becomes subject to this
     Building Products                                                      (b) Initial Notification. You must                        subpart, whichever is later. For an
                                                                         submit the Initial Notification required                     existing affected source, you must
     ■ 97. Amend § 63.4710 by revising                                   by § 63.9(b) for a new or reconstructed                      submit the Initial Notification no later
     paragraph (b) to read as follows:                                   affected source no later than 120 days                       than 120 days after May 28, 2003, or no


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     later than 120 days after the source                                      becomes subject to this subpart,                                    ■ 98. Amend table 4 to subpart QQQQ
                                                                               whichever is later.                                                 of part 63 by adding in numerical order
                                                                               *   *     *      *    *                                             entries for §§ 63.1(c)(6) and 63.9(k) to
                                                                                                                                                   read as follows:

         TABLE 4 TO SUBPART QQQQ OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART QQQQ OF PART 63
                   *                               *                               *                           *                           *                            *                           *

                                                                                                                                  Applicable
                         Citation                                                Subject                                          to subpart                                       Explanation
                                                                                                                                    QQQQ


               *                               *                            *                              *                               *                            *                           *
     § 63.1(c)(6) ....................................       Reclassification ............................. Yes.

               *                                *                          *                     *                           *                                        *                     *
     § 63.9(k) ........................................      Electronic reporting procedures .... Yes ................................................             Only as specified in § 63.9(j).

                   *                               *                               *                           *                           *                            *                           *



     Subpart RRRR—National Emission                                               (b) Initial Notification. You must                               than 1 year after May 23, 2003, or no
     Standards for Hazardous Air                                               submit the Initial Notification required                            later than 120 days after the source
     Pollutants: Surface Coating of Metal                                      by § 63.9(b) for a new or reconstructed                             becomes subject to this subpart,
     Furniture                                                                 affected source no later than 120 days                              whichever is later.
                                                                               after initial startup, 120 days after May                           *      *    *     *     *
     ■ 99. Amend § 63.4910 by revising
     paragraph (b) to read as follows:                                         23, 2003, or no later than 120 days after
                                                                                                                                                   ■ 100. Amend table 2 to subpart RRRR
                                                                               the source becomes subject to this
     § 63.4910         What notifications must I                               subpart, whichever is later. For an                                 of part 63 by adding in numerical order
     submit?                                                                   existing affected source, you must                                  entries for §§ 63.1(c)(6) and 63.9(k) to
     *        *         *        *         *                                   submit the Initial Notification no later                            read as follows:

                    TABLE 2 TO SUBPART RRRR OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART RRRR
                   *                               *                               *                           *                           *                            *                           *

                                                                                                                                  Applicable
                         Citation                                                Subject                                                                                           Explanation
                                                                                                                                  to subpart


               *                               *                            *                              *                               *                            *                           *
     § 63.1(c)(6) ....................................       Reclassification ............................. Yes.

               *                                *                          *                     *                           *                                        *                     *
     § 63.9(k) ........................................      Electronic reporting procedures .... Yes ................................................             Only as specified in § 63.9(j).

                   *                               *                               *                           *                           *                            *                           *



     Subpart SSSS—National Emission                                            § 63.5180        What reports must I submit                         days after the source becomes subject to
     Standards for Hazardous Air                                               *      *    *    *      *                                           this subpart, whichever is later.
     Pollutants: Surface Coating of Metal                                         (b) * * *                                                        *     *     *     *     *
     Coil                                                                                                                                          ■ 102. Amend table 2 to subpart SSSS
                                                                                  (1) Submit an initial notification for                           of part 63 by adding in numerical order
     ■ 101. Amend § 63.5180 by revising                                        an existing source no later than 2 years                            entries for §§ 63.1(c)(6) and 63.9(k) to
     paragraph (b)(1) to read as follows:                                      after June 10, 2002, or no later than 120                           read as follows:

                       TABLE 2 TO SUBPART SSSS OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART SSSS
                   *                               *                               *                           *                           *                            *                           *

                                                                                                                          Applicable
                                General provisions                                                                        to subpart                                                  Explanation
                                   reference                                                                                SSSS


               *                               *                                *                              *                           *                            *                           *
     § 63.1(c)(6) .....................................................................     Yes.

               *                                 *                                *                            *                                 *                                *                   *
     § 63.9(k) ..........................................................................   Yes ................................................................................. Only as specified in § 63.9(j).




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         TABLE 2 TO SUBPART SSSS OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART SSSS—Continued
                  *                             *                         *                        *                         *                              *                     *

                                                                                                             Applicable
                               General provisions                                                            to subpart                                                 Explanation
                                  reference                                                                    SSSS

                  *                             *                         *                        *                         *                              *                     *



     Subpart TTTT—National Emission                                   § 63.5415 What notifications must I submit                     the source becomes subject to this
     Standards for Hazardous Air Pollutants                           and when?                                                      subpart, whichever is later.
     for Leather Finishing Operations                                 *     *     *     *     *                                      *     *     *     *     *
                                                                        (b) As specified in § 63.9(b)(2), if you
                                                                      start up your affected source before                           ■ 104. Amend table 2 to subpart TTTT
     ■ 103. Amend § 63.5415 by revising
                                                                      February 27, 2002, you must submit an                          of part 63 by adding in numerical order
     paragraph (b) to read as follows:
                                                                      Initial Notification not later than June                       entries for §§ 63.9(j) and (k) to read as
                                                                      27, 2002, or no later than 120 days after                      follows:

                      TABLE 2 TO SUBPART TTTT OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART TTTT
                  *                             *                         *                        *                         *                              *                     *

                                                                                          Brief description of
      General provisions citation                    Subject of citation                                                     Applies to subpart                          Explanation
                                                                                              requirement


               *                                *                     *                         *                          *                                *                     *
     § 63.9(j) ..............................   Notification requirements ..       Change in previous infor-           Yes.
                                                                                     mation.
     § 63.9(k) .............................    Notification requirements ..       Electronic reporting proce-         Yes ....................................   Only as specified in
                                                                                     dures.                                                                        § 63.9(j).

                  *                             *                         *                        *                         *                              *                     *



     Subpart UUUU—National Emission
     Standards for Hazardous Air Pollutants
     for Cellulose Products Manufacturing
     ■ 105. Amend table 7 to subpart UUUU
     of part 63 by revising entry 4 to read as
     follows:

                                                        TABLE 7 TO SUBPART UUUU OF PART 63—NOTIFICATIONS
                  *                             *                         *                        *                         *                              *                     *

     If you . . .                                                                                      then you must . . .


               *                    *                   *                              *                    *                       *                   *
     4. start up your affected source before June 11, 2002 ............................ submit an initial notification no later than 120 days after June 11, 2002,
                                                                                          or no later than 120 after the source becomes subject to this sub-
                                                                                          part, whichever is later, as specified in § 63.9(b)(2).

                  *                             *                         *                        *                         *                              *                     *



     ■ 106. Amend table 8 to subpart UUUU
     of part 63 by revising entry 7 to read as
     follows:




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                                                TABLE 8 TO SUBPART UUUU OF PART 63—REPORTING REQUIREMENTS
                  *                              *                          *                         *                         *                         *                       *

     You must submit a compliance report, which must contain the following                                and you must submit the report . . .
     information . . .


               *                     *                  *                    *                                                  *                         *                       *
     7. the report must contain any changes in information already provided,
       as specified in § 63.9(j), except changes in major source status must
       be reported per § 63.9(j);

                  *                              *                          *                         *                         *                         *                       *



     ■ 107. Table 10 to subpart UUUU of part                              § 63.9(k), in numerical order, to read as
     63 is amended by revising the entry for                              follows:
     § 63.9(j) and adding an entry for

                  TABLE 10 TO SUBPART UUUU OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART UUUU
                  *                              *                          *                         *                         *                         *                       *

                        Citation                                           Subject                                    Brief description                       Applies to subpart UUUU


               *                                 *                      *                     *                  *                                        *                     *
     § 63.9(j) .........................................   Change in previous information .... Must submit within 15 days of the                       Yes, except the notification for all
                                                                                                change.                                                  but change in major source sta-
                                                                                                                                                         tus must be submitted as part
                                                                                                                                                         of the next semiannual compli-
                                                                                                                                                         ance report, as specified in
                                                                                                                                                         Table 8 to this subpart.
     § 63.9(k) ........................................    Electronic reporting procedures ....           Procedure for electronically report-         Yes, as specified in § 63.9(j).
                                                                                                            ing the notification required by
                                                                                                            § 63.9(j).

                  *                              *                          *                         *                         *                         *                       *



     Subpart VVVV—National Emission                                       entries for §§ 63.1(c)(6) and 63.9(k) to
     Standards for Hazardous Air Pollutants                               read as follows:
     for Boat Manufacturing
     ■ 108. Amend table 8 to subpart VVVV
     of part 63 by adding in numerical order

      TABLE 8 TO SUBPART VVVV OF PART 63—APPLICABILITY OF GENERAL PROVISIONS (40 CFR PART 63, SUBPART A) TO
                                                SUBPART VVVV
                  *                              *                          *                         *                         *                         *                       *

                                                                                                                   Applies to subpart
                        Citation                                        Requirement                                                                                 Explanation
                                                                                                                         VVVV


               *                               *                          *                              *                      *                         *                       *
     § 63.1(c)(6) ....................................     Reclassification ............................. Yes.

               *                                *                        *                     *                           *                              *                     *
     § 63.9(k) ........................................    Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                              *                          *                         *                         *                         *                       *



     Subpart WWWW—National Emissions
     Standards for Hazardous Air
     Pollutants: Reinforced Plastic
     Composites Production
     ■ 109. Amend table 2 to subpart
     WWWW of part 63 by revising entry 1
     to read as follows:



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            TABLE 2 TO SUBPART WWWW OF PART 63—COMPLIANCE DATES FOR NEW AND EXISTING REINFORCED PLASTIC
                                              COMPOSITES FACILITIES
                  *                             *                              *                          *                            *                           *                     *

                                                                                                                                                                Then you must comply by this
     If your facility is . . .                            And . . .                                                                                             date . . .

     1. An existing source .....................          a. Is a major source on or before the publication date of this subpart                                April 21, 2006.

                  *                             *                              *                          *                            *                           *                     *



     ■ 110. Amend table 15 to subpart                                      numerical order entries for §§ 63.1(c)(6)
     WWWW of part 63 by adding in                                          and 63.9(k) to read as follows:

           TABLE 15 TO SUBPART WWWW OF PART 63—APPLICABILITY OF GENERAL PROVISIONS (SUBPART A) TO SUBPART
                                               WWWW OF PART 63
                  *                             *                              *                          *                            *                           *                     *

                                                                                                              And applies to subpart WWWW of                    Subject to the following additional
     The general provisions reference                     That addresses                                      part 63                                           information


               *                               *                         *                              *                           *                              *                     *
     § 63.1(c)(6) ....................................    Reclassification ............................. Yes ................................................

               *                                *                       *                     *                           *                                        *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................             Only as specified in § 63.9(j).

                  *                             *                              *                          *                            *                           *                     *



     Subpart XXXX—National Emissions                                       § 63.6009 What notifications must I submit                          2002, or no later than 120 days after the
     Standards for Hazardous Air                                           and when?                                                           source becomes subject to this subpart,
     Pollutants: Rubber Tire Manufacturing                                 *      *    *     *     *                                           whichever is later.
                                                                              (b) As specified in § 63.9(b)(2), if you                         *     *     *     *     *
     ■ 111. Amend § 63.6009 by revising                                    startup your affected source before July                            ■ 112. Amend table 17 to subpart XXXX
     paragraph (b) to read as follows:                                     9, 2002, you must submit an Initial                                 of part 63 by adding in numerical order
                                                                           Notification not later than November 6,                             an entry for § 63.9(k) to read as follows:

              TABLE 17 TO SUBPART XXXX OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO THIS SUBPART XXXX
                  *                             *                              *                          *                            *                           *                     *

                                                                                                                                                    Applicable to subpart XXXX?
                                                                                               Brief description of
                   Citation                                   Subject                          applicable sections                   Using a control device             Not using a control device


               *                                *                          *                          *                              *                             *                     *
     § 63.9(k) .............................    Notification ........................    Electronic reporting proce-             Yes, as specified in                   Yes, as specified in
                                                                                           dures.                                  § 63.9(j).                             § 63.9(j).

                  *                             *                              *                          *                            *                           *                     *



     Subpart YYYY—National Emission                                        § 63.6145 What notifications must I submit                          calendar days after March 5, 2004, or no
     Standards for Hazardous Air Pollutants                                and when?                                                           later than 120 days after the source
     for Stationary Combustion Turbines                                    *     *     *     *    *                                            becomes subject to this subpart,
                                                                             (b) As specified in § 63.9(b)(2), if you                          whichever is later.
     ■ 113. Amend § 63.6145 by revising                                    start up your new or reconstructed                                  *      *    *     *     *
     paragraph (b) to read as follows:                                     stationary combustion turbine before                                ■ 114. Amend table 7 to subpart YYYY
                                                                           March 5, 2004, you must submit an                                   of part 63 by adding in numerical order
                                                                           Initial Notification not later than 120                             an entry for § 63.9(k) to read as follows:




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                      TABLE 7 TO SUBPART YYYY OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART YYYY
                  *                             *                          *                         *                         *                         *                      *

                                                                                                                  Applies to subpart
                        Citation                                       Requirement                                                                                Explanation
                                                                                                                        YYYY


               *                                *                       *                     *                           *                              *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                             *                          *                         *                         *                         *                      *



     Subpart ZZZZ—National Emissions                                     rating of more than 500 brake HP                             emissions before the effective date of
     Standards for Hazardous Air Pollutants                              located at a major source of HAP                             this subpart and you are required to
     for Stationary Reciprocating Internal                               emissions before the effective date of                       submit an initial notification, you must
     Combustion Engines                                                  this subpart, you must submit an Initial                     submit an Initial Notification not later
                                                                         Notification not later than December 13,                     than July 16, 2008, or no later than 120
     ■ 115. Amend § 63.6645 by revising
                                                                         2004, or no later than 120 days after the                    days after the source becomes subject to
     paragraphs (b) and (d) to read as                                   source becomes subject to this subpart,
     follows:                                                                                                                         this subpart, whichever is later.
                                                                         whichever is later.
                                                                                                                                      *     *     *     *     *
     § 63.6645 What notifications must I submit                          *     *     *     *     *
     and when?                                                             (d) As specified in § 63.9(b)(2), if you                   ■ 116. Amend table 8 to subpart ZZZZ

     *     *    *      *    *                                            start up your stationary RICE with a site                    of part 63 by adding in numerical order
       (b) As specified in § 63.9(b)(2), if you                          rating of equal to or less than 500 brake                    an entry for § 63.9(k) to read as follows:
     start up your stationary RICE with a site                           HP located at a major source of HAP                          *     *     *     *     *

                      TABLE 8 TO SUBPART ZZZZ OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART ZZZZ
                  *                             *                          *                         *                         *                         *                      *

          General provisions citation                               Subject of citation                           Applies to subpart                              Explanation


               *                                *                       *                     *                           *                              *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                             *                          *                         *                         *                         *                      *



     Subpart AAAAA—National Emission                                       (b) As specified in § 63.9(b)(2), if you                   initial notification not later than 120
     Standards for Hazardous Air Pollutants                              start up your affected source before                         calendar days after you start up your
     for Lime Manufacturing Plants                                       January 5, 2004, you must submit an                          affected source, or no later than 120
                                                                         initial notification not later than 120                      days after the source becomes subject to
     ■ 117. Amend § 63.7130 by revising                                  calendar days after January 5, 2004, or                      this subpart, whichever is later.
     paragraphs (b) and (c) to read as follows:                          no later than 120 days after the source
                                                                                                                                      *     *      *     *    *
                                                                         becomes subject to this subpart,
     § 63.7130 What notifications must I submit                          whichever is later.                                          ■ 118. Amend table 8 to subpart
     and when?                                                             (c) If you startup your new or                             AAAAA of part 63 by adding in
     *        *        *        *        *                               reconstructed affected source on or after                    numerical order entries for §§ 63.1(c)(6)
                                                                         January 5, 2004, you must submit an                          and 63.9(k) to read as follows:

                  TABLE 8 TO SUBPART AAAAA OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART AAAAA
                  *                             *                          *                         *                         *                         *                      *

                        Citation                                Summary of requirement                   Am I subject to this requirement?                       Explanations


               *                               *                         *                              *                      *                         *                      *
     § 63.1(c)(6) ....................................    Reclassification ............................. Yes.

               *                                *                       *                     *                           *                              *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                             *                          *                         *                         *                         *                      *




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     Subpart BBBBB—National Emission                                  § 63.7189 What notifications must I submit                 § 63.7840 What notifications must I submit
     Standards for Hazardous Air Pollutants                           and when?                                                  and when?
     for Semiconductor Manufacturing                                  *      *    *     *     *                                  *     *     *    *      *
                                                                         (b) As specified in § 63.9(b)(2), if you
                                                                      startup your affected source before                          (b) As specified in § 63.9(b)(2), if you
     ■ 119. Amend § 63.7189 by revising
                                                                      January 31, 2013, you must submit an                       startup your affected source before May
     paragraph (b) to read as follows:                                                                                           20, 2003, you must submit your initial
                                                                      Initial Notification not later than 120
     § 63.7189 What applications and                                  days after January 31, 2013, or no later                   notification no later than September 17,
     notifications must I submit and when?                            than 120 days after the source becomes                     2003, or no later than 120 days after the
     *      *    *     *     *                                        subject to this subpart, whichever is                      source becomes subject to this subpart,
                                                                      later.                                                     whichever is later.
        (b) As specified in § 63.9(b)(2), if you                         (c) As specified in § 63.9(b)(4) and (5),
     start up your affected source before May                                                                                    *     *     *    *      *
                                                                      if you startup your new or reconstructed
     22, 2003, you must submit an Initial                             affected source on or after January 31,                    Subpart GGGGG—National Emission
     Notification not later than 120 calendar                         2013, you must submit an Initial                           Standards for Hazardous Air
     days after May 22, 2003, or no later than                        Notification not later than 15 days after                  Pollutants: Site Remediation
     120 days after the source becomes                                the actual date of startup of the affected
     subject to this subpart, whichever is                            source. For a new or reconstructed                         ■ 124. Amend § 63.7950 by revising
     later.                                                           affected source that has reclassified to                   paragraphs (b) and (c) to read as follows:
     *      *    *     *     *                                        major source status, you must submit an
                                                                      Initial Notification not later 120 days                    § 63.7950 What notifications must I submit
     Subpart CCCCC—National Emission                                  after the source becomes subject to this                   and when?
     Standards for Hazardous Air Pollutants                           subpart.                                                   *      *    *     *      *
     for Coke Ovens: Pushing, Quenching,                              *      *    *     *     *                                     (b) As specified in § 63.9(b)(2), if you
     and Battery Stacks
                                                                      Subpart EEEEE—National Emission                            start up your affected source before
     ■ 120. Amend § 63.7340 by revising                               Standards for Hazardous Air Pollutants                     October 8, 2003, you must submit an
     paragraph (b) to read as follows:                                for Iron and Steel Foundries                               Initial Notification not later than 120
                                                                                                                                 calendar days after October 8, 2003, or
     § 63.7340 What notifications must I submit                       ■ 122. Amend § 63.7750 by revising                         no later than 120 calendar days after the
     and when?                                                        paragraph (b) to read as follows:                          source becomes subject to this subpart,
     *     *     *    *      *                                        § 63.7750 What notifications must I submit                 whichever is later.
       (b) As specified in § 63.9(b)(2), if you                       and when?                                                     (c) As specified in § 63.9(b)(3), if you
     startup your affected source before April                        *     *     *     *     *                                  start up your new or reconstructed
     14, 2003, you must submit your initial                             (b) As specified in § 63.9(b)(2), if you                 affected source on or after the effective
     notification no later than August 12,                            start up your iron and steel foundry                       date, you must submit an Initial
     2003, or no later than 120 days after the                        before April 22, 2004, you must submit                     Notification no later than 120 calendar
     source becomes subject to this subpart,                          your initial notification no later than                    days after initial startup, or no later than
     whichever is later.                                              August 20, 2004, or no later than 120                      120 calendar days after the source
                                                                      days after the source becomes subject to                   becomes subject to this subpart,
     *     *     *    *      *                                        this subpart, whichever is later.                          whichever is later.
     Subpart DDDDD—National Emission                                  *     *     *     *     *
                                                                                                                                 *      *    *     *      *
     Standards for Hazardous Air Pollutants
                                                                      Subpart FFFFF—National Emission                            ■ 125. Amend table 3 to subpart GGGGG
     for Major Sources: Industrial,
                                                                      Standards for Hazardous Air Pollutants                     of part 63 by adding in numerical order
     Commercial, and Institutional Boilers                            for Integrated Iron and Steel                              an entry for § 63.9(k) to read as follows:
     and Process Heaters                                              Manufacturing Facilities
     ■ 121. Amend § 63.7545 by revising                               ■ 123. Amend § 63.7840 by revising
     paragraphs (b) and (c) to read as follows:                       paragraph (b) to read as follows:

               TABLE 3 TO SUBPART GGGGG OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART GGGGG
                  *                             *                         *                      *                         *                     *                 *

                        Citation                                       Subject                                   Brief description               Applies to subpart GGGGG


               *                                *                       *                     *                    *                           *                   *
     § 63.9(k) ........................................   Electronic reporting procedures .... Electronic reporting procedures for          Yes.
                                                                                                 notifications per § 63.9(j).

                  *                             *                         *                      *                         *                     *                 *




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     Subpart HHHHH—National Emission                                       § 63.8070 What notifications must I submit                   or no later than 120 calendar days after
     Standards for Hazardous Air                                           and when?                                                    the source becomes subject to this
     Pollutants: Miscellaneous Coating                                     *     *      *     *    *                                    subpart, whichever is later.
     Manufacturing                                                           (b) * * *                                                  *     *      *    *    *
                                                                             (1) As specified in § 63.9(b)(2), if you                   ■ 127. Amend table 10 to subpart
     ■ 126. Amend § 63.8070 by revising                                    have an existing affected source on                          HHHHH of part 63 by revising the entry
     paragraph (b)(1) to read as follows:                                  December 11, 2003, you must submit an                        for § 63.9(j) and adding in numerical
                                                                           initial notification not later than 120                      order an entry for § 63.9(k) to read as
                                                                           calendar days after December 11, 2003,                       follows:

               TABLE 10 TO SUBPART HHHHH OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART HHHHH
                  *                              *                             *                       *                         *                         *                      *

                         Citation                                              Subject                                                         Explanation


               *                                 *                        *                     *                    *                    *               *
     § 63.9(j) ..........................................   Change in previous information ..... Yes, for change in major source status, otherwise § 63.8075(e)(8)
                                                                                                    specifies reporting requirements for process changes.
     § 63.9(k) .........................................    Electronic reporting procedures ..... Yes, as specified in § 63.9(j).

                  *                              *                             *                       *                         *                         *                      *



     Subpart IIIII—National Emission                                       § 63.825 What notifications must I submit                    or no later than 120 days after the
     Standards for Hazardous Air                                           and when?                                                    source becomes subject to this subpart,
     Pollutants: Mercury Emissions From                                    *     *     *     *     *                                    whichever is later.
     Mercury Cell Chlor-Alkali Plants                                        (b) As specified in § 63.9(b)(2), if you
                                                                                                                                        *     *     *     *     *
                                                                           start up your affected source before
                                                                           December 19, 2003, you must submit an                        ■ 129. Amend table 10 to subpart IIIII of
     ■ 128. Amend § 63.8252 by revising
                                                                           Initial Notification no later than 120                       part 63 by adding in numerical order an
     paragraph (b) to read as follows:
                                                                           calendar days after December 19, 2003,                       entry for § 63.9(k) to read as follows:

                        TABLE 10 TO SUBPART IIIII OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART IIIII
                  *                              *                             *                       *                         *                         *                      *

                                                                                                                         Applies to
                        Citation                                            Subject                                                                                 Explanation
                                                                                                                        subpart IIIII


                  *                              *                             *                       *                         *                         *                      *

               *                                *                         *                     *                           *                              *                     *
     § 63.9(k) ........................................     Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                              *                             *                       *                         *                         *                      *



     Subpart JJJJJ—National Emission
     Standards for Hazardous Air Pollutants
     for Brick and Structural Clay Products
     Manufacturing
     ■ 130. Amend table 8 to subpart JJJJJ of
     part 63 by revising entry 1 to read as
     follows:




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                                  TABLE 8 TO SUBPART JJJJJ OF PART 63—DEADLINES FOR SUBMITTING NOTIFICATIONS
                  *                             *                         *                          *                         *                     *                    *

     If you . . .                                   You must . . .                    No later than . . .                                                As specified in . . .

     1. Start up your affected                      Submit an Initial Notifica-       June 22, 2016, or no later than 120 days after the                 § 63.9(b)(2).
       source before December                         tion.                             source becomes subject to this subpart, whichever
       28, 2015.                                                                        is later.

                  *                             *                         *                          *                         *                     *                    *



     ■ 131. Amend table 10 to subpart JJJJJ of
     part 63 adding in numerical order an
     entry for § 63.9(k) to read as follows:

                   TABLE 10 TO SUBPART JJJJJ OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART JJJJJ
                  *                             *                         *                          *                         *                     *                    *

                   Citation                                  Subject                                           Brief description                         Applies to subpart JJJJJ?

     § 63.9(k) ..............................   Electronic reporting proce-         Electronic reporting procedures for notifications per                Yes.
                                                  dures.                              § 63.9(j).

                  *                             *                         *                          *                         *                     *                    *



     Subpart KKKKK—National Emission
     Standards for Hazardous Air Pollutants
     for Clay Ceramics Manufacturing
     ■ 132. Amend table 9 to subpart KKKKK
     of part 63 by revising entry 1 to read as
     follows:

                                 TABLE 9 TO SUBPART KKKKK OF PART 63—DEADLINES FOR SUBMITTING NOTIFICATIONS
                  *                             *                         *                          *                         *                     *                    *

     If you . . .                                         You must . . .                                 No later than . . .                   As specified in . . .

     1. Start up your affected source                     Submit an Initial Notification .........       June 22, 2016, or no later than       § 63.9(b)(2).
       before December 28, 2015.                                                                           120 days after the source be-
                                                                                                           comes subject to this subpart,
                                                                                                           whichever is later.

                  *                             *                         *                          *                         *                     *                    *



     ■ 133. Amend table 11 to subpart                                   order an entry for § 63.9(k) to read as
     KKKKK of part 63 adding in numerical                               follows:

                TABLE 11 TO SUBPART KKKKK OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART KKKKK
                  *                             *                         *                          *                         *                     *                    *

                        Citation                                         Subject                                     Brief description               Applies to subpart KKKKK?


               *                                *                       *                     *                    *                              *                       *
     § 63.9(k) ........................................   Electronic reporting procedures .... Electronic reporting procedures for             Yes.
                                                                                                 notifications per § 63.9(j).

                  *                             *                         *                          *                         *                     *                    *




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     Subpart LLLLL—National Emission                                     § 63.8692 What notifications must I submit                   later than 120 days after the source
     Standards for Hazardous Air                                         and when?                                                    becomes subject to this subpart,
     Pollutants: Asphalt Processing and                                  *     *     *     *    *                                     whichever is later.
     Asphalt Roofing Manufacturing                                         (b) As specified in § 63.9(b)(2), if you
                                                                                                                                      *      *    *     *     *
                                                                         start up your affected source before
                                                                         April 29, 2003, you must submit an                           ■ 135. Amend table 7 to subpart LLLLL
     ■ 134. Amend § 63.8692 by revising
                                                                         Initial Notification not later than 120                      of part 63 by adding in numerical order
     paragraph (b) to read as follows:
                                                                         calendar days after April 29, 2003, or no                    an entry for § 63.9(k) to read as follows:

                   TABLE 7 TO SUBPART LLLLL OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART LLLLL
                   Citation                                   Subject                                          Brief description                              Applies to subpart LLLLL


               *                                *                     *                             *                 *                    *                                      *
     § 63.9(k) ..............................   Electronic reporting proce-            Electronic reporting procedures for notifications per                 Yes.
                                                  dures.                                 § 63.9(j).

                  *                             *                            *                       *                         *                         *                        *



     Subpart MMMMM—National Emission                                     § 63.8816 What notifications must I submit                   source becomes subject to this subpart,
     Standards for Hazardous Air                                         and when?                                                    whichever is later.
     Pollutants: Flexible Polyurethane                                   *      *     *     *    *                                    *     *     *    *    *
     Foam Fabrication Operations                                            (b) If you own or operate an existing
                                                                         loop slitter or flame lamination affected                    ■ 137. Amend table 7 to subpart
                                                                         source, submit an initial notification no                    MMMMM of part 63 by adding in
     ■ 136. Amend § 63.8816 by revising
                                                                         later than 120 days after April 14, 2003,                    numerical order an entry for § 63.9(k) to
     paragraph (b) to read as follows:
                                                                         or no later than 120 days after the                          read as follows:

              TABLE 7 TO SUBPART MMMMM OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART MMMMM
                  *                             *                            *                       *                         *                         *                        *

                                                                                                                  Applies to subpart
                        Citation                                        Requirement                                                                                 Explanation
                                                                                                                      MMMMM


               *                                *                       *                     *                           *                              *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                             *                            *                       *                         *                         *                        *



     Subpart NNNNN—National Emission                                     § 63.9045 What notifications must I submit                   later than 120 days after the source
     Standards for Hazardous Air                                         and when?                                                    becomes subject to this subpart,
     Pollutants: Hydrochloric Acid                                       *     *     *     *    *                                     whichever is later.
     Production                                                            (b) As specified in § 63.9(b)(2), if you                   *      *    *    *     *
                                                                         start up your affected source before                         ■ 139. Amend table 7 to subpart
     ■ 138. Amend § 63.9045 by revising                                  April 17, 2003, you must submit an                           NNNNN of part 63 by adding in
     paragraph (b) to read as follows:                                   Initial Notification not later than 120                      numerical order an entry for § 63.9(k) to
                                                                         calendar days after April 17, 2003, or no                    read as follows:

                TABLE 7 TO SUBPART NNNNN OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART NNNNN
                  *                             *                            *                       *                         *                         *                        *

                                                                                                                  Applies to subpart
                        Citation                                        Requirement                                                                                 Explanation
                                                                                                                       NNNNN


               *                                *                       *                     *                           *                              *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                  *                             *                            *                       *                         *                         *                        *




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     Subpart PPPPP—National Emission                                         (b) * * *                                                      becomes subject to this subpart,
     Standards for Hazardous Air Pollutants                                  (1) As specified in § 63.9(b)(2), if you                       whichever is later.
     for Engine Test Cells/Stands                                         start up your new or reconstructed                                *     *     *     *     *
     ■ 140. Amend § 63.9345 by revising                                   affected source before the effective date                         ■ 141. Amend table 7 to subpart PPPPP
     paragraph (b)(1) to read as follows:                                 of this subpart, you must submit an                               of part 63 by adding in numerical order
                                                                          Initial Notification not later than 120                           entries for §§ 63.1(c)(6) and 63.9(k) to
     § 63.9345 What notifications must I submit                           calendar days after May 27, 2003, or no
     and when?                                                                                                                              read as follows:
                                                                          later than 120 days after the source
     *        *        *        *        *                                                                                                  *     *     *     *     *

                  TABLE 7 TO SUBPART PPPPP OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART PPPPP
                  *                             *                             *                          *                           *                          *                       *

                        Citation                                            Subject                                      Brief description                          Applies to subpart PPPPP


               *                               *                          *                                *                     *                              *                       *
     § 63.1(c)(6) ....................................    Applicability ................................... Reclassification .............................   Yes.

               *                                *                         *                                *                    *                               *                     *
     § 63.9(k) ........................................   Notifications ................................... Electronic reporting procedures ....             Yes, only as specified in § 63.9(j).

                  *                             *                             *                          *                           *                          *                       *



     Subpart QQQQQ—National Emission                                      manufacturing facility is a major source                            (c) As specified in § 63.9(b)(2), if you
     Standards for Hazardous Air Pollutants                               of HAP if it emits or has the potential                           start up your affected source before
     for Friction Materials Manufacturing                                 to emit any single HAP at a rate of 9.07                          October 18, 2002, you must submit your
     Facilities                                                           megagrams (10 tons) or more per year or                           initial notification no later than 120
                                                                          any combination of HAP at a rate of                               calendar days after October 18, 2002, or
     ■ 142. Amend § 63.9485 by revising                                   22.68 megagrams (25 tons) or more per                             no later than 120 days after the source
     paragraph (a) to read as follows:                                    year.                                                             becomes subject to this subpart,
     § 63.9485        Am I subject to this subpart?                       *     *     *    *     *                                          whichever is later.
       (a) You are subject to this subpart if                             ■ 143. Amend § 63.9535 by revising
                                                                                                                                            *     *      *     *    *
     you own or operate a friction materials                                                                                                ■ 144. Amend table 1 to subpart
                                                                          paragraph (c) to read as follows:
     manufacturing facility (as defined in                                                                                                  QQQQQ of part 63 by adding in
     § 63.9565) that is (or is part of) a major                           § 63.9535 What notifications must I submit                        numerical order an entry for § 63.9(k) to
     source of hazardous air pollutants                                   and when?                                                         read as follows:
     (HAP) emissions. Your friction materials                             *        *       *        *        *                              *     *      *     *    *

               TABLE 1 TO SUBPART QQQQQ OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART QQQQQ
                  *                             *                             *                          *                           *                          *                       *

                        Citation                                            Subject                              Applies to subpart QQQQQ?                                Explanation


               *                                *                       *                     *                           *                                     *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................          Only as specified in § 63.9(j).

                  *                             *                             *                          *                           *                          *                       *



     Subpart RRRRR—National Emission                                      processing plant is a major source of                             October 30, 2003, you must submit your
     Standards for Hazardous Air                                          HAP if it emits or has the potential to                           initial notification no later than 120
     Pollutants: Taconite Iron Ore                                        emit any single HAP at a rate of 10 tons                          calendar days after October 30, 2003, or
     Processing                                                           or more per year or any combination of                            no later than 120 days after the source
                                                                          HAP at a rate of 25 tons or more per                              becomes subject to this subpart,
     ■ 145. Revise § 63.9581 to read as                                   year.                                                             whichever is later.
     follows:                                                             ■ 146. Amend § 63.9640 by revising
                                                                          paragraph (b) to read as follows:                                 *     *      *     *     *
     § 63.9581        Am I subject to this subpart?
                                                                                                                                            ■ 147. Amend table 2 to subpart RRRRR
       You are subject to this subpart if you                             § 63.9640 What notifications must I submit                        of part 63 by adding in numerical order
     own or operate a taconite iron ore                                   and when?
                                                                                                                                            entries for § 63.1(c)(6) and § 63.9(k) to
     processing plant that is (or is part of) a                           *     *    *      *    *                                          read as follows:
     major source of hazardous air pollutant                                (b) As specified in § 63.9(b)(2), if you
     (HAP) emissions. Your taconite iron ore                              start up your affected source before                              *     *      *     *     *




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      TABLE 2 TO SUBPART RRRRR OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART RRRRR OF PART 63
                   *                            *                            *                       *                         *                         *                       *

                        Citation                                          Subject                           Applies to subpart RRRRR                               Explanation


               *                               *                         *                              *                      *                         *                       *
     § 63.1(c)(6) ....................................    Reclassification ............................. Yes.

               *                                *                       *                     *                           *                              *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................   Only as specified in § 63.9(j).

                   *                            *                            *                       *                         *                         *                       *



     Subpart SSSSS—National Emission                                     § 63.9812 What notifications must I submit                   later than 120 days after the source
     Standards for Hazardous Air Pollutants                              and when?                                                    becomes subject to this subpart,
     for Refractory Products Manufacturing                               *     *     *     *     *                                    whichever is later.
                                                                           (b) As specified in § 63.9(b)(2), if you                   *      *    *     *     *
     ■ 148. Amend § 63.9812 by revising                                  start up your affected source before                         ■ 149. Amend table 11 to subpart SSSSS
     paragraph (b) to read as follows:                                   April 16, 2003, you must submit an                           of part 63 by adding in numerical order
                                                                         Initial Notification no later than 120                       an entry for § 63.9(k) to read as follows:
                                                                         calendar days after April 16, 2003, or no                    *      *    *     *     *

                  TABLE 11 TO SUBPART SSSSS OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART SSSSS
                   *                            *                            *                       *                         *                         *                       *

                        Citation                                          Subject                                    Brief description                       Applies to subpart SSSSS


               *                                *                         *                                *                    *                        *                     *
     § 63.9(k) ........................................   Notifications ................................... Electronic reporting procedures ....      Yes, only as specified in § 63.9(j).

                   *                            *                            *                       *                         *                         *                       *



     Subpart TTTTT—National Emissions                                      (b) As specified in § 63.9(b)(2), if you                   Subpart WWWWW—National Emission
     Standards for Hazardous Air Pollutants                              start up your affected source before                         Standards for Hospital Ethylene Oxide
     for Primary Magnesium Refining                                      October 10, 2003, you must submit your                       Sterilizers
                                                                         initial notification no later than 120
                                                                                                                                      ■ 151. Amend table 1 to subpart
     ■ 150. Amend § 63.9930 by revising                                  calendar days after October 10, 2003, or
     paragraph (b) to read as follows:                                                                                                WWWWW of part 63 by removing the
                                                                         no later than 120 days after the source
                                                                                                                                      entry for § 63.9(d)–(j) and adding in
                                                                         becomes subject to this subpart,
     § 63.9930 What notifications must I submit                                                                                       numerical order entries for §§ 63.9(d)–(i)
                                                                         whichever is later.                                          and 63.9(j)–(k).
     and when?
                                                                         *     *      *     *    *                                      The additions read as follows:
     *        *        *        *        *
                                                                                                                                      *     *     *     *     *

           TABLE 1 TO SUBPART WWWWW OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART WWWWW
                   *                            *                            *                       *                         *                         *                       *

                        Citation                                          Subject                          Applies to subpart WWWWW                                Explanation


               *                               *                          *                            *                       *                         *                       *
     § 63.9(d)–(i) ...................................    Other notifications ......................... No.
     § 63.9(j)–(k) ...................................    Change in information already Yes.
                                                            submitted Electronic reporting.

                   *                            *                            *                       *                         *                         *                       *




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     Subpart BBBBBB—National Emission                                    § 63.11086 What requirements must I meet                      (e)(1) through (4) of this section. The
     Standards for Hazardous Air Pollutants                              of my facility is a bulk gasoline plant?                      notification must be submitted to the
     for Source Category: Gasoline                                       *      *    *     *    *                                      applicable EPA Regional Office and the
     Distribution Bulk Terminals, Bulk                                      (e) You must submit an Initial                             delegated state authority, as specified in
     Plants, and Pipeline Facilities                                     Notification that you are subject to this                     § 63.13.
                                                                         subpart by May 9, 2008, or no later than
                                                                                                                                       *      *    *     *     *
     ■ 152. Amend § 63.11086 by revising                                 120 days after the source becomes
                                                                         subject to this subpart, whichever is                         ■ 153. Amend table 3 to subpart
     paragraph (e) introductory text to read
                                                                         later unless you meet the requirements                        BBBBBB of part 63 by revising the entry
     as follows:
                                                                         in paragraph (g) of this section. The                         for § 63.9(b) and adding in numerical
                                                                         Initial Notification must contain the                         order an entry for § 63.9(k) to read as
                                                                         information specified in paragraphs                           follows:

                                  TABLE 3 TO SUBPART BBBBBB OF PART 63—APPLICABILITY OF GENERAL PROVISIONS
                                                                                                                                                                       Applies to subpart
                   Citation                                  Subject                                            Brief description                                          BBBBBB


               *                                *                        *                           *                    *                       *                                *
     § 63.9(b) (1)–(2), (4)–(5) ....            Initial Notifications ..............    Submit notification within 120 days after effective date,               Yes.
                                                                                          or no later than 120 days after the source becomes
                                                                                          subject to this subpart, whichever is later; notification
                                                                                          of intent to construct/reconstruct, notification of com-
                                                                                          mencement of construction/reconstruction, notifica-
                                                                                          tion of startup; contents of each.

               *                                *                         *                          *                   *                                 *                    *
     § 63.9(k) ..............................   Notifications .......................   Electronic reporting procedures .....................................   Yes, only as specified by
                                                                                                                                                                  § 63.9(j).

                  *                             *                            *                         *                         *                         *                       *



     Subpart CCCCCC—National Emission                                    § 63.11117 only because it loads                              § 63.11118. If your affected source is
     Standards for Hazardous Air Pollutants                              gasoline into fuel tanks other than those                     subject to the control requirements in
     for Source Category: Gasoline                                       in motor vehicles, as defined in                              § 63.11118 only because it loads
     Dispensing Facilities                                               § 63.11132, you must submit the Initial                       gasoline into fuel tanks other than those
                                                                         Notification by May 24, 2011, or no later                     in motor vehicles, as defined in
     ■ 154. Amend § 63.11124 by revising
                                                                         than 120 days after the source becomes                        § 63.11132, you must submit the Initial
     paragraphs (a)(1) introductory text and                             subject to this subpart, whichever is
     (b)(1) introductory text to read as                                                                                               Notification by May 24, 2011, or no later
                                                                         later. The Initial Notification must                          than 120 days after the source becomes
     follows:                                                            contain the information specified in                          subject to this subpart, whichever is
     § 63.11124 What notifications must I                                paragraphs (a)(1)(i) through (iii) of this                    later. The Initial Notification must
     submit and when?                                                    section. The notification must be                             contain the information specified in
        (a) * * *                                                        submitted to the applicable EPA                               paragraphs (b)(1)(i) through (iii) of this
        (1) You must submit an Initial                                   Regional office and delegated state                           section. The notification must be
     Notification that you are subject to this                           authority as specified in § 63.13.                            submitted to the applicable EPA
     subpart by May 9, 2008, or no later than                            *      *     *     *    *                                     Regional office and delegated state
     120 days after the source becomes                                      (b) * * *                                                  authority as specified in § 63.13.
     subject to this subpart, whichever is                                  (1) You must submit an Initial
     later, or at the time you become subject                            Notification that you are subject to this                     *      *    *      *    *
     to the control requirements in                                      subpart by May 9, 2008, or no later than                      ■ 155. Amend table 3 to subpart
     § 63.11117, unless you meet the                                     120 days after the source becomes                             CCCCCC of part 63 by revising the entry
     requirements in paragraph (a)(3) of this                            subject to this subpart, whichever is                         for § 63.9(b) and adding in numerical
     section. If your affected source is subject                         later, or at the time you become subject                      order an entry for § 63.9(k) to read as
     to the control requirements in                                      to the control requirements in                                follows:

                                  TABLE 3 TO SUBPART CCCCCC OF PART 63—APPLICABILITY OF GENERAL PROVISIONS
                                                                                                                                                                       Applies to subpart
                   Citation                                  Subject                                            Brief description                                          CCCCCC


               *                                *                        *                           *                    *                       *                                *
     § 63.9(b)(1)–(2), (4)–(5) ......           Initial Notifications ..............    Submit notification within 120 days after effective date,               Yes.
                                                                                          or no later than 120 days after the source becomes
                                                                                          subject to this subpart, whichever is later; notification
                                                                                          of intent to construct/reconstruct, notification of com-
                                                                                          mencement of construction/reconstruction, notifica-
                                                                                          tion of startup; contents of each.



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                       TABLE 3 TO SUBPART CCCCCC OF PART 63—APPLICABILITY OF GENERAL PROVISIONS—Continued
                                                                                                                                                                    Applies to subpart
                   Citation                                   Subject                                           Brief description                                       CCCCCC


               *                                *                         *                          *                   *                                 *                    *
     § 63.9(k) ..............................   Notifications .......................   Electronic reporting procedures .....................................   Yes, only as specified in
                                                                                                                                                                  § 63.9(j).

                  *                             *                            *                         *                         *                         *                      *



     Subpart HHHHHH—National Emission                                    operation using paint strippers                               later than 120 days after the source
     Standards for Hazardous Air                                         containing MeCl and/or a surface                              becomes subject to this subpart. The
     Pollutants: Paint Stripping and                                     coating operation subject to this subpart,                    initial notification must provide the
     Miscellaneous Surface Coating                                       you must submit the initial notification                      information specified in paragraphs
     Operations at Area Sources                                          required by § 63.9(b). For a new affected                     (a)(1) through (8) of this section.
                                                                         source, you must submit the Initial                           *      *     *     *    *
     ■ 156. Amend § 63.11175 by revising
                                                                         Notification no later than 180 days after
     paragraph (a) introductory text to read                                                                                           ■ 157. Amend table 1 to subpart
                                                                         initial startup, or no later than 120 days
     as follows:                                                                                                                       HHHHHH of part 63 by adding in
                                                                         after the source becomes subject to this
     § 63.11175        What notifications must I                         subpart, or July 7, 2008, whichever is                        numerical order an entry for § 63.9(k) to
     submit?                                                             later. For an existing affected source,                       read as follows:
       (a) Initial Notification. If you are the                          you must submit the initial notification
     owner or operator of a paint stripping                              no later than January 11, 2010, or no

      TABLE 1 TO SUBPART HHHHHH OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO SUBPART HHHHHH OF PART
                                                      63
                        Citation                                           Subject                          Applicable to subpart HHHHHH                            Explanation


               *                                *                       *                     *                           *                               *                     *
     § 63.9(k) ........................................   Electronic reporting procedures .... Yes ................................................    Only as specified in § 63.9(j).

                  *                             *                            *                         *                         *                         *                      *



     Subpart PPPPPP—National Emission                                    § 63.11432 What General Provisions apply                      than 90 days after the source becomes
     Standards for Hazardous Air Pollutants                              to this subpart?                                              subject to this subpart, whichever is
     for Lead Acid Battery Manufacturing                                 *      *     *     *     *                                    later. Your notification of compliance
     Area Sources                                                           (b) If you own or operate a new or                         status must include this certification of
                                                                         existing affected source that uses any                        compliance, signed by a responsible
     ■ 158. Amend § 63.11425 by revising
                                                                         wood preservative containing                                  official, for the standards in § 63.11430:
     paragraphs (b) and (c) to read as follows:                                                                                        ‘‘This facility complies with the
                                                                         chromium, arsenic, dioxins, or
     § 63.11425 What General Provisions apply                            methylene chloride, you must submit an                        management practices to minimize air
     to this subpart?                                                    initial notification of applicability                         emissions from the preservative
     *      *     *    *     *                                           required by § 63.9(b)(2) no later than 90                     treatment of wood in accordance with
        (b) For existing sources, the initial                            days after the applicable compliance                          § 63.11430.’’
     notification required by § 63.9(b) must                             date specified in § 63.11429, or no later                     *      *     *     *    *
     be submitted not later than November                                than 90 days after the source becomes
     13, 2007, or no later than 120 days after                           subject to this subpart, whichever is                         Subpart RRRRRR—National Emission
     the source becomes subject to this                                  later. The initial notification may be                        Standards for Hazardous Air Pollutants
     subpart, whichever is later.                                        combined with the notification of                             for Clay Ceramics Manufacturing Area
        (c) For existing sources, the initial                            compliance status required in paragraph                       Sources
     notification of compliance required by                              (c) of this section. The notification of
                                                                                                                                       ■ 160. Amend § 63.11441 by revising
     § 63.9(h) must be submitted not later                               applicability must include the following
     than March 13, 2009, or no later than                               information:                                                  paragraph (a) to read as follows:
     120 days after the source becomes                                   *      *     *     *     *                                    § 63.11441 What are the notification
     subject to this subpart, whichever is                                  (c) If you own or operate a new or                         requirements?
     later.                                                              existing affected source that uses any                           (a) You must submit an Initial
                                                                         wood preservative containing                                  Notification required by § 63.9(b)(2) no
     Subpart QQQQQQ—National Emission
                                                                         chromium, arsenic, dioxins, or                                later than 120 days after the applicable
     Standards for Hazardous Air Pollutants
                                                                         methylene chloride, you must submit a                         compliance date specified in § 63.11437,
     for Wood Preserving Area Sources
                                                                         notification of compliance status                             or no later than 120 days after the
     ■ 159. Amend § 63.11432 by revising                                 required by § 63.9(h) no later than 90                        source becomes subject to this subpart,
     paragraphs (b) introductory text and (c)                            days after the applicable compliance                          whichever is later. The Initial
     to read as follows:                                                 date specified in § 63.11429, or no later                     Notification must include the


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     information specified in §§ 63.9(b)(2)(i)                in § 63.11514, you must submit the                    § 63.11585 What are my notification,
     through (iv) and may be combined with                    initial notification required by § 63.9(b),           recordkeeping, and reporting
     the Notification of Compliance Status                    for a new affected source no later than               requirements?
     required in paragraph (b) of this section.               120 days after initial startup, or no later           *      *     *     *     *
     *    *     *     *    *                                  than 120 days after the source becomes                   (b) * * *
                                                              subject to this subpart, or November 20,                 (1) Initial Notification of
     Subpart TTTTTT—National Emission                         2008, whichever is later. For an existing             Applicability. If you own or operate an
     Standards for Hazardous Air Pollutants                   affected source, you must submit the                  existing affected source, you must
     for Secondary Nonferrous Metals                          initial notification no later than July 25,           submit an initial notification of
     Processing Area Sources                                  2011, or 120 days after the source                    applicability as required by § 63.9(b)(2)
                                                              becomes subject to this subpart,                      no later than April 29, 2010, or no later
     ■ 161. Amend § 63.11469 by revising                                                                            than 120 days after the source becomes
                                                              whichever is later. Your initial
     paragraph (a) to read as follows:                                                                              subject to this subpart, whichever is
                                                              notification must provide the
     § 63.11469 What are the notification                     information specified in paragraphs                   later. If you own or operate a new
     requirements?                                            (a)(1)(i) through (iv) of this section.               affected source, you must submit an
        (a) You must submit the Initial                                                                             initial notification of applicability
                                                              *     *      *     *     *
     Notification required by § 63.9(b)(2) no                                                                       required by § 63.9(b)(2) no later than
     later than 120 days after the applicable                 Subpart YYYYYY—National Emission                      120 days after initial start-up of
     compliance date specified in § 63.11464,                 Standards for Hazardous Air Pollutants                operation, or no later than 120 days after
     or no later than 120 days after the                      for Area Sources: Ferroalloys                         the source becomes subject to this
     source becomes subject to this subpart,                  Production Facilities                                 subpart, or April 29, 2010, whichever is
     whichever is later. The Initial                                                                                later. The initial notification of
     Notification must include the                            ■ 164. Amend § 63.11529 by revising                   applicability must include the
     information specified in § 63.9(b)(2)(i)                 paragraph (a) to read as follows:                     information specified in §§ 63.9(b)(2)(i)
     through (iv) and may be combined with                                                                          through (iii).
                                                              § 63.11529 What are the notification,                 *      *     *     *     *
     the Notification of Compliance Status                    reporting, and recordkeeping
     required in § 63.11467 and paragraph (b)                 requirements?
     of this section if you choose to submit                                                                        Subpart CCCCCCC—National
     both notifications within 120 days.                         (a) Initial Notification. You must                 Emission Standards for Hazardous Air
                                                              submit the Initial Notification required              Pollutants for Area Sources: Paints
     *      *    *      *    *                                                                                      and Allied Products Manufacturing
                                                              by § 63.9(b)(2) no later than 120 days
     Subpart WWWWWW—National                                  after December 23, 2008, or no later than             ■ 167. Amend § 63.11603 by revising
     Emission Standards for Hazardous Air                     120 days after the source becomes                     paragraph (a)(1) introductory text to
     Pollutants: Area Source Standards for                    subject to this subpart, whichever is                 read as follows:
     Plating and Polishing Operations                         later. The Initial Notification must
                                                              include the information specified in                  § 63.11603 What are the notification,
     ■ 162. Amend § 63.11509 by revising                      § 63.9(b)(2)(i) through (iv).                         recordkeeping, and reporting
     paragraph (a)(3) to read as follows:                                                                           requirements?
                                                              *      *      *    *      *
                                                                                                                       (a) * * *
     § 63.11509 What are my notification,                                                                              (1) Initial Notification of
     reporting, and recordkeeping                             Subpart AAAAAAA—National
     requirements?                                            Emission Standards for Hazardous Air                  Applicability. If you own or operate an
                                                              Pollutants for Area Sources: Asphalt                  existing affected source, you must
       (a) * * *                                                                                                    submit an initial notification of
       (3) If you start up your affected source               Processing and Asphalt Roofing
                                                              Manufacturing                                         applicability required by § 63.9(b)(2) no
     on or before July 1, 2008, you must
                                                                                                                    later than June 1, 2010, or no later than
     submit an Initial Notification not later
                                                              ■ 165. Amend § 63.11564 by revising                   120 days after the source becomes
     than 120 calendar days after July 1,
                                                              paragraph (a)(2) to read as follows:                  subject to this subpart, whichever is
     2008, or no later than 120 days after the
                                                                                                                    later. If you own or operate a new
     source becomes subject to this subpart,                  § 63.11564 What are my notification,                  affected source, you must submit an
     whichever is later.                                      recordkeeping, and reporting                          initial notification of applicability
     *     *     *      *    *                                requirements?                                         required by § 63.9(b)(2) no later than
                                                                 (a) * * *                                          180 days after initial start-up of the
     Subpart XXXXXX—National Emission
                                                                                                                    operations, or no later than 120 days
     Standards for Hazardous Air Pollutants                      (2) As specified in § 63.9(b)(2), if you
                                                                                                                    after the source becomes subject to this
     Area Source Standards for Nine Metal                     have an existing affected source, you
                                                                                                                    subpart, or June 1, 2010, whichever is
     Fabrication and Finishing Source                         must submit an Initial Notification not
                                                                                                                    later. The notification of applicability
     Categories                                               later than 120 calendar days after
                                                                                                                    must include the information specified
                                                              December 2, 2009, or no later than 120
     ■ 163. Amend § 63.11519 by revising                                                                            in paragraphs (a)(1)(i) through (iii) of
                                                              days after the source becomes subject to
     paragraph (a)(1) introductory text to                                                                          this section.
                                                              this subpart, whichever is later.
     read as follows:                                                                                               *      *     *     *     *
                                                              *      *    *     *     *
     § 63.11519 What are my notifications,                                                                          Subpart HHHHHHH—National
     recordkeeping, and reporting                             Subpart BBBBBBB—National                              Emission Standards for Hazardous Air
     requirements?                                            Emission Standards for Hazardous Air                  Pollutant Emissions for Polyvinyl
        (a) * * *                                             Pollutants for Area Sources: Chemical                 Chloride and Copolymers Production
        (1) Initial notification. If you are the              Preparations Industry
     owner or operator of an area source in                                                                         ■ 168. Amend table 4 to subpart
     one of the nine metal fabrication and                    ■ 166. Amend § 63.11585 by revising                   HHHHHHH of part 63 by revising the
     finishing source categories, as defined                  paragraph (b)(1) to read as follows:                  entry for § 63.1 and adding in numerical


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     order an entry for § 63.9(k) to read as
     follows:

                       TABLE 4 TO SUBPART HHHHHHH OF PART 63—APPLICABILITY OF GENERAL PROVISIONS TO PART 63
                                                                                                                                            Applies to subpart
                                         Citation                                                        Subject                                                                          Comment
                                                                                                                                               HHHHHHH

     § 63.1(a)(1)–(a)(4), (a)(6), (a)(10)–(a)(12), (b)(1), (b)(3),                          Applicability ........................   Yes.
        (c)(1), (c)(2), (c)(5), (c)(6), (e).

               *                                *                                 *                        *                              *                                 *                     *
     § 63.9(k) ..........................................................................   Electronic reporting proce-              Yes .....................................   Only as specified in
                                                                                              dures.                                                                              § 63.9(j).

                   *                              *                               *                            *                            *                               *                     *



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